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                                      IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,

                       Plaintiff,

                       v.                                                                Case No. 16-20032-02-JAR

 KARL CARTER,

                       Defendant.


                                FINDINGS OF FACT AND CONCLUSIONS OF LAW

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I.        Introduction

          The Sixth Amendment guarantees an accused the right to assistance of counsel for his or

her defense.1 This right is “indispensable to the fair administration of our adversarial system of

criminal justice.”2 It “safeguards the other rights deemed essential for the fair prosecution of a

criminal proceeding.”3 The Sixth Amendment right to effective assistance of counsel includes

the ability to speak candidly and confidentially with counsel free from unreasonable Government

interference.4 For the adversary system to function properly, any such advice must be shielded

from exposure to the government. That bedrock principle is at issue in this case.

          The Government initiated a drug-conspiracy investigation in the spring of 2016, targeting

detainees and employees of Corrections Corporation of America (“CCA”), a large, private

detention facility located in Leavenworth, Kansas.5 Although the case initially charged six



          1
              United States v. Morrison, 449 U.S. 361, 364 (1981).
          2
              Maine v. Moulton, 474 U.S. 159, 168 (1985).
          3
              Id. at 169.
          4
         See Weatherford v. Bursey, 429 U.S. 545, 554 n.4 (1977) (“One threat to the effective assistance of
counsel posed by government interception of attorney-client communications lies in the inhibition of free exchanges
between defendant and counsel because of the fear of being overheard.”).
          5
              The facility has since been renamed CoreCivic. The Court refers to it throughout this opinion as CCA.




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defendants with various drug offenses, the Government suspected the conspiracy involved at

least 95 inmates and 60 more individuals outside the facility.6 Facts uncovered after an early

discovery conference in this case revealed discovery practices that implicated the Sixth

Amendment right to counsel: the Government possessed soundless video recordings of attorney

visitation rooms at CCA, and possessed and distributed audio recordings of telephone calls

between several detainees and their counsel.

           The Court immediately clawed back and impounded the recordings, and conducted

several emergency hearings on these issues, prompted in part by the involvement of the Office of

the Federal Public Defender’s (“FPD”), which was allowed to intervene in this case on behalf of

its many clients detained at CCA. At these early hearings, the Court endeavored to find out from

the Government the scope of its discovery efforts that potentially intruded on confidential in-

person and telephonic attorney-client meetings, but the Government evaded the Court’s

questions, and denied that its practices implicated the Sixth Amendment or the attorney-client

privilege. The Court ultimately appointed Special Master David Cohen to investigate. The

Government did not cooperate with his investigation, and its failure to cooperate ultimately

resulted in a lengthy delay in this Court’s ability to rule on these issues. Finally, despite the

delay associated with the Government’s failure to cooperate and its litigation efforts challenging

the propriety of the Special Master’s investigation, the Court conducted a full evidentiary hearing

on all pending matters in this case in October and November 2018. The Court is now prepared

to rule.

           Under extant Tenth Circuit law, the purposeful intrusion by the government into the

attorney-client relationship, absent a countervailing state interest, constitutes a per se violation of


           6
               Tr. July 21, 2016 Hr’g, Doc. 75 at 23:2–9.




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the Sixth Amendment with no need to demonstrate that the defendant has suffered prejudice as a

result.7 The Supreme Court requires the remedy for a Sixth Amendment violation to be “tailored

to the injury suffered” and not “unnecessarily infringe on the competing interests” of the

fundamental right to assistance of counsel and respecting society’s interest in the administration

of criminal justice.8 In this case, the Court’s attorney-client privilege and Sixth Amendment

analysis is necessitated by the FPD’s motions under Fed. R. Civ. P. 41(g) for return of property,

wherein it asserts the Sixth Amendment rights of clients detained at CCA. As part of the Sixth

Amendment analysis, the Court must necessarily evaluate the Government’s lack of meaningful

cooperation in the Special Master’s investigation because the Government’s credibility is

directly at issue.

        The purpose of the Special Master’s investigation was to work with all the parties, and

with Securus Technologies, Inc. (“Securus”), the company that provides the telephone-recording

equipment to CCA, to determine the extent of the attorney-client communications that were

obtained and/or accessed by the Government. Because the Government did not abide by this

Court and the Special Master’s preservation and cooperation directives, this opinion discusses

evidence of these failures, and considers a remedy. Although the Court declines to impose

spoliation sanctions at this time for the Government’s probable destruction of evidence material

to the Special Master’s investigation, the record in this case may lay the groundwork for specific

spoliation claims in individual cases brought under 28 U.S.C. § 2255. Moreover, the Court

easily finds that the Government willfully violated myriad Court orders and Special Master

directives, and the Court imposes monetary sanctions for these violations.



        7
            Shillinger v. Haworth, 70 F.3d 1132, 1142 (10th Cir. 1995).
        8
            United States v. Morrison, 449 U.S. 361, 364 (1981); Shillinger, 70 F.3d at 1142–43.




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        The Government is correct that the determination of a Sixth Amendment violation must

be particularized to each defendant, and that relief must be tailored to the injury suffered.

Nonetheless, the Court can narrow the inquiries required in each related § 2255 case because

these petitioners all seek similar relief for similar types of intrusions. The Court’s findings of

fact shine daylight on the Government’s practice of obtaining attorney-client communications,

and its view that these communications are not protected, and thus, not subject to scrutiny.

While the Sixth Amendment requires particularized findings to determine whether an improper

intrusion into the confidential relationship with counsel occurred, and if so, the appropriate

remedy, this record allows the Court to consider several legal issues that implicate the Sixth

Amendment analysis and are common to all affected litigants. These issues include, inter alia:

(1) the elements required to prove a per se violation of the Sixth Amendment under Tenth Circuit

law; (2) whether soundless video recordings constitute protected attorney-client

communications; (3) whether the “preamble” language that played at the beginning of Securus

telephone calls constituted a waiver of the attorney-client privilege; and (4) whether the

Government had a legitimate law enforcement purpose when it procured the recordings at issue

in this case.

        In the end, this case presents an opportunity to provide a wide-lens view of the

Government’s conduct implicating the Sixth Amendment inquiry. The culture of the Office of

the United States Attorney (“USAO”), particularly in Kansas City, Kansas, directly bears on that

analysis. And the USAO’s pattern of similar misconduct in other cases is relevant to the Court’s

determination of witness credibility on the issue of access to the recordings, and of the

appropriate remedy for detainees prejudiced by an intentional intrusion into their attorney-client

relationship. Likewise, the USAO’s delay and obfuscation in the Special Master’s investigation




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will weigh into fashioning an appropriate remedy in the § 2255 cases. Litigants have been

unable to seek or obtain relief in their individual cases or on direct appeal because the evidence

necessary to support their claims is either still impounded by this Court, or because the Special

Master’s investigation was impeded by the Government’s machinations. Audio recordings of

attorney-client calls obtained by the USAO continue to be produced in August 2019, almost

three years after the investigation began. Evidence likely has been lost due to the Government’s

failure to timely implement a meaningful litigation hold. And the Government’s productions to

the Special Master and FPD were incomplete and turned over in a manner designed to mask the

individual source of production.

        The Government’s wholesale strategy to delay, diffuse, and deflect succeeded in denying

the individual litigants their day in court for almost three years. The strategy continues today,

and can be found in the Government’s proposed findings of fact and conclusions of law, where it

contends that most detainees’ communications with their attorneys are not protected, and that the

USAO was correct in unilaterally determining that it had a right to access such information. It

can also be found in the Government’s responses to the pending § 2255 motions, where it

contends that these claims do not deserve to be considered on the merits. The day has come to

bring this case to a final decision.

        This opinion is intended to provide a roadmap for future consideration of the many cases

pending on these issues under § 2255. It orders a release of the video recordings to the FPD,

which has been appointed by standing order to represent any litigant alleging claims based on the

facts surrounding the Special Master’s investigation. It will consolidate the habeas cases under

one United States Magistrate Judge for discovery and reassign them to the undersigned for a

consistent application of the principles set forth in this opinion. It will make clear the common




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legal standards that will govern in those proceedings, and what must remain pending for

particularized findings in each case.

         This opinion begins by setting forth a summary of the complicated and lengthy

procedural background in this case, which proceeded in generally three parts, and explains the

scope of the Court’s opinion. Next, the Court sets forth its findings of fact on the Government’s

cooperation with the Special Master’s investigation and compliance with the Court’s orders

related thereto, followed by the Court’s findings of fact on the merits. Finally, the Court

provides conclusions of law on the FPD’s requests for sanctions against the Government, and

then on the merits of the Sixth Amendment claims. The Court concludes by providing a

roadmap for managing the pending litigation under § 2255 that will follow when this case

concludes.

II.      Procedural Background and Scope of this Decision

         A.          Procedural Background: This Case in Three Parts

         This case has a lengthy and complicated procedural history that has been recounted in

several past orders.9 The Court provides the following highly summarized procedural history to

explain how this case proceeded in generally three parts, and why it culminated in the

evidentiary hearing that prompts the Court’s Findings of Fact and Conclusions of Law.

         Part I of the underlying case10 proceeded like many other criminal cases. On April 9,

2016, United States Magistrate Judge Teresa J. James signed a Criminal Complaint wherein

Special Agent Jeff Stokes of the Kansas Bureau of Investigation (“KBI”) demonstrated probable



         9
             See, e.g., Docs. 253, 372, 690, 713.
         10
         The underlying case is referred to as “the Black case” throughout this opinion, in reference to the first
named defendant in the Indictment. The Court continues with this reference, despite the fact that Defendant
Lorenzo Black pled guilty and was sentenced on July 18, 2018; the only remaining defendant in this matter is
Defendant Karl Carter.




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cause to believe that Lorenzo Black, Karl Carter, Anthon Aiono, Alicia Tackett, Catherine

Rowlette, and David Bishop (the “Black Defendants”) conspired to distribute controlled

substances inside CCA. An 11-count grand jury Indictment was filed on May 4, 2016. Special

Assistant United States Attorney (“SAUSA”) Erin Tomasic and Assistant United States Attorney

(“AUSA”) Christopher Oakley appeared on behalf of the USAO at all proceedings during Part I

of this case.

        The Court conducted a discovery conference with the parties on July 21, 2016. At that

hearing, Tomasic discussed having obtained voluminous video-surveillance footage from video

cameras stationed throughout the CCA facility. Tomasic admitted there were cameras in the

attorney visitation rooms at CCA for security monitoring purposes but denied that the cameras

had recording capability.

        By early August 2016, the FPD sought to intervene and filed a motion for return of

property under Fed. R. Crim. P. 41(g), arguing that the USAO was in possession of video

recordings of the attorney visitation rooms at CCA, which the FPD alleged intruded into

privileged, confidential communications of attorneys and clients housed at CCA and violated the

Sixth Amendment.11 The FPD filed an Amended Rule 41(g) motion on August 7, 2016, adding

allegations that CCA recorded attorney-client telephone calls and at times provided the content

of those calls to the USAO.12 The Black Defendants joined the motion and defendants

throughout this District filed similar motions in their respective cases.13




        11
             Doc. 82.
        12
             Doc. 85.
        13
           During this time, the FPD filed dozens of Rule 41(g) motions in active cases in this District. These
motions asked the Court to ensure that defendants and their attorneys could communicate confidentially and asked
the Court to order the USAO to identify and return to the defense any recorded communications. These motions
were often either denied without prejudice or deemed moot when the defendant entered into a plea agreement or was



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        The Court held hearings on the FPD’s motions on August 9, August 16, and September

7, 2016, in an effort to determine the scope of the alleged Sixth Amendment violations. The

USAO appeared by different counsel at these hearings: Debra Barnett, the Criminal Chief for the

District of Kansas, and Duston Slinkard, the Topeka Criminal Coordinator. After the August 16

hearing, the Court issued “clawback” and impoundment orders to CCA and the USAO and their

agents, for all video and audio recordings of attorney-client communications in their

possession.14

        Part II of the case began on October 11, 2016, when the Court appointed David Cohen as

Special Master under Fed. R. Civ. P. 53.15 The Appointment Order set forth the Special Master’s

initial duties in two phases: Phase I would determine the feasibility of isolating potentially

privileged and confidential attorney-client video and audio recordings from the universe of

recordings the USAO obtained from CCA; Phase II would cull the potentially privileged

materials and provide progress updates to the Court and the parties.16 The Court limited the

Special Master’s duties to those to which the USAO consented at that time, and reserved the

right to later expand the scope of his appointment to investigate whether, and the extent to which,

the USAO violated the Sixth Amendment and/or Fed. R. Crim. P. 6(e) in this and other criminal

cases as requested by the FPD.17

        The Special Master effectively concluded Phases I and II of his investigation in a March

16, 2017 Report, in which he made certain findings of fact, including a tentative finding that



sentenced. See, e.g., United States v. Perez-Madrigal, D. Kan. No. 16-20044-JAR, Docs. 18, 66; United States v.
Faustino Soto, D. Kan. No. 14-20014-12-KHV, Docs. 552, 582.
        14
             Docs. 113, 114.
        15
             Doc. 146.
        16
             Id. at 4–5.
        17
             Id. at 7.




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neither the USAO nor law enforcement actually viewed the video recordings of CCA attorney

visitation rooms obtained in May 2016 during the Black investigation.18 But the extent to which

the USAO or law enforcement obtained recordings of telephone calls made by detainees, and the

extent to which the USAO was not entitled to obtain those recordings, remained open questions

because the Court had not asked the Special Master to issue a report on those concerns.19 The

Special Master listed a number of actions for the Court to consider, in order to reach final

conclusions of fact and “mend[] the parties’ relationship,” including authorizing him to proceed

with a third phase of the investigation into video and audio recordings.20

         On May 17, 2017, the Court issued an order detailing its findings that justified an

expanded Phase III inquiry, and directed the Special Master “to investigate the actions and

conduct of the government, the USAO attorneys and staff, and the participating investigative

agencies . . . in procuring, obtaining and perhaps using video and audio recordings of attorney-

client meetings and phone calls at CCA.”21 Phase III would not be funded by the USAO, but

instead the Court would bear the cost from specially appropriated funds.22

         During the Phase III investigation, additional evidence outside of the Special Master’s

investigation came to light. First, the USAO notified the Court that Tomasic had listened to

attorney-client calls not only in this case, but in a second case before another judge in this

District, United States v. Herrera-Zamora,23 resulting in Tomasic’s termination from



         18
          Doc. 214 at 26 (explaining that his initial investigation suggested that most of the “[defense bar]
suspicions of regular incursion into attorney-client communications . . . are groundless.”).
         19
              Id. at 27.
         20
              Id. at 28–29.
         21
              Doc. 253 at 5–6.
         22
              Id. at 47–48.
         23
              Doc. 276; see D. Kan. No. 14-20049-CM-1.




                                                          11
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employment. Second, the Court held a two-day evidentiary hearing in the related case of United

States v. Dertinger,24 on a motion to dismiss alleging the USAO used attorney-client video

recordings obtained in the Black case. Before a decision could be reached in that matter,

Dertinger entered into a sentencing agreement in which the parties agreed to a sentence of time

served.25

        The USAO ultimately declined to produce any of the information the Special Master

requested during his investigation, and on June 7, 2017, notified him for the first time that the

USAO may have a conflict that would require another entity to take responsibility for document

production. On July 14, 2017, the Department of Justice (“DOJ”) informed the Court and the

Special Master that Steven Clymer, an AUSA in the Northern District of New York, was

appointed as Special Attorney to the United State Attorney General to respond to the Special

Master’s Requests for Information in Phase III.26

        The Special Master filed a Phase III Status Report on October 20, 2017.27 This was his

last substantive report to the Court. In it, he notified the Court that the Government had declined

to cooperate further with him by declining to produce documents he had been requesting for

months.28 The Special Master attached a September 12, 2017 letter from Clymer spanning 24

pages, wherein Clymer “respectfully decline[d] to provide most of the information and


        24
            D. Kan. No. 14-20067-JAR-6. The Dertinger case was transferred to the undersigned on May 23, 2017,
after Dertinger filed motions to withdraw his plea agreement and for release from custody pending sentencing,
relating to the issues of fact before this Court in the Black case. Doc. 520.
        25
             D. Kan. No. 14-20067-JAR-6, Doc. 558.
        26
          The Court refers to the “USAO” regarding conduct and actions preceding Clymer’s appointment. After
Clymer’s appointment, the Court distinguishes conduct and actions by referring to the “government,” and in some
cases “DOJ,” as Clymer was appointed by the DOJ to represent the government in connection with the Special
Master’s investigation, and repeatedly represented that he spoke for the government. See, e.g., Tr. Aug. 14, 2018
Hr’g, Doc. 570 at 13:10–15:20.
        27
             Doc. 298.
        28
             Id. at 7–9.




                                                        12
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documents sought” by the Special Master as part of the Phase III investigation.29 Clymer set

forth the Government’s position that it had authority to preclude production and testimony based

on its housekeeping regulations often referred to as the DOJ Touhy Regulations (“Touhy”).30

        Thus began Part III of the Black case, in which the Special Master’s inquiry turned from

an investigation into an adversarial litigation proceeding. The Court promptly set the case for

hearing, and the FPD moved for an order directing the Government to show cause why it should

not be held in contempt of court for violating the Court’s orders to cooperate with the Special

Master.31 In advance of the hearing set for January 18, 2018, the Special Master issued an Order

of Production directing Clymer to bring to the hearing certain documents and materials that were

set out in subpoenas duces tecum (“SDTs”) he issued; the Special Master also issued testimonial

subpoenas directed at current and former USAO employees.32 The FPD and counsel for the

remaining Black Defendants also subpoenaed USAO attorneys and other witnesses.33 Defendant

Carter moved to dismiss the Indictment on Sixth Amendment and prosecutorial misconduct

grounds.34

        The USAO moved to quash the subpoenas and terminate Phase III of the Special

Master’s investigation,35 which the Court denied in a January 12, 2018 Memorandum and




        29
             Doc. 298-9 at 2.
        30
           Id. at 2–7 (citing 28 C.F.R. §§ 16.21–16.29); see United States ex rel. Touhy v. Ragen, 340 U.S. 462
(1951). These regulations shield testimony of federal employees under certain circumstances, preventing courts
from holding in contempt those DOJ employees and former employees who refuse to answer questions for lack of
authority to answer from Department officials.
        31
             Doc. 301.
        32
             Docs. 317, 336-1.
        33
             Docs. 363, 368, 369.
        34
             Doc. 333.
        35
             Docs. 336, 340, 341, 360, 370.




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Order.36 The day before the scheduled January 18 hearing—which by that point had expanded to

a motions hearing on the pending motion for order to show cause, motion to dismiss, and Rule

41(g) motions—the Government filed a Petition for Writ of Mandamus with the Tenth Circuit

Court of Appeals as to the Court’s January 12 Memorandum and Order.37 The following day,

January 18, the Tenth Circuit granted the Government’s request to stay the hearing pending its

ruling on the mandamus petition.38

       On February 26, 2018, the Tenth Circuit granted in part and denied in part the

Government’s petition as follows:

                  The district court’s order directing the Special Master to conduct a
                  Phase III investigation authorized specific tasks as they pertain to
                  three categories of people: defendants in the case before it;
                  defendants with pending motions for relief in the District of
                  Kansas which motions are based on certain allegations; and targets
                  and subjects of the CCA investigation . . . . We direct the district
                  court to limit the scope of investigation and inquiries to matters
                  related to defendants before the court in United States v. Black, No.
                  16-20032-JAR, and to other parties in Black who have filed Rule
                  41(g) motions in that proceeding.39

       The evidentiary hearing was eventually rescheduled for May 15, 2018.40 Again, the

Government moved to quash the subpoenas reissued by the Special Master, which the Court

previously stayed in December 2017.41 The Court did not rule on the renewed motions to quash,

and ultimately did not enforce the SDTs given the Government’s invocation of Touhy. At the

evidentiary hearing, the Special Master and the parties presented evidence on the scope and



       36
            Doc. 372.
       37
            Doc. 382.
       38
            Doc. 387.
       39
            Doc. 398.
       40
            Doc. 429.
       41
            Doc. 461.




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extent of alleged Sixth Amendment violations stemming from the video and audio recordings at

CCA and the USAO’s possession of recorded, privileged, attorney-client communications. The

parties called the following witnesses: former CCA Unit Team Manager Leslie West, Special

Agent Stokes, AUSA Scott Rask, former SAUSA Tomasic, CCA employee Wayne Bigelow, and

CCA Warden Linda Thomas. Clymer made nearly blanket Touhy objections to Rask’s testimony

and partial Touhy objections to Tomasic’s testimony.42

         On May 16, 2018, after a full day of evidence, the parties asked the Court to recess the

hearing to allow them to work toward an agreed resolution of outstanding issues related to the

Special Master’s investigation. United States Attorney Stephen McAllister43 later announced to

the Court that his office and the FPD hoped to reach an agreement on a proposed standing order

with the help of the Special Master, and that the USAO would seek to dismiss then-remaining

Defendants Carter and Bishop.44 All parties understood that if an agreement did not come to

fruition, the hearing would be reconvened. The FPD and USAO proceeded to work toward

resolution of matters impacted by this litigation, including a jointly proposed Standing Order

approved by this Court that appoints the FPD to represent any District of Kansas defendant who

may have a post-conviction Sixth Amendment claim based on video or audio recordings of

attorney-client communications by any holding facility housing federal detainees.45



         42
           See generally Doc. 482. The transcripts of the May, October and November 2018 evidentiary hearing
consist of 12 volumes found at Docs. 482, 483, 651, 652, 669 through 677, and 694 and collectively consist of 2,819
sequentially paginated pages. For convenience, the Court cites to these documents by ECF docket entry number,
followed by a reference to the page number in the transcript that appears in the upper right corner of each page.
         43
          McAllister was sworn in as United States Attorney for the District of Kansas on January 25, 2018, more
than one year after the investigation commenced.
         44
            The Court orally granted the Government’s motion to dismiss Defendant Bishop on May 18, 2018. The
other defendants had entered guilty pleas by that time. Therefore, the only remaining defendant in the Black case is
Defendant Carter.
        45
           D. Kan. Standing Order 18-3 (July 17, 2018), http:/www.ksd.uscourts.gov/wp-content /uploads/2018/07/
Standing-Order-18-3-Appointing-FPD.pdf.




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       On July 30, 2018, the FPD moved to reconvene the evidentiary hearing recessed on May

16, 2018, citing a letter to the Special Master from then-Deputy Attorney General Rod J.

Rosenstein dated July 27, 2018, informing the Special Master of the DOJ’s position in the Black

litigation and the Special Master investigation.46 The letter explained that the DOJ would not

approve blanket sentencing reductions absent evidence of particularized harm, and would either

negotiate or litigate each claim individually.47

       The Court set the evidentiary hearing to reconvene on October 2, 2018,48 and soon after

granted an FPD motion for yet another preservation order for audio recordings of telephone calls

by District of Kansas detainees requested or obtained by the USAO, and for derivative

information related to those recordings.49 On August 17, 2018, the Special Master served the

Government with a new SDT, aimed at eliminating the Government’s Touhy objections. The

Government neither objected nor moved to quash the new SDT, but the Court granted its request

for an extension to produce until September 21, 2018.50

       The hearing recommenced on October 2, 2018, almost one year after it was originally set.

The Court heard evidence from the Special Master, FPD, and the Government over the course of

seven days. The following witnesses testified: Tomasic, United States Secret Service (“USSS”)

Special Agent John Seubert, AUSA Jabari Wamble, defense attorney Christian Cox, Captain

Jared Schechter, Butler County Detention Facility Capt. Toby Stewart, USAO Litigation Support

Specialist Pauletta Boyd, USAO IT Manager David Steeby, AUSA David Zabel, defense



       46
            Doc. 536; see also Ex. 555 at 1.
       47
            Ex. 555 at 2.
       48
            Doc. 562.
       49
            Doc. 569.
       50
            Doc. 586.




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attorney Carlos Moran, AUSA Lanny Welch, AUSA Emily Metzger, Securus attorney Joshua

Martin, CCA employee Wayne Bigelow, Assistant FPD Rich Frederico, AUSA Sheri Catania,

Professor Peter Joy, defense attorney Justin Gelfand, forensic expert Tami Loehrs, AUSA Leon

Patton, Oakley, AUSA Terra Morehead, former First Assistant United States Attorney Mike

Warner, former AUSA Tanya Treadway, defense attorney Melanie Morgan, defense attorney

Christopher Joseph, AUSA Trent Krug, AUSA Tristan Hunt, AUSA Kim Flannigan, AUSA

Barnett, defense attorney Tom Haney, AUSA Scott Rask, and AUSA Tom Beall.51

         Current and former USAO employees testified within the scope of their Touhy

authorizations at the hearing, with Clymer offering guidance to each witness about whether

answering a question was outside the scope of the authorization. Compared to the May hearing,

the witnesses invoked Touhy more narrowly and less often during the October hearing, and

Clymer often advised the witnesses that they could proceed to answer questions that they were

initially reticent to answer based on their authorizations.

         The Government did not fully produce documents responsive to the Special Master’s

SDT by the September 21 deadline. Instead, it produced responsive documents on a rolling

basis, up to, during, and well after the hearing.52 It being evident that the Special Master,

Defendant Carter, the FPD, and other interested parties were denied an opportunity to fully

consider the Government’s discovery responses during the course of the October hearing, the

Court kept the record open and ordered a further evidentiary hearing for November 16, 2018, to




         51
           Before McAllister’s appointment as United States Attorney, Beall served as acting United States Attorney
and First Assistant United States Attorney; Beall was serving in those capacities at the time the Black investigation
commenced.
         52
              See, e.g., Docs. 728, 749.




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“figure out whether the production is complete, all other concerns about production, [and] any

requests for remedies about production.”53

       On November 16, 2018, the Court heard more evidence. The Special Master and FPD

recalled Steeby, Beall, and Metzger to answer questions about late-produced documents, and the

Special Master testified as a rebuttal witness. Further evidence was presented about the USAO’s

litigation hold, and the timing and transparency of the USAO’s request for recusal by the DOJ.

The Government continued to take the position that the disclosures that it had made in response

to the SDTs were made voluntarily, not because of any court order or rule of law, since the

disclosures went beyond those required by Fed. R. Crim. P. 16. On November 21, 2018, the

Court issued a Final Production Order detailing steps the Government must take to fully comply

with the SDT, including providing a privilege log for documents it withheld under Touhy or

other privileges.54

       The Government filed a motion seeking reconsideration, which included a request for

disqualification of the Special Master under 28 U.S.C. § 455.55 In a lengthy Memorandum and

Order filed on January 25, 2019, the Court largely denied the Government’s motion to reconsider

its Final Production Order.56 The Court denied the Government’s request to disqualify the

Special Master and terminate Phase III of the investigation. But the Court modified the

production portion of its November 21 Order, allowing the FPD and Special Master to move for

admission of any additional exhibits identified through the Government’s production pursuant to

the SDTs and accelerating the briefing schedule for proposed findings of fact and conclusions of



       53
            Doc. 677 at 2482:23–25.
       54
            Doc. 690.
       55
            Doc. 697.
       56
            Doc. 713.




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law. The Court made clear that this modification was not intended to excuse the Government’s

noncompliance with its production obligations. It explained that further remedies, if any,

associated with the Government’s failure to cooperate with Phase III of the Special Master’s

investigation were under advisement and would be addressed in this Order. The Court also noted

that there were then 66 pending § 2255 motions that raised potential Sixth Amendment

violations, where there could be no dispute that both the Federal Rules of Evidence and Rules of

Civil Procedure apply.57

         In accordance with the Court’s January 25 Memorandum and Order, the FPD and Special

Master submitted additional exhibits for the Court’s consideration on March 7, 2019.58 The FPD

and the Government filed Proposed Findings of Fact and Conclusions of Law on March 21,

2019.59 Also on March 21, the Government filed a “Post-Hearing Status Report on

Preservation,” providing previously undisclosed information about its preservation efforts since

August 2018.60

         B.          The Scope of this Decision Under the Tenth Circuit’s Mandamus Ruling

         The Tenth Circuit’s ruling on the Government’s mandamus petition permitted the

“investigation and inquiries [in]to matters related to” two categories of parties: (1) “defendants

before the court in United States v. Black” and (2) “other parties in Black who have filed Rule




         57
           The FPD has advised there is the potential for more than 100 additional 2255 petitions involving audio
recordings. See, e.g., United States v. Phommaseng, D. Kan. No. 15-20020-JAR-5, Doc. 583 (stating that FPD
investigations have revealed at least 76 recorded attorney-client phone calls between Petitioner and his counsel were
accessed and obtained by the USAO during the course of his prosecution; at least 13 of those attorney-client calls
exceeded two minutes in duration; there are at least two documented production requests for Petitioner’s phone calls
made by the USAO; and the USAO had been in possession of Petitioner’s recorded CCA phone calls and
surrendered those to the Court in the Black proceedings).
         58
              Docs. 734, 735.
         59
              Docs. 745, 747.
         60
              Doc. 746.




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41(g) motions in that proceeding.”61 As described above, in line with this directive, the Court

eventually reset an evidentiary hearing for May 15, 2018, to address (1) the Special Master’s

Phase III Report; (2) the FPD’s Motion to Show Cause and Supplemental Motion for Order to

Show Cause; (3) the FPD’s pending Rule 41 motions in Black; and (4) Defendant Carter’s

Motion to Dismiss Indictment. These motions unmistakably fall within the scope of the Tenth

Circuit’s mandate.

       In his motion to dismiss, Defendant Carter argues for dismissal of the charges against

him based on Fifth and Sixth Amendment violations and as a sanction for the Government’s

abusive litigation practices during the Special Master’s investigation. Although the Government

has stipulated that Defendant Carter’s charges may be dismissed, the motion remains pending.62

       The FPD’s Rule 41(g) motions allege Sixth Amendment violations related to video and

audio recordings of its many clients detained at CCA. The FPD explained in its Amended Rule

41(g) motion the magnitude of its stake in the issues before the Court: “at least two of our clients

were named in the body of the complaint, Robert Buress and Jermaine Rayton. We currently

represent about 75 clients who are housed at CCA pending trial or sentencing.”63 The

Government argues that these motions are moot because it has returned all recordings to FPD

clients. But for reasons explained fully in this opinion, the Court is not convinced that all

property has been returned—there have been repeated cycles in this case of the Government

representing that it has returned or impounded all recordings at issue, only for the Court to find

out later that there are more. Moreover, the Court has not yet ruled on the Sixth Amendment

allegations in the Rule 41(g) motions. Therefore, the Court properly considers in this opinion the


       61
            Doc. 398 at 2.
       62
            Doc. 478.
       63
            Doc. 85 at 2.




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allegations raised in the FPD’s Rule 41(g) motions, and the evidence presented at the hearing

relating to the FPD’s many clients housed at CCA.

        The original evidentiary hearing was prompted in part by the Special Master’s Phase III

Status Report on October 20, 2017, which documented the USAO’s decision not to cooperate

with the Special Master after the Phase III investigation began.64 The FPD’s Motion to Show

Cause, and two supplemental Motions to Show Cause, were filed in response to that report.

Those motions also fall within the scope of the Tenth Circuit’s mandate.65 They ask the Court to

require the Government to show cause why it should not be held in contempt for failing to

cooperate with the Special Master’s investigation.

        The Tenth Circuit’s mandamus order permitted Phase III of the investigation to proceed

with respect to the two categories of parties discussed above. But long before the mandamus

ruling, this case had pivoted away from an investigation into an adversarial posture. By July

2017, the USAO made clear to the Special Master that it did not intend to produce internal

emails captured by previously-negotiated search terms. Also in July 2017, the DOJ assigned

Clymer to represent the Government in connection with the Special Master’s investigation.

Clymer’s first order of business was to inform the Special Master and the Court that the

Government would not produce documents requested by the Special Master during the previous

year of his investigation.66 These letters triggered the Special Master’s October 2017 Report and

the FPD’s initial Motion to Show Cause. Those filings, along with the still-pending Rule 41

motions, led the Court to set this matter for hearing and the Special Master and FPD to issue

SDTs.


        64
             Doc. 298.
        65
             Docs. 301, 585, 668.
        66
             Doc. 298-9.




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       Despite the many false starts—and the Court’s dashed hope that the FPD and USAO

could work out a reasonable settlement of remedies for the remaining defendants in this case and

with the many habeas corpus petitioners impacted by this investigation—the evidentiary hearing

finally concluded on November 16, 2018. The Court heard ten days’ worth of evidence. This

evidence was required for the Court to understand, among other issues: (1) the scope of video

and audio recordings captured by CCA and Securus during the relevant time period; (2) the

methods by which the USAO obtained attorney-client recordings before and after August 2016;

(3) the custom and practice of the USAO in obtaining and listening to attorney-client audio

recordings; (4) how to determine witness credibility in the face of conflicting testimony and

contradictory evidence; (5) the degree to which the USAO cooperated with the Special Master

during his investigation; and (6) the degree to which the Government preserved and produced

evidence pursuant to Special Master’s and Court’s directives. All of these inquiries were

necessary for the Court to conclude its investigation into Sixth Amendment violations at CCA

with respect to the Black Defendants and the detainees represented by intervening party FPD,

and to rule on pending motions filed by these parties.

       The Court’s forthcoming findings of fact and conclusions of law necessarily discuss

defendants prosecuted by the USAO in other cases within this district, such as Juan Herrera-

Zamora, Michelle Reulet, Mendy Forbes, and Brenda Wood. The Government did not object to

evidence about these cases on the basis of relevance or scope. When discussing these other

cases, the Court is careful in its findings to explain the nexus between those cases and the

relevant inquiries in this case, including the USAO’s knowledge and intent in accessing

recordings that included attorney-client communications. In so doing, the Court finds that

evidence of the USAO’s conduct in those cases is directly relevant to the questions presented in




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this case as to: (1) “defendants before the court in United States v. Black” and (2) “other parties

in Black who have filed Rule 41(g) motions in that proceeding.”67

III.   Findings of Fact: Failure to Cooperate with the Special Master’s Investigation

       The Court makes the following findings of fact relevant to allegations by the Special

Master, FPD, and Defendant Carter that the Government willfully failed to cooperate with the

Special Master’s investigation in this matter. Although these allegations were first set forth in

the parties’ 2017 filings, they were supplemented during the lengthy delay between those

original filings and the evidentiary hearing in May, October, and November 2018, as further

evidence of the USAO’s conduct came to light. Revelations about the USAO’s failure to

preserve documents material to the investigation continued up to the parties’ deadline for

submitting proposed findings of fact and conclusions of law. Thus, the Court’s findings cover

the following aspects of the Government’s non-cooperation over the course of this lengthy

period of time: (1) failure to abide by the Court’s discovery orders by failing to preserve

evidence, including the so-called AVPC hard drives, and (2) failure to timely and fully cooperate

with the Special Master by actively discouraging timely cooperation by key USAO personnel

and by failing to timely and completely produce material documents.

       A.          Orders to Preserve and Cooperate

       The Court made several early orders both orally and in writing with respect to the

impoundment and preservation of evidence that is material to the Sixth Amendment inquiries in

this case. On August 9, 2016, at the first emergency hearing on the FPD’s Rule 41(g) motions,

the Court ordered the Government to turn over to the Court’s custody the six hard drives, or

“DVRs,” containing the CCA video-recording footage produced to Tomasic in May 2016



       67
            Doc. 398 at 2.




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pursuant to grand jury subpoena.68 On August 10, 2016, the Court entered a Memorandum and

Order memorializing this ruling, and directing all detention facilities in Kansas and Missouri that

house District of Kansas detainees, including CCA, to cease and desist video and audio recording

of attorney-client meetings, phone calls, and videoconference calls.69

        At the August 16 hearing, the Court heard evidence that Defendants in the Black case had

received audio recordings in discovery that included their own attorney-client phone calls, the

attorney-client phone calls of their co-defendants, as well as attorney-client phone calls of CCA

detainees not charged in Black.70 The Court orally clawed back the audio recordings in the

USAO’s possession after acknowledging that the Government’s discovery of attorney-client

communications potentially raised “hundreds of Sixth Amendment violations” since “every

person has their own right.”71

        The clawback orders were memorialized in writing on August 18, 2016, but were not

strictly limited to clawback and impoundment.72 The order pertaining to video recordings

extended the August 10, 2016 order, and directed CCA to provide to the USMS all originals and

copies of recordings of the attorney visitation rooms; the USMS was directed to immediately

deliver those recordings to the Court.73 The clawback order pertaining to audio recordings

provided, in part: “the Court Orders the preservation and protection of any and all audio




        68
             Tr. Aug. 9, 2016 Hr’g, Doc. 104 at 114:19–115:25.
        69
             Doc. 102.
        70
           For example, the Black Defendants received audio recordings of phone calls placed by CCA detainee
Lamar Steele to his counsel, Chris Joseph. Lamar Steele was not a defendant in Black. The FPD prepared a chart
based on its limited knowledge at the time, identifying several CCA detainees whose audio recordings were
disseminated in discovery in Black. Ex. 449.
        71
             Tr. Aug. 16, 2016 Hr’g, Doc. 118 at 24:23–26:12, 64:21–65:3.
        72
             Docs. 113, 114.
        73
             Doc. 114.




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recordings of attorney-client communications at [Corrections] Corporation of America (CCA).”74

Thus, the Court’s August 18 clawback and impoundment order of “any and all audio recordings”

was not expressly limited to audio recordings of defendants in the Black case. As for the

discovery that included audio calls in Black, the Court ordered the USAO to provide a list of all

persons or entities to whom these recordings had been disseminated and to refrain from

accessing or listening to them. The Court further ordered that the USAO “return all recordings

and derivative information, such as transcripts, notes, or reports concerning these recordings, to

the Court.”75

       On September 2, 2016, the Court was advised for the first time in a filing by the FPD that

“the Kansas City office of the USAO may be in the cyclical process of replacing computers and

perhaps other electronic equipment.”76 Indeed, on August 30, 2016, FPD Melody Brannon

emailed then-USAO Criminal Chief Debra Barnett, advising that she had heard that the USAO

was to undergo a cyclical replacement of its computers and demanding that the USAO maintain

all existing computers, including hard drives and other media that could contain data related to

the video recordings as “we want to make sure nothing is lost in the transfer.”77 At the

September 7, 2016 evidentiary hearing, the Court orally ordered that the USAO’s computer hard

drives “be held on to until further order of the Court.”78 AUSA Slinkard advised the Court:

                    Mr. Slinkard: So we will communicate with [IT Coordinator
                    David Steeby] that we need to retain the hard drives from the
                    Kansas City office, unless the Court orders more broadly, retain
                    the hard drives from the Kansas City office, as well as the ability to
                    access the laptop hard drives from the Kansas City office, if that’s

       74
            Doc. 113 at 1.
       75
            Id. at 2.
       76
            Doc. 130 at 48.
       77
            Ex. 589.
       78
            Tr. Sept. 7, 2016 Hr’g, Doc. 135 at 54:22–55:14.




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                   acceptable.79

       In the October 11, 2016 Appointment Order, the Court ordered all parties to “provide full

cooperation to the Special Master . . . and observe faithfully the requirements of any orders of the

Court and rulings by the Special Master.”80 In addition to setting forth the Special Master’s

duties in Phase I (feasibility) and Phase II (culling and segregating any arguably privileged video

and audio recordings), the Order warned that the Court may later expand the scope of the Special

Master’s duties to a Phase III, which may include a determination of

                   whether and how the Government has used or attempted to use
                   protected material in any investigation, grand jury proceeding, or
                   litigation, regardless of whether the use or attempted use was
                   disclosed to the Court or to the parties; and whether the
                   Government did or attempted to interfere with a defendant’s
                   attorney-client relationship, such as requesting attorney fees or
                   alleging conflicts of interest.81

       On October 25, 2016, the Special Master entered a Discovery Conference Order.82

Because the Court’s Appointment Order “contemplated the possibility of later directing [him] to

pursue ‘additional investigative duties,’” he directed the USAO, CCA, and the United States

Marshals Service (“USMS”) to

                   identify and preserve all information and sources of information
                   relevant to the matters listed on pages 7-8 of the Appointment
                   Order (docket no. 146). This obligation includes preserving all
                   emails (regardless of the device used to send or receive them) and
                   other documents related to video- and audio-recording at CCA-
                   Leavenworth or any other detention facility.

                   In addition, the Special Master specifically ORDERS the Office of
                   the United States Attorney to immediately make a forensic image
                   of the personal computers of Erin Tomasic, Kim Flannigan, and
                   Pauletta Boyd, and also of any computer used to view the video-

       79
            Id. at 56:11–23.
       80
            Doc. 146 at 13.
       81
            Id. at 8 (emphasis added).
       82
            Doc. 155.




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                      recordings produced in this case by individuals affiliated with the
                      OUSA.83

         On November 18, 2016, the Special Master filed another Preservation Order, ordering

preservation by Securus and the USSS, of the same materials identified in his previous order.84

In a footnote to the November Preservation Order, the Special Master made clear that:

                      The obligation imposed by this Order and the Discovery
                      Conference Order includes: suspension of routine destruction of
                      information; guarding against deletion; preservation of data and
                      metadata in native form; preservation of information on
                      workstations, servers, laptops, online accounts, and all other
                      sources; and preservation of information in the custody of others
                      that is subject to the obligee’s direction or control.85

Under the terms of the Appointment Order, the Special Master’s preservation orders were

deemed orders of the Court since neither party lodged objections.86

         The Court conducted a discovery conference with the parties and the Special Master on

October 28, 2016, during which the Court stressed that the scope of the preservation directives

necessarily went beyond the Defendants in the Black case in light of the many Rule 41 motions

pending in other cases. The Court pointedly asked the Government if it understood the scope of

the directive:

                      COURT: . . . . So with respect to this directive to preserve any

          83
             Id. at 5–6 (emphasis in original). The information and sources of information listed on pages 7–8 of the
Appointment Order include information that proved to be relevant and responsive to later Requests for Information
by the Special Master, requests for production by the Special Master, as well as SDTs issued by the Special Master
and the FPD. For example, the list includes information concerning how the USAO came into possession of
recordings in this case or in the past and identifying the person(s) who obtained and/or possessed recordings. The
list includes information concerning whether the USAO’s possession was inadvertent, intentional, or knowing with
respect to protected communications. And the list includes whether the USAO had used or attempted to use such
protected communications and the identity of any parties affected by the USAO’s breach of any privilege,
confidence, statutory rights, Constitutional rights, or ethical obligations. See Doc. 146 at 7–8.
         84
              Doc. 180.
         85
              Id. at 2 n.1.
         86
          The Government filed a Motion for Reconsideration of the Court’s Appointment Order on October 27,
2016, challenging the scope of the Special Master’s duties. Doc. 163. The Court denied that motion on November
29, 2016. Doc. 182.




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                        records of acquisition or production is what it really says, any
                        records of production by CCA or Securus of video and audio
                        recordings, that these be preserved, has that been complied with?

                        BARNETT: . . . .What I will tell the court is we understand right
                        now nothing in our office as related to obtaining information from
                        CCA should be destroyed or gotten rid of in any way. So within
                        our office we have, I guess, put a lockdown, so to speak, on
                        information or records that we would currently have.

                        THE COURT: And you do understand that it goes beyond the
                        bounds of the Lorenzo Black case?

                        MS. BARNETT: Yes. Yes.87

The Court went on to note, “as you know, there are Rule 41 motions pending in dozens and

dozens of other cases in this district in this division and in other divisions, and so all of this is

relevant to that as well.”88

        In its May 17, 2017 Phase III Order, the Court expanded the Special Master’s

investigation to include, among other things:

                        [W]hether the USAO and investigative agencies (including
                        individual prosecutors, USAO staff and/or investigative agents)
                        purposefully, intentionally, unintentionally or inadvertently,
                        procured, obtained, relied upon, used in any manner, and/or
                        disseminated to anyone, video and/or audio recordings of attorney
                        client communications as described above, or attempted to do so . .
                        . .89

The Special Master was also directed to “[i]nspect and copy files, documents, communication,

and electronic data of any pretrial holding facility, the USMS, and the government as necessary

to complete the above duties.”90 The Order made clear that it did not modify the parties’ duty to




        87
             Tr. Oct. 28, 2016 Hr’g, Doc. 172 at 7:10–9:24.
        88
             Id. at 9:25–10:4.
        89
             Doc. 253 at 45 ¶ 3.
        90
             Id. ¶ 9.




                                                          28
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provide full cooperation to the Special Master. Although the Order provided for Court funding

of Phase III, it warned:

                    Although the Court relieves the government from bearing the cost
                    of the Special Master’s investigation going forward, there is one
                    exception. If the government does not cooperate regarding the
                    inspection and copying described in Section VIII. (9) above, or
                    otherwise litigates the production of materials and information
                    necessary for the Special Master to pursue his investigation, then
                    the fees, costs, and expenses associated with that noncooperation
                    will be paid by the government.91

        No further preservation directives were issued by the Court or the Special Master until

August 2018, when new information came to light about the potential scope of recorded

telephone calls between attorneys and their clients detained at CCA that the USAO continued to

possess.92 On August 15, 2018, after the settlement negotiations between the FPD and the

USAO reached an impasse, the Court filed yet another preservation order, this time for any

recordings of phone calls made or received by a person while in District of Kansas custody that

was requested or obtained by the USAO, as well as any related documents such as emails,

written requests, and communication with defense counsel.93 This order granted an oral FPD

motion that was prompted in part by evidence presented during the May 2018 hearing that

despite the Court’s earlier clawback order, the USAO still possessed many audio recordings of

attorney-client phone calls procured outside of the Black investigation, and that the USAO

routinely requested recordings of phone calls by detainees without formal documentation.94




        91
             Id. at 48 n.60.
        92
          On June 7, 2018, the Court entered an order granting the FPD’s request to prohibit the USAO from
requesting or accessing recorded calls between the FPD and their clients at CCA. Doc. 490.
        93
             Doc. 569.
         94
            These same revelations prompted the FPD to file a motion on August 20, 2018, to discover the names and
recordings of all detainees whose recordings were in the possession of the USAO. Doc. 572.




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Specifically, the FPD learned in May 2018 that there were 1338 instances of recorded calls

between the FPD and its clients detained at CCA between 2011 and 2013.95

           B.          The USAO’s Failure to Preserve Evidence

                       1.          The USAO Misconstrued the Court’s Early Preservation Orders and
                                   Willfully Delayed and Obstructed the Special Master’s Preservation
                                   Orders

           While the USAO complied with the Court’s August 18, 2016 video clawback order by

turning over the DVRs containing video recordings from CCA, USAO management narrowly

interpreted the order to only require impoundment of the physical hard drives obtained from

CCA. Despite the clear language in the Court’s August 18, 2016 video clawback order, the

USAO continued to maintain copies of the video recordings on Litigation Support Specialist

Pauletta Boyd’s AVPC computer.96 And at the Dertinger hearing on June 20, 2017, Special

Agent Stokes testified that he kept a copy of the video recordings that he had previously

downloaded to his laptop computer.97 He testified that he kept this laptop at home or locked in

his car.

           Moreover, despite having knowledge that it had obtained recordings of attorney-client

telephone calls for defendants not named in Black, and despite the broad language of the Court’s

August 18, 2016 audio preservation and clawback order, the USAO chose to narrowly interpret

that order to include only those recordings obtained in the Black case. On August 19, 2016, the

day after the Court’s order, Beall, Barnett, Metzger, Slinkard, Rask, Oakley, Tomasic, and




           95
          Doc. 484 at 1. In 2017, Ashley Huff and Gregory Rapp filed a putative class action lawsuit against CCA
and Securus, alleging violations of various wiretap statutes. See Huff v. CoreCivic, Inc., D. Kan. No. 17-2320-JAR-
JPO. The FPD obtained the information cited in its May 2018 request through the discovery in that civil matter. See
Doc. 484.
           96
                Ex. 508 at 264:20–21.
           97
                Id. at 137:3–25.




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Flannigan met to discuss the scope of the clawback order on audio recordings. Contrary to the

testimony of Barnett and Metzger, there was not a consensus during this meeting that the scope

of the Court’s clawback order was narrowly limited to the calls obtained in the Black discovery.

On that same date, AUSA Carrie Capwell opined in an email to Tomasic that the Court’s order

could be broadly read to apply to all cases.98 Also on that same date, there was an email

conversation between Oakley, Metzger and Boyd, on which Beall, Barnett, Flannigan, Rask and

Tomasic were copied.99 Metzger expressed concern that the Court’s clawback language was

broad, such that with respect to phone recordings that were on the shared discovery drive, they

should “delete them from the drive,” or “lock them down” and give the Court notice of that.100

The USAO ultimately did neither.

       Tomasic and Flannigan testified that they informed Barnett that there were phone

recordings in other cases, including United States v. Rapp,101 that were separately obtained in the

CCA investigation and that should be within the scope of the clawback order as well.102

Tomasic pressed Barnett by email on September 13, 2016, about whether phone calls obtained in

other investigations should be impounded under the clawback order in Black.103 On September

14, 2016, Barnett directed Tomasic to seek clarification from the Court on what to do with phone

recordings from other investigations.104 On September 22, there was an email exchange between




       98
            Ex. 1247.
       99
            Ex. 1143.
       100
             Id.
       101
             D. Kan. No. 14-20067.
       102
             See Ex. 1174.
       103
             Ex. 1257.
       104
             Id.




                                                31
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Metzger and Barnett.105 Metzger again expressed concern that the Court’s order should be

applied to calls that were obtained in other cases.106 Yet neither Tomasic, Barnett, nor Metzger

ever sought clarification from the Court. And while by this point Barnett had directed Tomasic

to secure these other calls and prepare a chart identifying the affected detainees,107 these and all

other calls in the USAO’s possession remained in the shared discovery drive, accessible to all

AUSAs, without notice to the Court or the parties. According to the USAO’s March 21, 2019

status report, documents on the USAO’s shared discovery drive exist until deleted, and “[n]o

discovery drive data related to any case has been approved for deletion after the Court’s blanket

preservation directive of November 21, 2018.”108 Thus, it appears based on this recent status

report that recordings pertaining to non-Black defendants were not only accessible to all AUSAs,

but were also subject to deletion by any AUSA until November 2018 under the USAO’s

interpretation of the August 18, 2016 audio preservation order.

                   2.       The USAO Failed to Preserve the AVPC Hard Drives

       In April 2016, USAO management was placed on notice that the entire USAO office for

the District of Kansas would undergo a cyclical replacement of its computers in August and

September 2016.109 On August 31, 2016, the day after receiving Brannon’s August 30 email

demanding that the USAO maintain its existing computers and hard drives, Barnett forwarded

Brannon’s email to Beall, Slinkard, and Metzger.110 The substance of the subsequent discussion

in this email string demonstrates that these USAO managers recognized the significance of


       105
             Id.
       106
             Ex. 1174.
       107
             Ex. 1261.
       108
             Doc. 746 at 4 n.3.
       109
             Ex. 1201.
       110
             Ex. 1176.




                                                 32
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preserving the data on the computers. Metzger noted that since the video recordings were

impounded by the Court, she did not understand Brannon’s concern unless it was “some type of

metadata on the videos?”111 That, of course, would be one compelling reason to preserve the

computers, particularly any computer from which someone had accessed or viewed video

recordings. Metzger later testified that she understood at the time that there was an issue about

who had viewed the video recordings. In this August 31 email string, Metzger also noted that it

was her understanding that “we have locked it down on our computers,” and that Boyd could

probably verify whether the computer that housed their discovery was being replaced or not.112

Metzger further recognized the need to confirm with USAO IT personnel Boyd and Steeby that

“nothing will be lost.”113 Slinkard weighed in with the suggestion, “[c]heck with David to make

sure, but I understood that we would be retaining all hard drives from the old computers.”114

       It is undisputed that neither Beall, Barnett, Metzger, nor Slinkard conveyed this

information to Steeby, nor sought confirmation from USAO IT personnel that all computers

would be maintained and the data on the computers preserved before the planned cyclical

replacement. By August 31, the Wichita and Topeka divisions were already undergoing or

completing their cyclical replacements, something Barnett and Metzger, who worked in Wichita,

and Beall and Slinkard, who worked in Topeka, knew. But the cyclical replacement had not yet

commenced in the Kansas City division. Steeby testified that because users could lose data on

their computers if they did not take certain steps, he gave repeated notice to users and made sure




       111
             Id.
       112
             Id.
       113
             Id.
       114
             Id.




                                                33
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to inform them of the actual date on which their computers would be replaced, giving them

instructions to leave their computers on overnight.115

         Barnett testified that she had never been involved with a litigation hold and thought that

Metzger or Slinkard would tell Steeby to preserve all hard drives. Barnett offered that she had

no supervisory authority over Steeby, but neither Metzger nor Slinkard had supervisory authority

over Steeby either. Metzger testified that she understood Barnett was asking for guidance on

how to respond to Brannon’s August 30, email, but that she did not understand that she was

expected to follow up with Steeby. In sum, no USAO manager took responsibility for this

critical issue of preserving the data and computers during the cyclical replacement and refresh.

Yet Beall, as the United States Attorney, Barnett as the lead attorney in the Black case, and

Metzger, as the USAO Litigation Hold Attorney, all had direct responsibility to ensure that the

computers were preserved.116

         On September 6, 2016, Steeby completed the cyclical replacement of all but one

computer in the Kansas City division.117 He did not replace a desktop computer called the

AVPC, which was assigned to and under the control of Boyd for litigation and discovery




         115
           See Ex. 1200 (providing DOJ-directed protocol for cyclical replacement and refresh of computers that
includes repeated and detailed instructions to users so that they will not lose files or data). Steeby complied with the
DOJ’s protocol requiring that he give users notice seven days before the scheduled migration, advising that they
may not have access to their system for an entire day and giving instructions on how to back up their data to ensure
nothing was lost in the process. See id.
         116
           On September 2, 2016, the FPD filed a Memorandum of Law-Reply on the scope of the Special Master’s
appointment, advising the Court of the USAO’s planned cyclical replacement of its computers and of its demand
that the USAO not destroy ESI relevant to the Sixth Amendment issues in the process. Doc. 130 at 48. No one in
the USAO spoke to Steeby about this document either.
         117
            This entailed removing the hard drives from the laptop chassis of every laptop computer assigned to
Kansas City users. As a result of removing the hard drives, the data on the hard drives is now only accessible if the
hard drive is reconnected to its original chassis, and if the user of that old laptop accesses it with a user password.
Exhibit 1203 is the August 16, 2016 Daily Deployment List of PC Refresh, which provided Steeby with the
necessary information to match laptops and chassis so that the data can be read.




                                                          34
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support.118 Boyd had previously downloaded the proprietary PELCO player software on the

AVPC, software required for USAO personnel to view the CCA video recordings. That software

was loaded under Boyd’s login and only she could directly access it. Any metadata identifying

who, when, and how the PELCO player software was used to view the CCA videos resided on

the hard drives of this AVPC computer. Instead of replacing the AVPC, Steeby kept it in

service, reformatted its two hard drives, and installed the Windows 10 operating system. Steeby

testified that had someone shared Brannon’s August 30 email with him, he would not have

“refreshed in place” the AVPC computer, because he understood that the installation of the new

operating system would overwrite data on the hard drives.119

         The next day, Boyd returned to her office, and to her chagrin, found that the hard drives

from the AVPC had been “wiped” such that she could not access any files, data, ongoing work

projects, the PELCO player, or video recordings.120 Boyd testified that while she received

instructions before her laptops were replaced, she had not received instructions for desktop

computers, so she had not backed up her data. Had Steeby notified Boyd that she would lose

data on her AVPC, she could have backed up the data and in that process, preserved the video

recordings, the PELCO player, and any associated metadata.

         The Court credits the testimony of Tami Loehrs, a forensic computer expert, whose

opinion was unrefuted. Loehrs testified that the only reason to have two hard drives on a

computer is to use one hard drive for the operating system and one to store data. Steeby testified

that each of the AVPC’s two hard drives housed the operating system and data, a nonsensical


         118
           Boyd testified that this special computer was issued by the DOJ to each district and is used exclusively to
play video or audio files. Doc. 670 at 985:2–9.
         119
               Doc. 672 at 1138:1–1140:11.
         120
             Doc. 670 at 1035:4–1036:20 (“Well, the hard drive, in order to do a re-image, gets completely wiped and
the new image is put on that drive.”).




                                                         35
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practice in Loehr’s opinion. If the AVPC had one hard drive devoted to data and one to the

operating system, the PELCO player and video recordings would have been stored on the data

hard drive and the installation of Windows 10 on the operating system hard drive, which would

not have compromised the PELCO player and video recordings. Loehrs credibly and

persuasively opined that there was no reason for Steeby to install Windows 10 on both drives and

risk overwriting data, unless the objective was to destroy the data. Nonetheless, Loehrs could

not opine as to how much data, if any, was overwritten on the AVPC between the time it was

reformatted and when it was taken out of service on November 7, 2016, about two months later.

She did not conduct a forensic examination of the computer and could not opine that the data,

including any logging information that may have existed, was completely lost.121 Loehrs and

Steeby both testified that a forensic evaluation of the AVPC’s unallocated space would show

how much data was overwritten.122

       Beginning on September 7, 2016, in a host of internal email communications, USAO

management repeatedly sought confirmation from Steeby that he had preserved data on the

Kansas City division computers.123 Shortly before the September 7 hearing where the Court

ordered the old USAO hard drives preserved, Steeby assured Slinkard that the laptops had been

preserved, labeled, and stored, but did not expressly mention the desktops and did not mention

that the AVPC hard drive was reformatted.124 Steeby later testified that he did not mention the

AVPC because Slinkard’s questions were about the hard drives, although he acknowledged that

the AVPC had hard drives, just like the laptops did. At the September 7 hearing, Slinkard



       121
             Doc. 674 at 1859:4–21; see also Doc. 672 at 1135:9–24.
       122
             Doc. 674 at 1853:4–12, 1859:4–21; see also Doc. 672 at 1106:5–8.
       123
             Ex. 1199.
       124
             Ex. 556.




                                                        36
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conveyed Steeby’s assurances to the Court. When the Court directed that the laptop hard drives

and chassis be stored until further order, Slinkard immediately emailed Steeby during the hearing

to advise him of that order. The following day, September 8, 2016, Beall emailed Steeby,

reiterating the Court’s directives. Beall expressly and pointedly advised Steeby that the Court

order regarded all Kansas City office computers. Steeby responded that he had preserved the

laptops; but Steeby did not expressly respond to Beall’s directive that this applied to all

computers.125

        On October 27, 2016, Slinkard emailed Steeby about the preservation of computers in

the Topeka office, and stated that the preservation order applied to all hard drives for all

computers replaced during the refresh.126 At a hearing the following day, October 28, 2016,

Slinkard again advised the Court that all hard drives and chassis had been preserved. Slinkard

further advised that the AVPC and its hard drives had not been replaced and were still in service.

The Court stated that while it wanted all hard drives impounded and stored by the USAO, it did

not want to impound the computer that was still in service. Barnett assured the Court that all

computers were preserved and maintained. Neither Barnett nor Slinkard advised the Court that

the AVPC hard drives were not preserved and maintained, nor did they advise the Court that the

AVPC computer housed the video recordings and PELCO player software.

       Three days after the hearing, on October 31, Slinkard emailed Steeby, copying Beall,

Metzger, and Barnett, and asked how best to preserve Boyd’s computer that was not replaced.127

Slinkard asked if they could remove the hard drive and install a new hard drive. Steeby

responded, stating that “it didn’t cross my mind at the time, but one of the three workstations


       125
             Id. at 7 ¶ 5.
       126
             Id. at 8–9 ¶ 6.
       127
             Id. at 11–12 ¶ 11.




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under Pauletta’s control was upgraded in-place, overwriting everything on the local hard drive in

the process.”128 Someone from the USAO apparently conveyed this to the Special Master

because on November 3, the Special Master asked USAO management for an explanation of

what had happened to the AVPC, prompting an internal email discussion among the USAO

management team about how to respond.129 Then in a November 5 letter to the Special Master,

Slinkard advised that he did not know until Steeby told him on October 31 that the AVPC had

been refreshed in place.130 Finally on November 7, Barnett directed Steeby to “lock down that

PC.”131 Steeby powered off the AVPC computer and took it out of service.132 He placed it in the

USAO vault in December 2016.

                     3.         Failure to Implement a Litigation Hold in Compliance with Early
                                Preservation Orders

        At the local level, the USAO has an electronic, shared file-retention system called

ProofPoint that on a daily basis rolls documents over into an automatic archival system managed

and controlled centrally by the Executive Office of the United States Attorneys (“EOUSA”).

This ProofPoint system only houses email and documents attached to email; it has no connection

to network drives or other repositories. The emails and attached documents are archived in the

ProofPoint system under EOUSA’s control for three years. During the three-year retention

period, users can access their own individual archive email but cannot add, delete, or edit

archived materials. After three years, the emails and attachments are purged and forever

irretrievable.


        128
              Id. at 12 ¶ 12.
        129
              Ex. 1168.
        130
              Ex. 556.
        131
              Ex. 1147.
        132
              Id.




                                                      38
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          The ProofPoint email archive system has no connection to nationally-controlled network

drives, including shared discovery drives that reportedly house scanned discovery documents and

other network drives that reportedly house Word documents. According to Steeby, Boyd, and

Tomasic, some of these drives, including discovery drives, are shared and accessible to all

USAO attorneys who have permission to add, modify, update, and delete data from those drives.

Data on the discovery drives is locally backed up on a daily basis, and there is a six-month

restoration period for any data or documents that are modified or deleted. After six months,

those modifications or deletions cannot be restored. Steeby testified that although he does not

recommend such, users can keep materials on drives that no one else can access, such as local

drives.

          As discussed above, the USAO knew in August 2016 that the Special Master’s

investigation into possible Sixth Amendment violations surrounding its procurement of video

and audio recordings was imminent. As early as August 11, 2016, Beall suggested in an email to

Metzger, Barnett, and Slinkard that they needed to put a litigation hold in place.133 Even if the

USAO was unsure in August about its preservation duties, it certainly knew by October that the

Special Master had ordered preservation. Yet, Metzger did not issue a litigation hold for local

repositories of paper documents, records, and files, nor for local repositories of ESI in August

2016, or for several months thereafter. Nor did Metzger take steps to initiate a national litigation

hold for documents no longer controlled locally.




          133
                Ex. 1207.




                                                39
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                           a.         Delayed Litigation Hold Email

       In October 2016, the Special Master believed that “the lit hold had been put on by virtue

of my order.”134 He was first introduced to Metzger, the USAO Litigation Hold Coordinator, on

November 22 by email, to work on the specific terms of the litigation hold email that Metzger

was preparing to send to USAO staff. Metzger did not inform him that there existed a formal

process through the DOJ for instituting a litigation hold, which included a standard litigation

hold form. The Special Master had previously sent Barnett a Preservation List consisting of

nineteen categories of information that should be covered by the USAO’s litigation hold, and he

worked with Metzger to utilize that list in crafting the litigation hold email.135

       On December 19, 2016, Metzger finally sent the litigation hold directive by email to all

USAO staff.136 Metzger’s email directed USAO staff to preserve documents from January 1,

2011 through the present and continuing, including ESI.137 It further directed them to

                   immediately retain, preserve and prevent any destruction, deletion
                   or purging of any and all written and electronic materials
                   (including files, work product, pleadings, memoranda, subpoenas,
                   administrative requests, handwritten notes, calendar items, e-mails,
                   phone records, tasks and any other electronic records), wherever
                   located or recorded (please note that this includes ceasing purging
                   of closed files that contain any such materials), and regardless of
                   when created, that may contain information about any of the items
                   set forth at the end of this e-mail.138

Metzger included the Special Master’s Preservation List at the end of the email. She further

directed the recipients to forward the email to any agent with whom they had worked within the




       134
             Doc. 694 at 2748:3–14.
       135
             Ex. 1267.
       136
             Ex. 1214.
       137
             Id.
       138
             Id




                                                     40
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last five years and who may have responsive information and direct them to also preserve such

materials. The email cautioned that “attorney-client communication” means “any

communication between an attorney and client, whether or not it is believed to be or may be

privileged.”139 Metzger’s email also instructed that

                   this preservation hold is not limited to the Black case and covers
                   any and all such information that is in the possession of this office.
                   Further this litigation hold is mandatory, not discretionary, and
                   applies to each and every employee of the United States Attorney’s
                   Office for the District of Kansas.140

Metzger instructed USAO staff to acknowledge receipt and review of her email and to advise her

if they possessed responsive information. She provided no deadline for sending her a receipt or

response.

       Contrary to the Special Master’s belief, the evidence presented at the hearing makes clear

that before Metzger sent this December 19, 2016 email, USAO staff did not receive any directive

from management to preserve ESI or paper records. Metzger’s stated reason for the delay was

that she was “negotiating” with the Special Master the terms of the litigation hold. But this

explanation is not credible given that the Preservation List and the language in the email were

largely the work of the Special Master. Metzger’s main contribution was to add language to the

email that advised USAO staff that the directive was for preservation but not production at the

time; she sent the Special Master that language on November 22. On December 6, Barnett sent

an email to Rask, Metzger, and AUSA Annette Gurney, suggesting a meeting “with the criminal

AUSAs this Thursday, at 1 p.m. to talk about the preservation email.”141 Barnett acknowledged

in that email that the Special Master wanted the preservation email sent out “yesterday,” but


       139
             Id.
       140
             Id. (emphasis in original).
       141
             Ex. 1213.




                                                    41
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hoped it could wait until they met. This evidence suggests that the lengthy delay was not

attributable to a good-faith negotiation with the Special Master over the terms of the email.

        Moreover, Metzger made little effort to enforce the December 19, 2016 email after it was

finally sent out. Beginning on January 31, 2017, DOJ policy established a 30-day deletion policy

for documents in the USAO “M” drive, which housed scanned documents. Metzger notified all

staff on January 30, 2017 of the new policy taking effect the next day and advised them that any

documents in the M drive that fell within the scope of the litigation hold should be moved,

printed, or otherwise retained.142

         By late February 2017, many USAO staff had still not even responded to her email to

advise whether they had responsive materials, causing further delay. In fact, Metzger waited

until February 20, 2017, to send a follow-up email, asking the 63 staff members who had not

responded to the December 2016 email to respond by February 21, 2017.143 She sent another

follow up email on February 27 to those who still had not responded, directing responses by the

following day.144

                          b.     Delayed Formal Litigation Hold and Failure to Inform the
                                 Special Master of Formal Litigation Hold Efforts

        Metzger’s testimony at the October 2018 hearing was entirely focused on the December

19, 2016 litigation hold email. Her testimony strongly suggested that this was the only attempt

to implement a litigation hold pursuant to the Court’s and Special Master’s preservation orders.

In fact, when asked whether there “[w]ere there other preservation directives that you have not




        142
              Ex. 1278.
        143
           Ex. 1164. Among the nonrespondants were Beall, Boyd, Catania, Hunt, Krug, Morehead, Patton,
Slinkard, Wamble, and Zabel.
        144
              Ex. 1215.




                                                     42
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yet described,” Metzger responded, “I don’t believe so, that I recall.”145 As far as the Special

Master knew, the December 19, 2016 email was the only litigation hold effort by the USAO.146

         Evidence presented at the November 2018 hearing shows that on May 19, 2017, two days

after the Court’s Phase III Order, Metzger notified USAO staff that they should complete

Attachment 1 of the standard DOJ litigation hold form, entitled “User Litigation Hold Notice and

Certification Form,” which is routinely used to implement a litigation hold on both local and

national repositories.147 The form required each user to check boxes for the locations where

responsive information “may exist,” including categories for both electronic and hard copy

documents. In answering an email question from Barnett about this form on May 22, 2017,

Metzger explained: “[o]f course, we are retaining and preserving already; this is just extra

precautionary back-up on the national server.”148 Metzger directed USAO staff to each complete

and return the Attachment 1 form to her by May 31, 2017. Their signatures certified that they

had followed the preservation directives explained on the form, and that they had identified all

potential repositories with responsive materials. The next step was for Metzger, as the Litigation

Hold Coordinator, and Steeby, as the Systems Manager, to sign and certify Attachment 4 for

each user, entitled “USAO Lit Hold Coordinator/Systems Manager Certification.”149 There is no




         145
               Doc. 672 at 1331:12–19.
         146
            See Doc. 694 at 2669:8–2672:12 (“Q. And you didn’t even tell him that you issued the May 17th lit
hold? A. [Metzger] I don’t believe so. I don’t think it came up that I recall, no.”), 2748:11–16 (Q. Did Ms. Metzger
ever tell you that there was, in fact, a form lit hold notice that she was required to send out by the U.S. Attorney’s
procedures manual and had not sent it out by December the 19th? A. [Cohen] I didn’t know anything about that
form until today.”).
         147
               Ex. 1196.
         148
             Ex. 1223. The USAO should have produced all of its litigation hold forms because they were responsive
to the Special Master’s August 17, 2018 SDT. See Doc. 582-1, Request Nos. 1, 2, 3, 4.
         149
           See, e.g., Ex. 1228. The Court lacks fully completed Attachments 1 and 4 for any user. None of the
Attachment 4 forms in evidence were signed by Metzger, including her own user form. Ex. 1290. And most of
those Attachment 4 forms lack a corresponding Attachment 1.




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evidence that this step was fully accomplished. Although Steeby signed many of the forms, with

a signature date as late as August 2, 2017, none of the Attachment 4 forms in evidence were

signed by Metzger in her capacity as the Litigation Hold Coordinator.

         According to Steeby’s November testimony, his receipt of the litigation hold forms

allowed him to submit a ticket to the Network Operations Center to stop the ordinary three-year

roll-off of email messages for that user. Presumably, Steeby’s ticket also would have stopped

ordinary document destruction of any non-email category of documents that a user checked on

the form.150 Not until the ticket was submitted and processed would the normal deletion process

stop—emails from 2014 were being deleted each day until the ticket was processed.151

         There was ample testimony about the scope of materials AUSAs routinely maintained for

their cases that likely should have been preserved. At the October 28, 2016 hearing, Barnett

testified that prosecutors maintained paper files and that the USAO had internal policies on what

must be retained when a case or investigation is closed.152 AUSA Wamble testified about the

types of case-related documents he kept routinely, including the majority of the case file, except

he might discard “scratch notes.”153 AUSA Oakley testified that he preserved ESI and notes in

both electronic and paper format that were responsive to the issues in Black. AUSA Morehead

acknowledged in a March 9, 2017 email to Barnett and Rask that she had dozens of files in the

past five years that were closed and in archives, and that she “expect[ed] the way we purge out

files that any forms that once existed are no longer there, but are we expected to search them,



         150
             Steeby testified that data on the network drive is not subject to a three-year retention policy. If a user
does not take specific action to delete or modify, it is never lost because that data is backed up to an offsite location.
Doc. 694 at 2536:16–2537:3.
         151
               Id. at 2534:7–2535:1.
         152
               Tr. Oct. 28, 2016 Hr’g, Doc. 172 at 96:2–97:4
         153
               Doc. 670 at 898:1.




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too?”154 And Tomasic testified that she “knew people were recording [internal USAO] phone

calls [and] I knew people were printing out e-mails every night and taking them home in binders

because they did not trust the people they worked with.”155

       Despite this evidence, of the few Attachment 1 forms produced by the Government, only

AUSAs Krug, Metzger, Flannigan, and Treadway indicated that repositories other than Microsoft

Outlook “Email Messages” likely held responsive information.156 Only Krug and Metzger

identified hard copy/paper documents as a repository of responsive information. There is no

evidence that Metzger certified any such forms as part of this process, a prerequisite to Steeby’s

ability to obtain a ticket and implement the hold.

       At the November 16, 2018 hearing, Steeby testified that Metzger’s December 19, 2016

email did nothing to prevent archived documents from being permanently deleted, or to halt the

DOJ’s automatic rolling purge of the contents of its email and other repositories. Metzger knew

in December 2016 that her email did nothing to preserve centrally-held ESI. As she stated in a

November 16, 2016 email transmitting a draft of the litigation hold email to Barnett, Beall,

Slinkard, Rask, and the IT staff:

                   Please note that this hold does not reference the national network
                   or back-up system because that will be beyond the capability of
                   local staff. As soon as we have identified staff who may have
                   responsive information, David Steeby and I will work to
                   implement a litigation hold through the national litigation hold
                   coordinator to ensure proper electronic retention.”157




       154
             Ex. 1282.
       155
             Doc. 669 at 550:17–22.
       156
             Compare Ex. 1196 (Krug) and Ex. 1287 (Metzger) with Ex. 1228 (Catania, Wamble, Treadway).
       157
             Ex. 664.




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But that did not happen until sometime after May 2017, if at all. And when Metzger finally

initiated that process in May, she advised Rask and Administrative Officer Randy Miller that it

was just an “extra backup step of locking down the national servers.”158

         Thus, the Court finds that the December 19, 2016 email was a superficial litigation hold

because it did nothing to formally accomplish a freeze pursuant to the USAO’s local or national

document retention policies.159 Metzger was fully aware that documents may be lost without the

formal litigation hold. The day after Metzger sent the December 19, 2016 email, AUSA Jackie

Rapstine, the Civil Coordinator in the Topeka division, emailed Metzger to caution that emails

are officially retained for only three years, and that Rapstine was “not sure everyone understands

that leaving old things in the archive does not necessarily result in retention after a certain

point.”160 Metzger responded that she was aware of the retention issue, and that she was “going

to prepare lit hold forms for all criminal folks who respond they might have something and ask

Bonnie Curtin to issue a formal electronic hold. I know we are losing some stuff in the interim,

but it would be very dated and there is a formal process.”161

         Steeby could not recall exactly when, but he believes he sent a batch of 20 to 30 tickets to

the Network Operations Center sometime between May 30, 2017 and July 26, 2017.162 Steeby

also acknowledged that by July 2017, he had still not sent in tickets for all users. There is very

little to corroborate Steeby’s vague recall that he sent a batch of tickets to the National


         158
               Ex. 1285.
         159
            Metzger was well versed in the standard practice for litigation holds, having served as Litigation Hold
Coordinator for many years, and having just applied DOJ’s standard process that same year in Meraz v. United
States, D. Kan. No. 16-2441-CM-GLR. See Ex. 1219 (explaining that Metzger previously sent incorrect litigation
hold form for the Meraz case). The Meraz case included a claim of malicious prosecution by a USAO prosecutor
brought by a former District of Kansas defendant whose case was dismissed.
         160
               Ex. 1214.
         161
               Id.
         162
               Doc. 694 at 2534:7–2535:24.




                                                         46
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Operations Center in 2017, and there is no evidence about which users were included in that

batch. On May 22 and June 5, 2017, James Moore, a network analyst at the Network Operations

Center, emailed Steeby a list of USAO users, advising that he had “completed the Litigation

Hold Procedures” for those users.163 But there is no evidence that this email was sufficient to

implement a national litigation hold on those users’ emails or other documents. In fact, other

evidence suggests the opposite—on June 5 and 13, Randy Miller sent emails to USAO

management indicating that he had not received Attachment 1 forms for several users, including

many of the same names on the list Moore sent Steeby on May 22.164

       There is evidence that the USAO reached out to Bonnie Curtin at the National

Preservation Office, an arm of EOUSA, because on June 13, 2017, Curtin sent Metzger, Steeby,

and Miller a Litigation Hold number, and detailed instructions. Notably, Curtin offered to assist

the USAO should they seek to recover old paper records from the Federal Records Center and

further advised that the USAO could segregate pertinent materials on the EOUSA’s litigation

hold server for safekeeping.165 But there is no evidence that Metzger or anyone else from the

Government ever followed through on those avenues to preserve and/or obtain records for

production.

                             c.   Impact of USAO Litigation Hold Delays

       The current record makes it very difficult for the Court to surmise exactly what has and

has not been preserved by the USAO—its shifting explanations and failure to transparently and

truthfully inform the Special Master and the Court of its preservation efforts created gaps and




       163
             Ex. 1226.
       164
             Ex. 1227.
       165
             See Ex. 1225.




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inconsistencies in the evidentiary record.166 For example, the Court cannot find from the record

that all USAO users understood the scope of their preservation duties in the Black case, and thus

preserved evidence material to the litigation beginning in 2016. USAO management unilaterally

interpreted the Court’s early preservation orders as pertaining only to recordings involved in the

Black case, despite representing to the Court on the record that it understood its preservation

duties extended beyond Black, and despite telling USAO staff in the December 19, 2016

preservation email that their duties extended beyond the Black case. And the USAO waited

seven months after the Appointment Order to begin the formal litigation hold process, with full

knowledge that documents would be lost in the interim under the USAO’s normal retention

policies.

        At best, the USAO willfully delayed its formal preservation duties for months, allowing

evidence to be deleted or removed in the interim. Such evidence may have been relevant to the

items on the Special Master’s Preservation List, or to the many cases that have since been filed

under 28 U.S.C. § 2255. Giving full credit to Steeby’s testimony that he sent tickets to the

Network Operations Center in the summer of 2017 for 20 to 30 users, there is no record of which

users. And even this hold was inadequate because most users, despite testifying that they

routinely kept handwritten notes and other electronic documents in their case files, only indicated

in their DOJ form that they possessed relevant evidence in the form of emails and in a few

instances network documents. Giving the USAO credit that it provided EOUSA with the

information it needed to put a litigation hold on these users’ electronic repositories, emails for

these users that predated May of 2014 are forever lost because no centralized hold was put in



        166
            Undoubtedly, the failure to timely produce documents about the formal litigation hold made it
impossible for the Special Master or FPD to develop an adequate record about the USAO’s compliance with it in the
fall of 2018.




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place before May 2017 at the earliest. Such evidence may have been relevant to the Special

Master’s preservation order in the Black case, or to the many cases that have since been filed

under 28 U.S.C. § 2255.

       Complicating the Court’s findings on this issue is the USAO’s dilatory status report filed

on March 21, 2019, well past the time when any witness could testify and explain its contents.

This filing acknowledges prior preservation efforts yet fails to set forth what those efforts

entailed at the national level prior to October 2018. According to that filing, the ordinary three-

year retention period on email was not halted until November 6, 2018, “such that no [email] data

post January of 2016 will be lost through normal retention practices.”167

       Also making this Court’s fact finding difficult, as described more fully below, is the

manner of the Government’s production before and during the October 2018 evidentiary hearing.

The Government neither bates stamped the electronically-stored documents, nor identified the

repository from which each document originated. Therefore, the Court cannot ascertain who

produced what, nor the volume that a particular person produced. What is clear is that only with

respect to two former prosecutors—Tomasic and Treadway—did the Government produce any

paper records or any volume of ESI. Notably, the production of their records revealed that

Tomasic and Treadway had knowingly and intentionally listened to attorney-client phone calls in

one or more of their cases.168

                   4.         The Government Delayed and Obfuscated Its Compliance with the
                              August 15, 2018 Preservation Order

       While the August 15, 2018 Preservation Order did not require production, a few days

after it was filed the FPD moved for discovery regarding audio recordings still in the USAO’s


       167
             Doc. 746 ¶ 6a.
       168
             See infra Section IV.B.4




                                                   49
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possession that had not been turned over to the Court after the August 2016 clawback order.169

The FPD’s motion asked that the Government identify each case in which the USAO or its

agents sought or obtained recorded phone calls of detainees at CCA or any other federal holding

facility, so that the FPD could identify and evaluate potential Sixth Amendment violations for

purposes of seeking relief through § 2255 petitions or otherwise. The parties engaged in a

lengthy negotiation period over this motion, expressly asking the Court to refrain from ruling at

the time of the evidentiary hearing.170

         At the November 16, 2018 hearing, Steeby testified about the Government’s document-

retention policies for its network drives and backup files. Based on this testimony, which

suggested that some of the documents and audio recordings could be subject to destruction, the

FPD requested that the Court order the Government to cease and desist any destruction of those

files. The Court orally granted that motion, emphasizing that Steeby should inform his national

contact at DOJ that there should be “no destruction.”171 The Court’s Final Production and

Briefing Order included yet another preservation directive in paragraph 1:

                     Immediately preserve all documents on the USAO network,
                     including shared, individual, national, and local drives to avoid any
                     further destruction of documents, including documents that were
                     deleted by the user and any earlier versions of modified
                     documents. The government is to construe this preservation order
                     in the broadest terms possible, to ensure that no documents of any
                     age or nature are destroyed, purged, or otherwise rendered
                     inaccessible. The Court may issue a more detailed preservation
                     order at such time as the USAO provides further information about

         169
               Doc. 572.
         170
            The FPD also filed a motion in August 2018 that is still pending, seeking information about the USAO’s
decision to upgrade in place the AVPC, and about the amount of allocated and unallocated space on that computer.
Doc. 573. The parties advised the Court at the beginning of the October hearing that this motion was potentially
moot; that they were working on a resolution, yet the Court was never updated on the progress of this resolution. As
a practical matter, the Court finds that the majority of the information sought by this motion is moot, given that it
sought information to aid the FPD’s expert retained for the October 2018 hearing. The Court will deny the motion
without prejudice to refiling in the individual § 2255 cases.
         171
               Doc. 694 at 2815:2–15.




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                     its local and national systems.172

In a December 5, 2018 filing, the Government represented to the Court that it “ha[d] complied

with paragraph 1 of the production order.”173

         At the FPD’s request, the Court set for hearing on December 14, 2018, the discovery

motion requesting audio recordings and derivative information in the Government’s possession

that the parties had been negotiating since August. First, the Court heard from the parties on

production issues related to attorney-client telephone recordings. The Government and the FPD

presented areas of substantial agreement as to the production of the requested phone recordings,

although they differed on a few issues. The FPD had presented the Government with a list of

approximately 100 names of clients still in custody whose calls Securus records confirmed were

accessed; the FPD’s own records suggested that these calls included attorney-client calls.174 By

the time of the hearing, the Government had identified approximately 26 cases for which it

possessed recorded calls, although it did not concede that the calls included attorney-client calls.

The Government still required time to investigate the other approximately 75 detainees identified

by the FPD. At the conclusion of the hearing, the Court granted the FPD’s motion for discovery,

and ordered the USAO to provide the sought-after phone recordings and derivative evidence in

two stages, with deadlines on January 7 and 28, 2019.175

         On February 20, 2019, the parties filed a joint status report on the phone discovery

directed by the Court’s December 14 order.176 The parties agreed that the Government complied


         172
               Doc. 690 at 8.
         173
               Doc. 697 at 38 n.19.
         174
            By this time, the FPD had been appointed to represent all litigants impacted by the Sixth Amendment
inquiries in this case for purposes of 28 U.S.C. § 2255, even if the FPD did not represent those litigants in their
underlying criminal cases.
         175
               Doc. 705. The January 28 deadline was extended to February 14, 2019. See Doc. 717.
         176
               Doc. 726.




                                                          51
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with the Court’s December 14 Order as to the 100 clients still in custody, whose calls were

obtained and suspected to include attorney-client calls. The FPD advised that it had provided the

Government with an additional list of about 380 names of defendants in the District of Kansas,

many of whom are no longer in custody. The parties agreed that within 60 days, the Government

would conduct a preliminary examination of the list of 380 names and propose a timeline to

identify, collect, and produce discovery related to them. Between January 7 and August 2, 2019,

the Court received and impounded in its vault seven batches of discovery from the Government

pursuant to this agreement; copies were also provided to the FPD. The Court has not received a

copy of the timeline contemplated by the parties’ most recent status report on this issue and, thus,

has no reason to believe that this discovery is complete.177

        Second, at the conclusion of the December 14, 2018 hearing, Slinkard updated the Court

as to its preservation efforts since the November hearing:

                    We continue to work with the data system staff at—computer
                    system staff, computer information staff at the Executive Office of
                    U.S. Attorneys. I think that’s been productive. . . . I do think in the
                    not-too-distant future we’ll be in the position to report back to the
                    court about the various types of information, categories and—and
                    what the abilities and what steps are taken on that. So we’re not
                    ready to—to update on that today, but there has been progress.
                    And I just wanted to make the court aware so you could anticipate
                    sooner rather than later some sort of status report on—on that.178

        In fact, the status report on preservation was filed much “later” than “sooner.” On March

21, 2019, the same day that the parties’ proposed findings of fact and conclusions of law were

due, the Government filed its Post-Hearing Status Report on Preservation.179 This report outlines


        177
           The Court understands from the discovery correspondence that the more recent batches involve out-of-
custody defendants, but there has been no representation made to the court that the Government’s review is
complete.
        178
              Tr. Dec. 14, 2018 Hr’g, Doc. 756 at 27:1–14.
        179
              Doc. 746.




                                                             52
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the Government’s efforts to comply with the Court’s August 2018 preservation order, including,

for the first time, a table of categories of USAO repositories, the ordinary retention period for

each repository, and the action taken to preserve documents in each one. The filing is confusing

at best. On the one hand, the report states that the USAO’s December 19, 2016 litigation hold

“remains in place,” that “older e-mail data that was already subject to an existing preservation

directive, whether in this matter, or any other matter, would also continue to be retained,” and

that in December 2018, members of the Government’s team met to discuss preservation issues

needed “in addition to the preservation directives that had been conveyed to all USAO

employees throughout the pendency of the litigation.”180 Yet the rest of the report suggests that

the USAO met with EOUSA about halting the Government’s ordinary retention policies for the

first time in October 2018—two months after the Court’s August order was entered.

       This document conclusively demonstrates that the Government did not immediately

comply with the Court’s August 2018 preservation order; indeed, it waited until October to even

meet with EOUSA about imposing a national litigation hold on the documents at issue. It was

not until November 2018 that EOUSA extracted and protected email archives from January 1,

2016 to November 6, 2018.181 Therefore, it took three months for the Government to fully

comply with this Court’s preservation directive as to email archives stored nationally. Also, the

report makes clear that Clymer continued to meet with USAO employees and EOUSA

representatives until at least December 11, 2018, to identify and address preservation efforts,

despite representing to the Court on December 5 that the Government had fully complied with its

November preservation order.182


       180
             Id. at 1 n.1, 2–3.
       181
             See id. at 2.
       182
             See Doc. 697 at 38 n.19.




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       C.      Failure to Cooperate with Production of Witnesses and Documents

               1.     Failure to Make Key USAO Personnel Available to the Special Master

       The USAO also thwarted the Special Master’s investigation by failing to provide him

access to USAO personnel who had relevant information. The Special Master testified that when

he was appointed in October 2016, he adopted an open-door policy, inviting the USAO as well

as the defense bar to share with him information they thought relevant. He did not issue

testimonial or document subpoenas. He did not seek to depose anyone. He did not demand

interviews. His view was that the parties were motivated to get to the truth and to help him

determine the circumstances of any recordings between detainees and their attorneys. The

Special Master let USAO management, in particular Barnett, know at the outset that this was his

approach. Barnett visited with the Special Master, answered his questions, and provided

information on a number of occasions. But Barnett’s willingness to share information with the

Special Master did not translate into a willingness to allow other USAO personnel to share

information with him or to respond to his questions.

       Early on, the Special Master told Barnett and Beall that he wanted to speak with

Tomasic, Flannigan, and Boyd. The Special Master expressed an interest in talking to Tomasic

because she was the lead prosecutor in the Black case, had procured the video and audio

recordings, and was also involved in the Dertinger matter. The Special Master expressed an

interest in talking to Flannigan because she was Tomasic’s immediate supervisor and was also

involved in the Dertinger matter. And the Special Master expressed an interest in talking to

Boyd for a number of reasons. Boyd was the USAO’s litigation support coordinator, and the

Special Master was not yet aware of Steeby nor Miller. Moreover, the Special Master knew

Boyd had access to the PELCO player software, the knowledge to play the video recordings, and

perhaps had information about others accessing the video recordings.



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        Both Flannigan and Tomasic testified that they were eager speak to the Special Master.

Tomasic testified that from the time of the Special Master’s appointment in October 2016, she

repeatedly told USAO management that she wanted to speak with him. But Barnett specifically

directed Tomasic not to speak to the Special Master. By then Barnett was avoiding speaking to

Tomasic directly, so she conveyed this prohibition indirectly, through Rask. Barnett expressed

to Rask at the time, and reiterated in her testimony, that she did not want Tomasic or Flannigan

speaking to the Special Master because of their disrespectful behavior and because of complaints

she was getting about Tomasic. When the Sixth Amendment allegations in this case first arose,

Tomasic, Flannigan, and several other Kansas City prosecutors were highly critical of Barnett

and USAO management’s representation of the USAO in the hearings the Court conducted in

August, September, and October 2016.183

        Both Flannigan and Tomasic testified that USAO management did not tell them that the

Special Master was specifically asking to speak to them. It was Special Agent Stokes who

conveyed to Flannigan that the Special Master was asking to speak to her. Flannigan testified

that she told Metzger that she was willing to talk to the Special Master, and Metzger said she

would pass this information on, but nothing ever happened after that. The Special Master never

interviewed Flannigan, although he did have the opportunity to examine her at the Dertinger

hearing on June 20, 2017.

        USAO management finally gave the Special Master access to Boyd in February 2017.

Barnett acknowledged in an email to Rask and Beall that as early as October 2016, the Special




        183
            There were email strings among some of the Kansas City prosecutors particularly critical of Barnett
because she would not file a memorandum of law that they collaboratively wrote challenging the Rule 41 motions.
See, e.g., Exs. 1239, 1240, 1245. Some of these same prosecutors testified in the October 2018 evidentiary hearing
and were similarly critical of Barnett and USAO management.




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Master had asked to speak to Boyd.184 Not until February 2017, when the Special Master

actually spoke with Boyd, did Tomasic learn from Boyd that the Special Master also wanted to

speak to her. In turn, Tomasic soon told management that she wanted to speak to the Special

Master. Tomasic testified that Rask told her that he felt the Special Master was untrustworthy,

that Tomasic was finally showing maturity in putting the USAO’s interests ahead of her own,

and that he wanted her to think about that when she spoke to the Special Master. According to

Tomasic, Rask instructed both Flannigan and Tomasic to not “air their laundry” to the Special

Master.185 Meanwhile, Metzger sent Tomasic an email expressing her concerns about Tomasic

talking to the Special Master.186 Nonetheless, Tomasic finally submitted to an interview with the

Special Master in May 2017, shortly after the USAO terminated her employment.

                   2.       Failure to Produce Documents Requested by the Special Master

       Beginning in the Fall of 2016, the Special Master expended considerable time and money

negotiating search terms with Metzger, Barnett, and Steeby for the purpose of running searches

on USAO staff emails and other repositories.187 The goal of using search terms was to automate

the process of producing relevant documents in a less burdensome fashion than requiring the

Government to review every document. Securus and CCA produced requested documents to the

Special Master well before his March 2017 report. The KBI and the USMS also responded

quickly and thoroughly to the Special Master’s Requests for Information and documents during

the first phases of the investigation. In contrast, the Special Master was growing frustrated by

the USAO’s failure to produce documents; instead, its staff continued to “tweak” iterations of his



       184
             Ex. 1171.
       185
             Doc. 669 at 570:25.
       186
             Ex. 1008.
       187
             See, e.g., Doc. 298-2; Exs. 1146, 1156, 1158, 1159, 1275, 1279.




                                                         56
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proposed search terms.188 The Special Master repeatedly met with Steeby beginning in

December 2016, sometimes several times per week, collaborating on search terms to run against

the USAO’s ProofPoint archive email system, and later, with appropriate syntax adjustments, to

run against other USAO repositories. The Special Master made clear that he expected to run

these search terms, and by February 17, 2017, he asked Steeby and Metzger to use the search

terms to run searches on the repositories of at least ten USAO employees.189

        On June 5, 2017, frustrated by the USAO’s inaction in commencing searches, the Special

Master directed the USAO to run a search on Tomasic’s document repositories and produce

responsive documents as soon as possible.190 The USAO responded by raising issues they had

not raised with him before: (1) unresolved internal personnel matters with Tomasic might

necessitate another entity taking responsibility for reviewing her documents; and (2) the USAO

needed to review Tomasic’s documents for relevance, national security, and privacy issues. In a

June 7, 2017 email to USAO management, the Special Master suggested that the USAO perform

an initial privilege review to identify specific concerns, and then either submit the materials in

camera to this Court or another judge or submit a privilege log for the Court’s consideration.191

In that email, the Special Master also assured the USAO that before he filed any report, he would

allow the USAO to review and identify any findings that should be redacted. The USAO

ignored the Special Master’s suggestions and refused to produce Tomasic’s documents.192



        188
              See Doc. 298 at 2–3.
        189
              Ex. 1279.
        190
              Ex. 1157. By this time, Tomasic was no longer employed by the USAO.
         191
             Ex. 1184. Much later Clymer told the Court that the Government would not submit a privilege log under
any circumstances.
        192
            The Special Master received some of Tomasic’s documents through another channel. In the summer of
2017, after Tomasic was terminated, she provided a binder of printed emails and selected other documents to the
Special Master of her own accord at the time of her interview. Doc. 670 at 772:7–777:16.




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       As an additional basis for withholding production, the USAO advised the Special Master

for the first time in late June 2017 that it was awaiting word on its request that the USAO recuse

and that DOJ assume control of the Black litigation. At the October 2018 hearing, it was

revealed that this request was made one day after the Court’s October 11, 2016 Appointment

Order,193 and approximately one month after the Court directly asked Barnett on September 7,

2016, if the USAO had consulted with its appropriate counterparts at DOJ to determine whether

it could continue to handle the Black case in light of actual or potential conflicts of interest

arising from already-serious allegations of prosecutorial misconduct. Barnett responded that the

office had consulted “with the appropriate personnel,” and that the USAO would remain on the

case and would allow Tomasic and Oakley to answer questions from the Court at the hearing.194

When the USAO sought intervention from DOJ one month later, it did not inform the Court or

Special Master, despite the Court’s earlier inquiry.

       Metzger testified that while the USAO did not need DOJ approval with respect to all

production, it did need DOJ approval to invoke the Touhy regulations or to invoke privilege as a

bar to production. Beall testified that he lacked authority to search for and produce documents

pending DOJ’s decision on the October 12, 2016 recusal request. In any event, Beall testified

that he did not recall ever asking DOJ for approval to produce anything the Special Master

requested during the time the USAO was still handling the Black investigation. Instead, the

USAO stalled production, frustrating the Special Master’s work.

       The Special Master testified that had he known that the USAO would stall and refuse

production, he would not have expended considerable time and money working on search terms



       193
             Ex. 660A.
       194
             Tr. September 7, 2016 Hr’g, Doc. 135 at 11:14–12:7.




                                                        58
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and repeatedly requesting production. Instead he would have issued subpoenas or sought a Court

order for production. The USAO’s inaction led the Special Master to seek some of the

documents he expected the USAO to produce from other investigative agencies. Using the same

search terms the Special Master and the USAO agreed to, the KBI and USMS quickly searched

their repositories and produced responsive documents to the Special Master. In contrast, the

USSS, like the USAO, stalled and ultimately followed the USAO’s lead in refusing to

produce.195

       On July 10, 2017, the Special Master sent Requests for Information to Beall, asking for

responses as soon as reasonably possible.196 On July 14, 2017, the DOJ issued a letter to the

Special Master announcing the appointment of Clymer.197 The letter further advised that the

USAO had not been recused from the underlying Black case and would continue to be

responsible for the case and the investigation.

       As the Court previously noted, this began the adversarial chapter and effective conclusion

of the Special Master’s investigation in this matter. Clymer responded to the Special Master’s

July 10, 2017 Requests for Information in a letter dated September 12, 2017, in which he

“respectfully decline[d] to provide most of the information and documents sought.”198 Among

the reasons cited by Clymer to decline production was that the Government’s internal files are

protected from discovery under the Touhy regulations.199




       195
             Doc. 298 at 5–7.
       196
             Doc. 298-7.
       197
             Doc. 298-5.
       198
             Doc. 298-9.
       199
             Doc. 298-9 at 2–7.




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       As already described, the Special Master eventually issued SDTs on August 17, 2018,

expressly excepting from the scope of the subpoenas any documents the Government deemed

undiscoverable by virtue of the Touhy regulations.200 The Government did not move to quash

these subpoenas. Despite the Court granting a three-week extension, the Government did not

adhere to the September 21 deadline to produce documents ahead of the two-week evidentiary

hearing commencing on October 2, 2018. Instead, the Government produced selective

documents on a rolling basis. After timely producing thumb drives on September 17 and 18 that

contained a total of 14.16 gigabytes of data, the Government untimely produced on September

25, 27, and 30 thumb drives that contained a total of 15.38 gigabytes, another thumb drive of

0.32 gigabytes on October 9, and a thumb drive of 0.06 gigabytes on October 11, the day before

the evidentiary hearing concluded on October 12.201 The Government took the position that it

had no duty to comply with the subpoenas and no duty to produce a privilege log, but that it

would “voluntarily” produce certain documents of its own choosing.202

       These untimely and large disclosures placed the Special Master and the parties at a

decided disadvantage; they simply were not able to use the late-produced materials in their

witness examinations during the October hearing. Much of what the Government produced were

duplicative emails, or duplicative full or partial email strings, that were also duplicative of the

binder of printed emails that Tomasic had provided to the Special Master in 2017. Moreover, the

manner of production masked whose repositories were produced, making it impossible to tell the

source of much of the materials.




       200
             Id.
       201
             Ex. 1194.
       202
             Doc. 587; see also Doc. 694 at 2802:5–16.




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         Furthermore, rather than use the agreed search terms that the Special Master and USAO

had spent so much time developing in 2017, the Government chose to have each USAO

employee cull and produce ESI from their own repositories. There is no assurance that the

production was complete, much less the product of objective review. Yet during a meeting on

June 19, 2017, between the Special Master, Rask, and others, Rask assured the Special Master

that EOUSA would need to approve and perform the search of USAO emails and other

repositories and that the review would be done by EOUSA, not by the individual AUSAs who

owned the various repositories.203

        As noted earlier, a number of AUSAs—including Tomasic, Krug, Wamble, Morehead,

and Barnett—testified that they kept paper files, notes, and records. Yet other than Krug’s and

Tomasic’s voluntary partial production of paper documents,204 the only other paper documents

the Government “voluntarily” produced were certain paper documents of retired AUSA Tanya

Treadway from the case United States v. Reulet.205 As discussed in detail in the Court’s findings

of fact on the audio recordings, those paper documents included handwritten notes prepared by

Treadway as she listened to multiple recordings of phone conversations between Reulet and

three of Reulet’s attorneys while Reulet was detained at CCA. This is not only direct evidence

that Treadway knowingly listened to attorney-client phone recordings, it is evidence that

Treadway lied to United States District Judge Daniel Crabtree about whether she had listened to

Reulet’s attorney-client phone calls. The failure to produce any other paper documents is

certainly no assurance that there were no relevant paper documents responsive to the SDTs.


        203
              Ex. 725. The Court grants the FPD’s motion for leave to file this exhibit out of time (Doc. 749).
        204
           Tomasic voluntarily produced hard copy documents to the Special Master. On the day of Krug’s
testimony, the Government produced hard copy documents preserved by Krug pursuant to the Black preservation
directive.
        205
              D. Kan. No. 14-40005-3-DDC.




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       On the last day of the October hearing, after Clymer could still not say whether the

USAO would produce more information,206 the Court kept the record open and ordered a further

evidentiary hearing for November 16, 2018. Clymer offered the excuse that the Government

needed approval of the Deputy Attorney General to produce any documents, presumably

including ESI and paper documents. But that is no explanation for the Government’s

dilatoriness. The Government had been on notice of the agreed search terms as early as

December 2016. Clymer also stated that the Government had no duty to produce a privilege log,

which he deemed “simply impractical.”207 Clymer instead asserted that the Special Master and

parties were “just going to have to rely on trust in the U. S. Attorney’s Office that it is complying

with what it said it’s going to do.”208

       The Court heard further evidence in November, which triggered its decision to enter the

Final Production Order on November 21, ordering the Government to: (1) use the search terms

negotiated with the Special Master to run a document search on the ProofPoint email archive

system files and on all other electronic repositories, individual or shared, for every current or

former USAO employee who has testified at any hearing in this case, and produce all documents

resulting from these searches and identify the source of each document; (2) search all non-

electronic repositories for every USAO current or former employee who has testified in this case,

using a team of neutral, uninterested searchers, and produce all documents from those searches;

(3) produce every completed and signed response to the May 19, 2017 litigation hold notice; and

(4) produce a production log for withheld information of any type.209 The Government was



       206
             Doc. 677 at 2477:13–2478:24.
       207
             Doc. 669 at 418:19–25.
       208
             Id. at 419:4–7.
       209
             Doc. 690 at 9–10.




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ordered to comply with these directives within sixty days of the order. Instead, it moved to

reconsider in December, advising that even if the Court denied its motion, the DOJ “likely will

respectfully decline to comply with the production order if it remains in place as presently

drafted.”210 Thus, in its January order denying the motion to reconsider, the Court acknowledged

that requiring further production was “an exercise in futility” and modified its briefing schedule

to prepare to close the record. But the Court cautioned:

                   [T]he Court does not suggest the government will never have to
                   produce these documents and information. Indeed, AUSA Clymer
                   has argued in at least three briefs filed in these proceedings that the
                   “appropriate mechanism” for investigation of any Sixth
                   Amendment violations is 28 U.S.C. § 2255, even though some
                   defendants have sought relief for Sixth Amendment violations in
                   pending criminal cases. The Court will leave the production
                   matter for another day, as there are currently sixty-six pending §
                   2255 motions that raise potential Sixth Amendment violations,
                   where there can be no dispute that both the Federal Rules of
                   Evidence and Rules of Civil Procedure apply.211

IV.    Findings of Fact: Possession and Access to Video and Audio Recordings of
       Attorney-Client Communications at CCA

       Despite the limitations on the record due to preservation and production issues, the Court

issues the following findings of fact.

       A.          Video Recordings

                   1.       CCA Recording Practices

       CCA is a detention facility that contracts with the USMS to house federal detainees.212

CCA is remote; it is located in Leavenworth, Kansas, over thirty miles from either the Topeka or

Kansas City, Kansas federal courthouse. CCA houses defendants during the pendency of district



       210
             Doc. 708 at 20–21.
       211
             Doc. 713 at 35–36 (footnotes omitted).
       212
             CCA houses federal detainees in cases filed in Kansas, Missouri, Nebraska, and Iowa.




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court litigation, including trials, sentencings, and revocation proceedings. In-person and phone

conversations between attorneys and their clients at the facility are necessary for attorneys to

provide legal representation and discuss legal matters. Including travel time, an in-person visit

with a CCA client takes up nearly half a workday.213

       CCA used a PELCO multi-camera video system to record throughout the facility. The

PELCO system allowed prison personnel to monitor and record activity using approximately 154

video cameras throughout the facility. The input from these cameras was recorded onto a total of

six different DVR hard drives. Each DVR drive held, at most, about three months’ worth of

video, with new video replacing old video in a looping fashion. Since 2008, CCA video-

recorded in-person meetings between attorneys and clients in five of the nine designated attorney

visitation rooms, where attorneys met with clients to give legal advice and discuss legal strategy.

CCA provided no notice to either defense attorneys or detainees that the cameras in the attorney

visitation rooms were recording—defense attorneys believed these cameras were in place for

security-monitoring purposes only.

       CCA video recordings did not include sound, but visually captured meaningful

communication between attorneys and clients. CCA’s Video Recording Procedures require

designated employees to be trained to record. This included training on “Use,” “Focusing,” and

“Zoom function.” Former-U.S. Deputy Marshal Matthew Cahill testified about viewing some of

the video recordings in areas other than the attorney visitation rooms, and indicated that while

the picture quality was poor, the camera operator at times zoomed in on certain parts of the

picture.214 Cahill did not personally view any of the video recordings of the attorney visitation



       213
             See Ex. 459, Joseph Aff. ¶ 2.
       214
             Tr. Sept. 7, 2016 Hr’g, Doc. 135 at 120:12–22.




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rooms; but this Court did, in camera, at the conclusion of the Dertinger hearing. This Court has

already made findings about the good quality of the recordings of the attorney visitation rooms

based on this in camera review. The Court found it “could easily observe non-verbal

communications, including the communicants’ use of their hands, fingers, and other body

language.”215 The Court incorporates by reference its previous findings that “non-verbal

communication can provide an observer a wealth of information about the communicants.”216

       The USAO submitted an eleventh-hour declaration by CCA Chief of Security Roger D.

Moore, Jr., asserting that the attorney visitation room cameras “were contained in ‘bubbles,’ and

were not capable of panning, tilting or zooming.”217 The Court gives little weight to this

declaration. It was signed on July 20, 2018, yet the USAO failed to submit Moore live for

questioning during the October 2018 hearing. In contrast, other witnesses who testified live on

the same issues were subject to cross-examination. To the extent the Moore declaration conflicts

with or is cumulative of live witness testimony, the Court credits these live witnesses and

disregards the Moore Declaration. The Court also sustains the FPD’s foundation objection to

this declaration. There is no indication in the declaration that Moore has personal knowledge of

the intake procedures to which he attests—he never states that he was present when detainees at

CCA were given the materials about which he declares. Moreover, even if CCA guards could

not pan, tilt, or zoom the camera at the time of the recording, the evidence has established that it

is possible to zoom in using the PELCO software when viewing the video recordings later.




       215
             Doc. 253 at 24.
       216
             Id.; see also Exs. 437, 535 at 25:5–27:7.
       217
             Ex. 47 (filed on March 20, 2019; signed on July 20, 2018).




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                   2.         Grand Jury Subpoena in Black

       A subpoena is not necessary to obtain video from CCA. Tomasic explained that

“[t]ypically, when only particular and limited video recordings are requested . . . CCA burns

those recordings to a disc.”218

       Tomasic testified that the USAO did not routinely obtain video recordings of spaces

inside the CCA facility. During the investigation in Black, the USAO decided to obtain video

recordings of spaces inside CCA that might depict contraband smuggling, transactions, or

conspiratorial conduct. On April 12, 2016, a few weeks after receiving information from a

cooperating individual detained at CCA that there were video cameras that recorded the attorney

visitation rooms, Tomasic issued a broad grand jury subpoena for “[a]ll video footage or still

images currently retained by Corrections Corporation of America (CCA) depicting any internal

or external surveillance video or still image taken between July 2014 and April 12, 2016 at the

CCA facility in Leavenworth, Kansas.”219 On May 17, CCA produced voluminous video

recordings from the entire facility, including the attorney visitation rooms, on six DVR hard

drives. USSS took initial custody of the video recordings and provided a copy of the six hard

drives to the USAO on June 1. On June 6, USSS advised the USAO what equipment it would

need to play the recordings. On June 10, CCA produced to the USAO an index to the hard

drives, which itemized the locations depicted on each of the six hard drives. This one-page index

clearly identified that included on DVR #5 was the “Low Custody Attorney” room and included

on DVR #6 were seven attorney visitation rooms.220




       218
             Doc. 133 at 8.
       219
             Ex. 475.
       220
             Ex. 439.




                                                   66
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        The six hard drives contain video recordings made between November 24, 2015 and May

16, 2016. The Court accepts the Special Master’s finding that the mechanics of the PELCO

video system make it very difficult to isolate recordings from a given camera.221 This means it

would be challenging and expensive to extract from DVR #6 only those recordings from the 21

cameras not recording in attorney visitation rooms.222 It would also be challenging and

expensive to extract and isolate footage of each attorney-client meeting given the split-screen

functionality of the PELCO player.

        Because the video recording equipment at CCA had limited storage capacity, the system

would overwrite old video recordings with new video recordings. The Special Master reviewed

a sample of footage from 30 attorney visits from the seven cameras on DVR #6 for the period of

February 20 to May 16, 2016. He found that every attorney-client meeting he viewed that took

place in an attorney visitation room that held a video camera was listed on the attorney visitor

log and was, in fact, recorded.223 Extrapolating from the attorney visitor logs for that twelve-

week period, a total of over 700 attorney visits were recorded.224

                    3.         USAO and Agents’ Knowledge and Intent

          In March 2016, a CCA detainee who was cooperating in another of Tomasic’s cases in

this District, United States v. Rapp,225 advised Tomasic that there were cameras in the attorney

visitation rooms. AUSA Kim Flannigan was co-counsel with Tomasic on the Rapp case, but


        221
              See Doc. 193 at 4.
        222
           In addition to video from the seven cameras that recorded attorney visitation rooms, DVR #6 also holds
video from 21 other cameras in CCA. These other cameras, which are in the kitchen, parking lot, recreation yard,
and so on, did not record privileged or confidential information. The USAO has agreed not to use video footage
from these 21 other cameras. Id.
        223
           “[C]ertain time periods were not recorded. For example, there are no recordings on DVR #6 (from any
cameras) from April 27-28, 2016.” Doc. 193 at 5 n.5.
        224
              Doc. 193 at 5.
        225
              D. Kan. Case No. 14-20067-CM-1.




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denies any awareness of the cooperator’s statement. Based on the cooperator’s information,

Tomasic admittedly considered conducting a controlled purchase of contraband in an attorney

visitation room, where the transaction could be video recorded, but ultimately decided not to.

       USSS Agent John Seubert testified that he originally drafted the grand jury subpoena in

the Black case for video recordings from specific areas where there was suspicion of contraband

trafficking in the Black case. While Seubert testified at the Dertinger hearing that there was

evidence that the attorney visitation rooms were used for contraband trafficking and that

contraband had been recovered from those rooms, he did not recall whether he knew this at the

time the subpoena was drafted in Black.226 Rather, he testified that it was Tomasic who redrafted

the subpoena to include video recordings of all areas of CCA, without his knowledge. In other

words, Seubert blamed Tomasic and claimed to be an unwitting participant in the subpoena of

video recordings of attorney visitation rooms.

       At the July 21, 2016 discovery conference, the Court asked Tomasic whether there were

video recordings of the attorney visitation rooms. Tomasic told the Court that the attorney

visitation rooms were monitored for security, but not recorded:

                   [N]o—there are [sic] no audio in attorney/client unless someone at
                   CCA, an employee, took it upon themselves to turn on the audio.
                   But I don’t believe it’s recorded. It’s just that it would allow a
                   particular CCA employee to listen in without recording if—if the
                   employee believes something was afoot that he needed to be aware
                   of.227

It is clear that at this point no attorney or detainee was aware that their attorney-client meetings

were being video recorded, nor were they aware that CCA had the ability to record meetings in




       226
             Doc. 670 at 823:5–24.
       227
             Tr. July 21, 2016 Hr’g, Doc. 75 at 11:25–12:6.




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the attorney visitation rooms.228

       Whether or not Seubert’s testimony about his unwitting role is credible, the evidence

shows that at the time Tomasic issued the subpoena on April 12, 2016, she was aware that there

were cameras in the attorney visitation rooms that video recorded. Indeed, Seubert’s testimony

that at some point the USAO was aware that the attorney visitation rooms were the situs of

conspiratorial activity is borne out by another investigator’s email to Boyd. On July 12, 2016,

Stokes emailed Boyd to ask, “[d]id we get in video from the attorney visitation rooms, law

library, and pods at CCA?”229 Seubert testified that only he and ultimately Tomasic decided

what to request in the subpoena for CCA video and that he did not tell Stokes that the video

would include attorney visitation rooms.230

       At the September 7, 2016 hearing, the Court specifically asked Tomasic at what point the

Government came to know that the video recordings included attorney-client communications.

Tomasic responded, “the government had a good-faith basis to believe that the CCA video

recordings contained attorney-client meetings at the time the issue—the subpoena was issued.”231

Tomasic further stated to the Court that she did not recognize, think, or consider that the

subpoena would include attorney visitation rooms until the Court’s questions “triggered” her

memory at the July 21, 2016 hearing and she realized there might be a problem with the breadth

of the subpoena.232 The Court does not credit Tomasic’s testimony that she forgot about what

she characterized as the cooperator’s “lengthy” proffer, which provided an “overwhelming



       228
             See Ex. 1009.
       229
             Ex. 1004.
       230
             Doc. 670 at 830:3–15.
       231
             Tr. Sept. 7, 2016, Hr’g, Doc. 135 at 13:10–14.
       232
             Id. at 13:14–14:1–6; 15:5–13.




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amount” of information, only weeks before she drafted the subpoena to ask for all video

recordings from CCA.233 Rather, the evidence compels the Court to find that Tomasic knew that

her broad subpoena would result in CCA providing video recordings of the attorney visitation

rooms and did nothing to exclude or avoid access to these recordings. Based on this knowledge,

the Court also finds that Tomasic did not respond with candor to the Court’s question at the July

21 discovery conference about whether there were video recordings of the attorney visitation

rooms.

         Even if Tomasic had forgotten what the cooperator told her and she was unaware of what

the investigators knew about the attorney visitation rooms, there is evidence that she should have

known the video recordings included the attorney visitation rooms before the July 21, 2016

discovery conference. On June 10, 2016, the USAO had the index of CCA cameras that

identified attorney visitation rooms.234 By June 13, 2016, Tomasic was prepared to begin

“downloading the surveillance footage” to give to Black defense counsel.235 Tomasic knew

about this index at the July 21 discovery conference when she advised the Court and defense

counsel that the USAO would soon disseminate the video recordings and assured the defense that

although the video footage was voluminous, “we actually created the index for defense counsel,

and for some time defense counsel has been aware that there is an index.”236 If Tomasic had

reviewed this one-page index before the July 21 hearing, she did not speak with candor when she

told the Court the rooms were only video monitored. But even if Tomasic had not seen the index

before July 21, she could have looked at the index after the hearing and corrected her statement



         233
               Id. at 14:18–19.
         234
               Ex. 502 at 7.
         235
               Ex. 446 at 3.
         236
               Tr. July 21, 2016 Hr’g, Doc. 75 at 5:10–12. The index was disseminated on July 25, 2016. Ex. 1231.




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to the Court to clarify that the video recordings included the attorney visitation rooms. Tomasic

made no such correction or clarification.

                    4.     USAO’s Use of Videotaped Attorney-Client Meeting

        Just two weeks after the July 21 discovery conference, Tomasic sent an email to the

Court and defense counsel in the Black case, expressing uncertainty about whether the attorney

visitation rooms were recorded, but assuring the Court and counsel that if they were, the USAO

would not review the video recordings of the attorney visitation rooms until the defense’s

concerns could be resolved.237 This email is significant for several reasons; most importantly, it

is irrefutable evidence that Tomasic did not speak with candor to the Court and opposing

counsel. To understand how Tomasic’s email was intended to mislead the Court and counsel,

one must understand the chronology of events between August 2 and the afternoon of August 5,

when this email was sent.

        Beginning in late July, Tomasic and Flannigan called and emailed defense attorney

Jacquelyn Rokusek to request that she meet with them at the USAO concerning her client from

another criminal case—Richard Dertinger. According to Rokusek, Tomasic and Flannigan told

her at their August 2, 2016 meeting that based on two proffers from cooperators in the Black

case, they had learned that Rokusek had allegedly provided a document containing a proffer

statement to Dertinger that Rokusek had acquired in discovery in yet another case, United States

v. Phommaseng,238 which Dertinger was sharing with CCA detainees.239 This, they told her, had

jeopardized their investigation in the CCA contraband case and they intended to pursue an


        237
              Doc. 445.
        238
              D. Kan. No. 15-20020-JAR-5.
        239
           Doc. 104 at 34:1–9, 12–15. Tomasic later testified that she did not recall whether they told Rokusek that
she handed Dertinger a document or if she just tipped him off that the inmates were under investigation. Doc. 669 at
659:1–12; see Doc. 133 at 16 (detailing cooperators’ proffers).




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obstruction charge.240 Rokusek testified she told Tomasic and Flannigan that she had not yet

received any proffer statements in the Phommaseng case, but Tomasic and Flannigan asserted

that this still presented a conflict of interest for Rokusek’s continued representation of Dertinger.

According to Rokusek, near the end of the conversation with Tomasic and Flannigan, “I was

informed by Ms. Flannigan that they had a case agent on the case who was reviewing attorney-

client meetings from CCA to determine whether or not this document had been provided to

Richard Dertinger, which I told them it had not.”241

       Rokusek left the meeting alarmed not only by the prosecutors’ allegations against her, but

also because they told her they were reviewing video recordings of her meeting with her client to

determine whether or not the document had been provided to him.242 This prompted Rokusek to

take several actions. She sent an email to Tomasic and Flannigan, to memorialize what they had

told her at the August 2 meeting:

                   I’ve been contemplating how to move forward concerning the
                   potential conflict of interest you discussed with me at your office
                   yesterday. You mentioned that you were reviewing video of my
                   visits with Mr. Dertinger at CCA. I would like an opportunity to
                   view the same video footage before making a final decision.
                   Would that be something I could review within the next few days?
                   I will wait for your response and continue as I continue (sic) to
                   research the potential issue.243

Tomasic responded:

                   The agent looking through the video for your visits said he has
                   located the time/date of your visits but has not paired those dates
                   up to the video yet. That agent is on vacation this week and is
                   preparing for a hearing next week. If you want him to pull the



       240
             Doc. 104 at 34:10–11.
       241
             Id. at 35:4–8.
       242
             Id. at 35:3–24; see Ex. 523, Rokusek Aff.
       243
             Ex. 441.




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                   video for you, it might take a while, but we are willing to do so.244

       Flannigan responded in a separate email, urging Rokusek to come right away to “try to

find the video.”245 Notably, in their email responses to Rokusek, neither Tomasic nor Flannigan

denied or challenged Rokusek’s statement that they were reviewing video of her visits with

Dertinger; in fact, Tomasic’s response reiterated that the agent was working on locating the

video of Rokusek’s visit with Dertinger.

       Rokusek also shared her concerns with Laura Shaneyfelt, the CJA Panel discovery

coordinator, as well as with FPD Brannon. This prompted Brannon to email Barnett and

Slinkard to advise that the FPD had learned that CCA records, not just monitors, the attorney

visitation rooms.246 Barnett in turn asked the USMS to find out if this was true.

       The USMS received inconsistent responses from CCA personnel. The CCA warden, who

was newly assigned to that facility, investigated. She testified that she went into one of the

attorney visitation rooms, saw no camera, and responded to the USMS that there was no video

recording of the attorney visitation rooms. But, as she later acknowledged in her testimony, had

she checked the other attorney visitation rooms, she would have discovered that six of the nine

rooms had cameras and were video recorded. In any event, based on the information received

from CCA and the USMS, Barnett advised the FPD and others that there was no video recording.

Meanwhile, the FPD heard from a deputy marshal that the marshal knew that there was video

recording, so their concerns were not allayed.

       In the midst of this exchange of inconsistent information were Tomasic, Flannigan, and

Stokes. Instead of candidly telling the Court and defense counsel that there were video


       244
             Id.
       245
             Id.
       246
             Ex. 453.




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recordings of the attorney visitation rooms, Tomasic sent the August 5 email to the Court and

counsel claiming that in light of the warden’s statement, Tomasic was now uncertain whether

there were video recordings of the attorney visitation rooms.247 Tomasic further misled the

Court and counsel by suggesting that a defense attorney was reviewing video footage at the

attorney’s request or own initiative:

                   Defense counsel has concerns that CCA’s former surveillance
                   system, which was in place prior to the new Warden’s tenure, may
                   have captured video and/or audio recordings in attorney/client
                   rooms. As such, one defense attorney requested in writing that
                   counsel for the USAO, nor any party acting on the USAO’s behalf,
                   view any attorney/client footage provided by CCA until the issue is
                   resolved. Counsel for the USAO agreed that no one acting on
                   behalf of the USAO will view the footage until the matter is
                   resolved. This same defense attorney is beginning review of the
                   CCA surveillance footage today. Thus, the USAO is not certain at
                   this point whether any of the surveillance footage turned over by
                   CCA in response to a subpoena by the USAO issued in US v.
                   Black contains video footage of the attorney/client rooms, but
                   based on the Warden’s statements, counsel for the USAO now
                   believes the information provided by the cooperator was incorrect.
                   Further, because the USAO has agreed to not review that footage,
                   this matter will not be resolved until defense counsel has
                   completed their review of the surveillance footage. If, in fact, the
                   USAO is not in possession of any surveillance footage in the
                   attorney/client rooms, then the USAO will resume its review of the
                   surveillance footage and any concerns by defense counsel should
                   be alleviated. If, however, the USAO is in possession of such
                   footage, counsel for the USAO intends to coordinate with defense
                   counsel to identify whether to use a taint team to review any such
                   footage would alleviate those concerns.248

       Tomasic sent this email at 2:57 p.m. At that very moment, Rokusek and her investigator

were looking at video recordings of the attorney visitation rooms trying to locate a recording of

Rokusek’s meeting with Dertinger, during which the USAO alleged Rokusek had improperly



       247
             Ex. 445.
       248
             Id.




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provided a proffer statement or other information to Dertinger. Rokusek testified that while

locating the video recording of her meeting with Dertinger, she inadvertently opened multiple

windows at one point that exposed her to video recordings of attorney-client meetings between

other attorneys and detainees.249

        Tomasic and Flannigan later denied knowing whether there were video recordings of the

attorney visitation rooms, denied threatening Rokusek, and denied directing Stokes to look for

the attorney-client video.250 Instead, they claimed that Stokes was going to merely view the

video of the residential pod to see who Dertinger talked to immediately after his meeting with

Rokusek and how Dertinger and others were acting.251 Stokes also testified that he was not

going to view video of the attorney visitation rooms, but that he was going to view video of

Dertinger after he left his meeting with Rokusek to see what Dertinger did in the pod.252

        None of this testimony is credible. First, the Court credits Rokusek’s description of what

Tomasic and Flannigan told her the agent was going to view, and the fact that neither Tomasic

nor Flannigan challenged that description in Rokusek’s email to them. From the prosecutors’

account, Rokusek would have had no basis to know that there was any attorney-client video.

Moreover, Rokusek immediately contacted the FPD to ask about video recordings of attorney-

client meetings at CCA, which prompted Brannon to contact Barnett. This course of events can

only be explained by Tomasic and Flannigan making the threat to Rokusek.

        Notably, at the September 7, 2016 hearing, Tomasic attributed her knowledge that the

attorney visitation rooms were video recorded to a cooperator but claimed she did not intend to


        249
              Doc. 253 at 34.
        250
           See, e.g., Ex. 504 at 15 (Flannigan: “I didn’t know we had attorney-client videos, I meant pod videos”
when talking to Rokusek); Doc. 677 at 2265:2–25.
        251
              See, e.g., Doc. 669 at 667:1–668:10.
        252
              Ex. 508 at 123:18–123:25.




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obtain the video because she had forgotten or not realized the subpoena would capture the

attorney visitation rooms. She went on to state:

                   I don’t remember the exact moment. It could’ve been possibly one
                   of two things triggered my memory; the concerns about Richard
                   Dertinger obtaining information through his attorney at any
                   attorney-client room may have spurred, oh, I think we probably
                   have that, given what I know based on what the cooperator says,
                   and I got all surveillance footage . . . .253

Tomasic’s statement confirmed what she, Flannigan, and Stokes were looking for, as borne out

by the existence of a video recording of Rokusek meeting with Dertinger.

       Second, Stokes’ testimony does not ring true. Stokes had a copy of the videos on his KBI

computer and a PELCO player to view those recordings at his home.254 Although Stokes

testified that he was unaware of the video recordings until August 2016, he specifically asked

Boyd on July 12, 2016, if the USAO had received video recordings of the attorney visitation

rooms.255 Stokes admitted that when he viewed the videos he had the CCA index with him,

which Boyd had provided to him by email on July 12.256 Stokes further admitted that he loaded

either disks #3, #5, or #6 on the PELCO player and that he saw thumbnail views of multiple

empty rooms.257 Stokes admitted to watching approximately an hour to an hour-and-a-half of

recorded CCA video.258 And in an August 20, 2016 email to Tomasic, Oakley, and other agents,

Stokes admitted that when he viewed the video recordings, there were 16 camera views on the




       253
             Tr. Sept. 7, 2016 Hr’g, Doc. 135 at 13:19–14:3.
       254
             Ex. 502 at 10, 48; Ex. 508 at 4; Doc. 482 at 62:2–4.
       255
             Ex. 1004.
       256
             Ex. 508 at 123:13–15.
       257
             Id. at 131:7–25.
       258
             Doc. 482 at 74:2–5.




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screen, including views of attorney visitation rooms.259 To see this, Stokes had to be looking at

DVR #6, which the index shows included attorney visitation rooms but no pods. Stokes also

admitted that they had information that Rokusek had purportedly given a written document of

some kind to Dertinger that compromised the Black investigation.260 Viewing the video

recording of Rokusek’s interaction with Dertinger inside the attorney visitation room would have

confirmed whether or not Rokusek provided a document to Dertinger as the cooperator had

reported. If Stokes was looking for Dertinger as he walked back to his pod to see “everyone’s

reactions,” as the USAO contends, DVR #6 was the wrong disk; if he was looking to see whether

Rokusek handed documents to Dertinger, DVR #6 was the right disk.

        Third, the Court considers that if Tomasic and Flannigan had no ill intention, it made no

sense for Tomasic to feign uncertainty to the Court about the existence of such video recordings

in her August 5 email. It makes more sense that if Tomasic and Flannigan believed that Rokusek

had improperly provided a proffer statement to Dertinger as the cooperator claimed, Tomasic

would have been open about their need to view Rokusek and Dertinger interacting in the attorney

visitation room, perhaps by having a taint team review the video to see if Rokusek had in fact

handed a document to Dertinger. Tomasic testified that she planned to employ a taint team to

review law library computers and written materials seized from detainees’ cells during a search




        259
             Ex. 611. Although AUSA Oakley was co-counsel in the Black case, he testified that he did not see the
subpoena for all video surveillance prior to its issuance, was unaware that the cooperator had provided Tomasic with
information that the attorney visitation rooms were video recorded, and had he known he would not have issued a
subpoena for all CCA video recordings because he understood that the USAO should not acquire recordings of
attorney-client conferences. Doc. 674 at 1900:19–24; 1902:3–6. Although none of the emails between Tomasic,
Flannigan, and Rokusek indicate that Oakley was informed about their communications, the Court finds notable that
in a pleading filed on September 6, 2016, to address allegations that the USAO had viewed video recordings of
attorney-client communications, Oakley stated that Stokes only viewed one such room, minimizing Stokes’s
statement in the August 20 email that he had seen 16 camera views that included multiple views of attorney
visitation rooms. Ex. 489 at 12.
        260
              Ex. 508 at 149:1–150:3.




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warrant executed at CCA on April 8, 2016, understanding that there might be privileged

attorney-client communications in those materials.261 But instead of using a taint team to

ascertain whether the cooperator’s information about Rokusek was correct, she chose to use

Stokes to review the video recordings.

        After the firestorm that ensued when Rokusek brought to light the existence of the video

recordings of the attorney visitation rooms, multiple defense counsel began filing Rule 41(g)

motions and demanding a hearing. Flannigan and Tomasic then changed their story to a new

narrative. Flannigan claimed that she did not know there were video recordings of the attorney

visitation rooms until she read Tomasic’s statements in the July 21, 2016 transcript.262 And

Tomasic claimed that she had no certainty about the video recordings until August 5, sometime

after she sent the 2:57 p.m. email to Court and counsel.263 Tomasic testified that after she sent

this email, but while Rokusek was still viewing the video, Boyd brought her the CCA index,

which showed there were recordings of the attorney visitation rooms.264 But Tomasic admittedly

did not send another email to the Court or counsel advising that the index showed that the

attorney visitation rooms were video recorded.265 Moreover, Tomasic and Flannigan changed

their account of their meeting with Rokusek, testifying that they had merely suggested to her that

Stokes was viewing Dertinger after he left the meeting, and that Rokusek should view the videos

to see if there was video of her meeting with Dertinger.266




       261
             Doc. 669 at 681:14–682:12.
       262
             Id. at 2197:6–16.
       263
             Doc. 670 at 738:15–23.
       264
             Doc. 669 at 504:18–505:1.
       265
             Id. at 505:2–12.
       266
             Id. at 660:11–661:24; Doc. 677 at 2266:2–11.




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       Tomasic and Flannigan’s testimony contradicts not only the testimony of Stokes,

Rokusek’s statements, and their email interactions with Rokusek, but also what they told Barnett

when she interviewed them in September 2016 about the video recordings. Barnett testified that

based on a meeting that she, Slinkard, and Beall had with a number of defense counsel on

August 8, and her understanding of the evidence that would be presented by the defense at the

August 9 hearing, she did not have confidence that Tomasic and Flannigan were giving her

complete and accurate information about the video recordings.267 Barnett further testified that

during case reviews with Tomasic, Flannigan, and others on September 28, 2016, Barnett made

notes that reflect Tomasic knew about the video recording of the attorney visitation rooms but

did not tell everyone.268 Tomasic acknowledged to Barnett that the cooperator had told her the

rooms were recorded, and that she had made a mistake in drafting such a broad subpoena that

would include attorney visitation rooms.269 Further, Tomasic admitted to Barnett that she told

Rokusek they were locating the attorney-client video recordings; they did not say that Stokes was

merely going to view video of the pods to watch Dertinger’s behavior and interactions with other

detainees. It is also notable that when Barnett was attempting to investigate the allegations

concerning the video recordings in August, Stokes refused to speak with Barnett, something

Barnett complained about to the KBI.270 The Court finds Barnett’s testimony consistent with its

other findings.

       In sum, the Court finds that when Tomasic issued the subpoena for 22 months of all

video footage from CCA, she knew it would include video of attorney visitation rooms and did



       267
             Doc. 677 at 2340:22–2341:10.
       268
             Id. at 2347; Ex. 691.
       269
             Id. at 2358:14–2359:4.
       270
             Ex. 1059.




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nothing to exclude or avoid these recordings. The USAO kept the video recordings in its

possession for over two months, accessible in the Kansas City office, redistributed them to other

law enforcement agencies, and was preparing to distribute them in discovery to other defense

counsel in the Black case when the Court issued its clawback order. The USAO used the

attorney-client video to attempt to gain a strategic advantage over a defendant. And as detailed

in Section III.B.2, supra, the USAO failed to preserve the AVPC hard drives that could have

provided information about access to the recordings.

       B.          Audio Recordings

                   1.        CCA Recording Practices

       Access to confidential attorney-client communications by phone was particularly

important given CCA’s remote location. CCA provided phone service to detainees by making

available 121 pay-telephones installed and maintained by Securus. Whether calls to a particular

number would be recorded was left to the “sole discretion” of CCA.271 Per the terms of the

contract between CCA and Securus, CCA recorded all outgoing phone calls unless the call was

to a number that was “privatized.” Defense attorney phone numbers qualified for privatization.

Prior to October 2016, an attorney must request that his or her phone number be privatized by

sending a facsimile to CCA on office letterhead that included contact information and a

signature. Successful privatization should have prevented Securus from recording phone calls by

any detainee to the privatized number. Additionally, no call to an FPD phone number was

permitted to be recorded, pursuant to a contract.272 Counsel could also request a “legal” call with

a client, whereby the client could call from a counselor or case manager’s office phone, which



       271
             Doc. 673 at 1375:1–15.
       272
             Ex. 636 at 3.




                                                 80
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was not maintained by Securus. For these “legal” calls, a CCA Unit Manager remained present

in the office listening to the detainee’s side of the call in person. The calls were still recorded.273

         The record in this case demonstrates that calls between defense attorneys and clients at

CCA were routinely recorded even when the attorney properly requested privatization. Calls to

the FPD were recorded repeatedly and without notice, even though the FPD followed the CCA

protocol to privatize its phone numbers, including attorney cell phone numbers, and despite the

agreement between the FPD and CCA that none of its calls were to be recorded.

         Although CCA promised confidential attorney-client communications without

qualification on its website and in its written policy, it did not advertise to attorneys that they

must ask CCA in writing not to record calls with their clients. 274 Before October 2016, the

privatization protocol was not posted at the facility, on CCA’s website, or otherwise published in

any manner that notified counsel that calls were recorded unless this specific protocol was

followed. Nor was the policy included in the phone billing records CCA sent to attorneys.275

Therefore, many seasoned defense attorneys who regularly represent clients housed at CCA

testified or submitted affidavits stating that they were unaware of the privatization process prior

to the allegations in the Black case.276 Those attorneys believed that attorney-client calls were




         273
               See Ex. 469, attach. ¶ 4.
         274
            Ex. 435 at 2 (displaying screenshot dated August 9, 2016 from CCA’s website); Ex. 475 at 5–6 (stating
that detainees will be able to have confidential contact with their attorneys).
         275
            In contrast, Sedgwick County Adult Detention Facility, another Securus client, posted a notice in plain
view of attorneys and detainees, and directly notified attorneys of actions necessary to ensure the confidentiality of
attorney-client communications. See, e.g., Ex. 595.
         276
             While there was evidence that a handful of attorneys were aware of the privatization process, most who
testified or submitted affidavits on this issue were not aware. As but one example, defense attorney Robert Calbi
swore that “[i]n 31 years of practicing criminal law I have never been informed by a client at the CCA or any other
facility in which my clients informed me that they were instructed by the facility that our calls with them were being
recorded unless I proactively contacted the facility and informed them not record these calls and took steps with the
facility to stop these recordings.” Ex. 459, Calbi Aff. ¶ 4.




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not recorded and so advised their clients.277 They believed that if an attorney-client call was

inadvertently encountered, no one would listen.278

        Likewise, prior to October 2016, CCA did not consistently advertise to detainees how to

privatize their attorneys’ phone numbers, and detainees were not allowed to initiate CCA’s

privatization protocol; only attorneys could request privatization. On October 26, 2016, after this

litigation ensued, CCA began offering detainees the option of initiating privatization of attorney

phone numbers by submitting an official request form. Upon privatization, the detainee would

receive confirmation that privatization had been completed.279

        There was evidence about various forms of notice provided by CCA to detainees and

attorneys about its telephone call recording policy. Joshua Martin, General Counsel for Securus,

testified that a recorded message plays at the beginning of all calls placed on Securus phones.280

This message is audible to both the call recipient and the detainee, and for non-private calls

includes the following language: “[t]his call is subject to recording and monitoring” (hereinafter

“preamble”).281 The Special Master found that the message is slightly different depending on



        277
              See, e.g., Ex. 459, Joseph Aff. ¶¶ 3–4; Ex. 520, Bartee Aff. ¶ 6 and Bell Aff. ¶ 6.
        278
              Ex. 459, Joseph Aff. ¶ 4.
        279
              Ex. 1052.
        280
              Doc. 673 at 1401:13–20, 1422:17–1423:11; 1460:10–16; 1467:20–1468:8.
         281
             Doc. 214 at 19–20 & n.15. The Special Master indicated during his cross-examination of Martin that he
had called different attorney numbers using a Securus phone and “heard different admonishments, depending on the
number that I was calling,” which Martin could not explain. Doc. 673 at 1423:4–11. The Special Master did not
elaborate on these differences during his testimony, but in his report, he explained his test phone calls further:
                    For calls made to numbers marked “Private,” it appeared the pre-recorded
                    message did not state the call may be monitored or recorded. For calls made to
                    numbers not marked “Private,” the pre-recorded message was sometimes the
                    one detailed in the text above (stating the call may be monitored or recorded),
                    and sometimes instead only asked the called party whether she wanted to set up
                    an account to pay for and receive future calls – the call itself was never actually
                    connected. Partly because of lack of time, the Special Master was unable to
                    come to a full understanding of which prerecorded message was played for
                    which type of phone call.




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whether the detainee calls collect or uses a prepaid calling card, but the statement that the “call is

subject to recording and monitoring” is always the same.282 If the detainee chooses to hear

dialing instructions in Spanish, the prerecorded message is played in Spanish, and the preamble

translates to “this call may be recorded and is subject to being monitored.”283 A more literal

translation is, “this call may be recorded or monitored.”284

        Detainees were sometimes presented with an “Intake Booking Packet” when they arrived

at CCA, which included a form that they must sign, acknowledging that CCA

                     reserves the authority to monitor (this includes recording)
                     conversations on any telephone located within its institutions, said
                     monitoring to be done to preserve the security and orderly
                     management of the institution and to protect the public. An
                     inmate’s use of institutional telephones constitutes consent to this
                     monitoring. A properly placed phone call to an attorney

                     is not monitored. You must contact your unit team to request an
                     unmonitored attorney call.

                     I have read or had read to me (cross out one) the above notification
                     on the monitoring of detainee telephone calls. I understand that
                     telephone calls I make from institution telephones may be
                     monitored and recorded.285

        Detainees were also supposed to be issued an Inmate Handbook near the time of their

arrival that included instructions, advice, and information about dozens of issues, including

instructions on telephone use and monitoring:

                Access to telephone: Telephones are provided for detainees/detainees
                in the housing unit dayroom. Dayroom telephones are subject to
                monitoring. . . .

                Procedures for telephone use include:

Doc. 214 at 20 n.16.
        282
              Id. at 20 n.15.
        283
              Ex. 656 ¶ 6.
        284
              Id.; Ex. 656A.
        285
              Doc. 214 at 15–16; Ex. 1.




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               ....

               6. Your attorney may request of our facility that calls to their office not
               be recorded to ensure Attorney/Client privilege. They may request this
               by way of sending CCA/LDC a fax on their office letterhead. This
               request must include contact information and signature. They may fax
               it to (913)727-2231. IT IS YOUR RESPONSIBILITY TO
               ENSURE THAT YOUR ATTORNEY IS AWARE OF THIS
               PROCEDURE; THEIR TELEPHONE CALLS ARE SUBJECT
               TO BEING RECORDED IF THEY DO NOT REQUEST THEY
               BE RESTRICTED.286

       But former CCA Unit Manager Leslie West testified that it was common for detainees to

never receive the Inmate Handbook. Even when the handbook was available, distribution could

be delayed for the first three to six days—a critical time for attorney-client communications.

West testified: “You were more likely to talk to an inmate who didn’t have a handbook than one

that did.”287 Moreover, the content of the handbook was not reviewed with the detainee during

intake, nor did the intake officer explain how to “properly place” a call to an attorney. And the

handbook did not explain how an unmonitored legal call could be placed.

       There was some signage near Securus telephones at CCA. A small sign on each Securus

telephone entitled “Dialing Instructions,” states: “Calls are subject to monitoring and

recording.”288 CCA has posted its own signs near at least some of the Securus telephones. One

example is an engraved plastic sign that says, “ALL CALLS MAY BE RECORDED/

MONITORED.”289

       Defense counsel’s experience with the preamble varied. Several experienced defense

attorneys attested that they never heard the preamble during their phone conversations with CCA



       286
             Ex. 2 (emphasis in original).
       287
             Doc. 482-1 at 41:13–14.
       288
             Exs. 4–6.
       289
             Ex. 3.




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detainees.290 Others attested that they sometimes heard the recording.291 Christopher Joseph,

who has represented clients at CCA since 2003, attested that he or a member of his staff hears

the preamble on every call they answer. He attested that he is “not aware of any way to have

telephone communication with a client that does not involve the recorded statement that ‘calls

may be monitored or recorded.’”292 Defense attorneys testified that typically their staff answers

the phone, so they often do not hear any prefatory pre-recorded message. And several testified

live or by affidavit that they did not believe the presence or absence of the preamble language

determined whether their call was recorded—they believed that calls between attorneys and

clients were never subject to recording. In particular, those attorneys who were familiar with the

privatization process reasonably believed that submitting their telephone numbers for

privatization was the only requirement to ensure nonrecording—so the preamble did not alert

them that the privatization request had failed.

        The Securus Call Platform is a web-based interface that allows users such as CCA

personnel to access information related to calls made on Securus telephones. Users located at a

given prison normally have access only to information regarding Securus telephones at that site.

As the Special Master reported, Securus preserves recorded calls for a set period of time, during

which a person with access to the Securus Call Platform may, among other things: (1) extend the

time the call is preserved on the Securus system; (2) listen to the recorded call; and/or (3)

download the call, thereby preserving it outside of the Securus system.




        290
          Ex. 459, Ambrosio Aff. ¶¶ 2–3, Calbi Aff. ¶¶ 2–4, Vermillion Aff. ¶¶ 2–3, Haney Aff. ¶¶ 2, 4, and
Johnson Aff. ¶¶ 2–3.
        291
              Ex. 459, Jenab Aff. ¶ 2 and Dodge Aff. ¶ 4.
        292
              Ex. 459, Joseph Aff. ¶ 2.




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       CCA’s recording retention period was five years under its contract with Securus. Securus

maintained recordings of all non-privatized calls and detailed data relating to every call,

including whether any party outside of the facility accessed it. These details could be produced

on a spreadsheet called a Call Detail Report. Securus kept records of which calls were accessed,

when they were accessed, and how they were accessed, i.e., by play-back (listened to but not

copied), by download to another platform, or by copying to another medium. The data was

tracked on recording access logs.

       Even when an attorney correctly submitted a privatization request, there was no

assurance that his or her clients’ phone calls to that number would not be recorded. CCA

admitted that “due to human oversight,” calls would sometimes be recorded anyway, although

CCA denied that they were used or disclosed to any third party.293 Martin testified that a number

may not have been privatized after an attorney made a privatization request for several reasons:

(1) CCA input the wrong phone number; (2) CCA delayed inputting the phone number; (3) CCA

input the name in different formats, for example, CCA input “Brenda Wood,” and “Wood

Brenda” for the same detainee; (4) CCA privatized the number for calls placed from only certain

areas at CCA, such as the bank of jail phones, or the phones in the case managers’ offices; or (5)

CCA privatized an attorney’s number for calls from a subpopulation “site level” at CCA, rather

than calls from any and all detainees at CCA.

       CCA employee Wayne Bigelow testified about the site level issue. Bigelow’s job duties

at CCA included privatizing phone numbers in the Securus Call Platform. When CCA received

a privatization request, the facility was required to pick from one of four “site level” lists from

which any given number would be privatized: (1) the entire facility; (2) USMS inmates; (3)


       293
             Ex. 47 ¶ 15.




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county inmates; and (4) Maryland DOC inmates.294 If a number was privatized for only USMS

inmates, for example, calls from USMS detainees to that number would not be recorded, but

calls from Maryland DOC or county inmates would be recorded. The default selection on this

field is the entire facility; the CCA employee inputting information must affirmatively choose a

different site level from a dropdown box in order to select a site level other than the entire

facility.

        Bigelow routinely marked the wrong site level box on the Securus Call Platform because

he mistakenly believed that selecting any site level in the site level dropdown field would

privatize the number for the entire facility. Instead of privatizing the number for the entire

facility, Bigelow routinely selected a site level subset that privatized the number only for some

clients of that attorney, but not others. Neither Bigelow nor any other CCA employee ever told

attorneys that there were different levels of privatization. This created, for example, the

incongruous result presented at the hearing by the FPD: its main Kansas City office phone

number was privatized for Wyandotte County inmates at CCA, but not for USMS inmates. 295

Thus, a phone call from a county inmate would be privatized and not recorded, while a call from

a USMS client later that day to the same phone number was recorded. Thus, even if an attorney

had been placed on notice of the need to privatize, the attorney never knew or had the ability to

ask to be privatized for specific site levels.

        The Special Master found that as of December 15, 2016, CCA’s list of attorney numbers

marked “Private” contained 528 telephone numbers, compared with the roughly 18,500 “Known

Attorney Telephone Numbers” belonging to attorneys in the Kansas/Missouri/Nebraska area that


        294
              Doc. 214 at 23 n.21.
         295
             See, e.g., Ex. 564 (Call Detail Report showing FPD phone number ending in 6712 recorded in some
instances and not in others); Doc. 638.




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the Special Master compiled.296 Nicholas Harris, a digital forensic analyst and software

developer for Digital Strata, testified that based on his work to date as an expert retained in

Johnson v. CoreCivic,297 a class action lawsuit against Securus filed in the Western District of

Missouri, there were significant numbers of calls to privatized attorney telephone numbers

recorded, including calls to the District of Kansas FPD’s office.298

                     2.          USAO Methods of Obtaining Recordings of Calls

         It was typical for the USAO to obtain audio recordings placed by CCA detainees in a

wide variety of criminal cases.299 Prosecutors, including AUSAs Catania, Morehead, Hunt,

Wamble, and Oakley testified that they obtained such recordings for a variety of reasons: (1) for

voice comparisons to aid in identifying voices on wiretaps or consensual recordings; (2) to see if

the defendant had made any inculpatory statements, particularly if the case was going to trial; (3)

to investigate whether a detainee is continuing to engage in conspiratorial or otherwise criminal

conduct; or (4) to investigate whether a detainee was violating a court-imposed no-contact order

with other detainees or with witnesses. Tomasic testified that Hunt, one of the AUSAs who

trained her, advised that she should always get calls if the case is going to trial.

         It is impossible, however, to identify or even quantify the number of calls obtained in

other cases investigated or prosecuted by the USAO. First, the USAO and/or agents obtained

recordings from CCA in several ways: grand jury subpoena, administrative subpoena, USMS


         296
               Doc. 214 at 24.
         297
               W.D. Mo. No. 16-cv-00947-SRB.
         298
             Harris testified that based on Securus data, he identified 7914 calls to numbers that were identified as
attorney numbers through privatization requests, 203 of which were recorded after privatization had been requested.
See Ex. 561 ¶ 19. Securus privatization records revealed 161 unique records of attorney numbers that were numbers
on the Special Master’s lists and 1627 phone calls recorded after privatization was requested. See id. ¶¶ 29–30.
Harris further testified that based on CCA data, there were 546 unique numbers on the privatization reports, 356 of
which were on the Special Master’s list, and 9438 calls were made to those numbers, 2413 of which were recorded
after the attorney had submitted a privatization request. See id. ¶¶ 21–25.
         299
               See Ex. 501.




                                                         88
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form request, email request to USMS, telephonic request to USMS, email request to CCA,300 and

USMS telephonic request to CCA. Some of these requests were fully documented, such as

subpoenas and USMS form requests, which identified the name of the detainee, the date and time

of the request, the temporal scope of the request, and perhaps the name of the agent and/or

prosecutor making the request. But some written requests contained only partial information. In

May 2013, the USMS implemented a policy requiring that requests be documented on a request

form that included language that stated attorney-client calls are excluded from the request.301

Nevertheless, there was evidence that prosecutors and agents continued to request and obtain

recordings through oral requests or by email.

       Second, once requested, prosecutors and/or agents received recordings in several ways.

Sometimes CCA burned the calls to a disk and delivered the disc to the USMS or to the USAO

by jail transport van. Other times, recordings were attached to an email and the prosecutor

and/or agent would access the recordings through a link to CCA or the Securus system, which

gave them a 24-hour period in which to access the calls, and either listen to or download them

for access on their own server.302 If the requesting party obtained the recordings by physical

delivery from the jail transport van, there was no documentation of that, although there was at

least one example of a prosecutor signing a receipt for a delivered disc.303 When the requesting

party accessed the recordings through the electronic link, there was no complete documentation

of that. In fact, in some instances, the only documentation that recordings were requested or

received was an email from an agent complaining that CCA’s electronic link to download the



       300
             Ex. 608.
       301
             Ex. 715B-008.
       302
             See Ex. 715B-010.
       303
             Ex. 715B-035.




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documents was not working. As discussed above, however, the Government’s failure to preserve

means that documents, including emails, may not be recoverable.304 These varied procedures

often resulted in no paper trail about who requested the calls, when, or why. As discussed

throughout this opinion, it is difficult to trace whether the USAO has attorney-client calls in a

particular case, absent written documentation.

         The record is clear, however, that upon receiving recordings, prosecutors and their agents

reviewed the calls. After the first hearing in the Black case, AUSA Rask asked Barnett in an

email,

                     Deb,

                     Because there is no evidence that any attorney-client telephone
                     calls from CCA have been obtained and because those calls are
                     automatically not recorded by the CCA technology as attorneys
                     provide their telephone numbers and because there is a taint-team
                     process in place and because this issue has been vetted through our
                     criminal PRO and PRAO and because this was not an issue during
                     yesterday’s hearing, may the prosecution team continue with their
                     review of the tens of thousands of calls obtained?305

As the Court discusses in detail below, Rask was wrong on almost every point but one—the

USAO and its agents routinely relied on CCA recorded calls and reviewed those calls.

                     3.         Grand Jury Subpoena in Black

         The USAO obtained more than 48,000 recorded detainee calls associated with

approximately 40 detainees in its investigation of contraband smuggling at CCA.306 It was

understandable that the USAO obtained phone calls in the Black case, given that it was

investigating not only contraband smuggling within the walls of CCA, but also a conspiracy that



         304
               See supra Section III.A.3.c.
         305
               Ex. 1054; see also Ex. 505.
         306
               Doc. 107 at 3.




                                                     90
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involved those outside of CCA who supplied the contraband and CCA employees who

participated in or aided and abetted the contraband smuggling.

       The USAO used a grand jury subpoena to obtain “all CCA-Leavenworth inmate recorded

calls” “from July 1, 2014 until notified recorded calls are no longer needed” for seventeen

inmates.307 The time span was later expanded by informal request.308 Tomasic also emailed

CCA directly, asking for all calls made by Black Defendant Stephen Rowlette; “calls made by

any inmate” to a list of specific phone numbers; and a “reverse” search on other numbers.309 In

her testimony, Tomasic placed the number of defendants whose calls were collected at 40.310

When Tomasic subpoenaed the calls in Black, she did not exclude any attorney numbers.311 The

agents reviewed the calls and tracked them on a spreadsheet.312 The calls were then distributed

in discovery to Black defense counsel and various law enforcement agencies. Derivative reports

were made, which were later subject to the Court’s clawback order. The calls from these 40

defendants included at least 74 attorney-client calls.313

                   4.       Individual Cases that Came to Light in Black

       Individual cases that came to light during the Black investigation illustrate the USAO’s

practice with respect to collecting, saving, and accessing attorney-client calls from CCA:




       307
             Ex. 161.
       308
             Tr. Sept. 7, 2016 Hr’g, Ex. 490 at 27:6–20.
       309
             Ex. 465.
       310
             Tr. Sept. 7, 2016 Hr’g, Ex. 490 at 29:16–21.
       311
             Ex. 471 (sealed).
       312
             Exs. 1002, 1003.
       313
             Ex. 449.




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       United States v. Birdsong314

       Tomasic testified that soon after she arrived in the USAO in 2013, she encountered an

attorney-client call of defendant Jerome Birdsong and sought advice from then-First Assistant

United States Attorney Mike Warner.315 Tomasic followed Warner’s advice by disclosing to

Birdsong’s attorney that she had accessed attorney-client calls, apologizing, and using a filter

team.316

       United States v. Rapp317

       Tomasic was the prosecutor in the Rapp case, which included Dertinger as a co-

defendant. As previously discussed, that case overlapped with the Black case; cooperators in the

Rapp case provided Tomasic with information about Dertinger and the CCA investigation.318 In

2016, Agent Stokes informed Tomasic that he heard two attorney-client calls between defendant

Gregory Rapp and defense counsel Rick Johnson.319 Tomasic sought advice from Metzger and

AUSA Lanny Welch about how to proceed. Welch, who had been an AUSA for 29 years and

the Professional Responsibility Officer (“PRO”) for the USAO for 19 years, told Tomasic, “it

makes me nervous to exploit without waiver.”320 Welch initially advised Tomasic to disclose the

calls to the court and counsel, to get a firm decision of whether the privilege was waived. After

Tomasic told him that she did not intend to use the calls at trial or sentencing, Welch advised her

the safest approach was to disclose the calls to counsel with no need to involve the court at that



       314
             D. Kan. No. 15-20045-JAR.
       315
             Ex. 583.
       316
             Exs. 582, 583.
       317
             D. Kan. No. 14-20067-CM-1.
       318
             See infra Section IV.A.3.
       319
             Ex. 1003.
       320
             Ex. 33.




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time.321 When Tomasic notified Johnson that Agent Stokes had discovered his calls with Rapp,

she characterized it this way: “CCA inadvertently included at least three calls between you and

your client,” dismissing it as an anomaly.322

       United States v. Huff323

       Defendant Ashley Huff was a co-defendant in the Rapp case. When Tomasic was

prosecuting the Huff case, she listened to a call involving Huff’s mother’s “lawyer friend.” She

conferred with Flannigan and Oakley, who advised her that the calls were arguably not

privileged because there were third parties present on the call. Tomasic thereafter affirmatively

sought by email request recordings of all detainee calls to the phone number for the mother’s

“lawyer friend.”324 After Huff filed a Rule 41(g) motion, the Government agreed to a time-

served 36-month sentence on the condition that Huff withdraw her pending motions.325

       United States v. Forbes326

       Oakley, one of the prosecutors in the Black case, Wamble, and IRS Special Agent Henry

Herron encountered a call between defendant Mendy Forbes and criminal defense attorney Kurt

Kerns, who was not then Forbes’ counsel of record. Oakley acknowledged in an email exchange

with Wamble and agents that Forbes and Kerns could have been engaged in a protected attorney-

client communication, even though he was not yet counsel of record.327 Although Oakley did




       321
             Ex. 641.
       322
             Ex. 10.
       323
             D. Kan. 14-20067-CM-9.
       324
             Ex. 513.
       325
             D. Kan. No. 14-20067-CM-9, Doc. 481.
       326
             D. Kan. No. 13-20041-KHV-1; D. Kan. 12-20099-KHV-1.
       327
             Ex. 716.




                                                    93
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not listen to the substance of the call, neither he nor Wamble notified counsel;328 nor did they

divest the USAO’s possession of those calls until January 7, 2019.329

       Nevertheless, the AUSAs proceeded to request Forbes’ calls by email request on five

subsequent occasions during 2015 and 2016 and did not notify Kerns or exclude his phone

number or the phone numbers of Forbes’ two counsel of record, Deb Vermillion and Shazzie

Naseem.330 In all, the USAO obtained 32 attorney-client calls of Forbes.331

       United States v. Wood332

       Wamble, who was one of the prosecutors on the Forbes case, was the lead prosecutor in

Wood, a wide-ranging fraud case. Wamble testified, and an email from his legal assistant to the

USMS corroborates, that when he encountered an attorney-client call, he immediately contacted

the USMS and asked them to provide him with a “clean” set of calls that did not include

attorney-client calls. Wamble also had Cox’s phone number privatized, but without notice to

Cox.333 He did not, however, disclose or disgorge the recording to Wood’s attorney Christian

Cox.

       Wood subsequently filed a Rule 41(g) motion in her criminal case, seeking return of the

recordings.334 Wamble testified that he told his supervisor, Rask, that he possessed Wood’s

attorney-client calls. Neither Rask nor management directed Wamble to turn over the calls in




       328
             Ex. 717.
       329
             Ex. 715C at 2.
       330
             Exs. 715B-11, 715B-13, 715B-15, 715B-16.
       331
             Exs. 604A, 607A.
       332
             D. Kan. No. 14-20065-JAR-1.
       333
             Doc. 670 at 936:3–13.
       334
             D. Kan. No. 14-20065-JAR-1, Doc. 107. Wood unsuccessfully attempted to intervene in the Black case.




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response to the Rule 41(g) motion; instead he was directed to preserve the calls.335 The USAO

eventually delivered to the FPD on February 23, 2018, six discs with recorded phone calls, and

explained:

                   1. Disc labeled “Brenda Wood jail calls” This disc may contain
                   calls that were inadvertently included phone recordings of Brenda
                   Wood’s previous attorney, Christian Cox. Upon hearing the voice
                   of who I believed to be Mr. Cox, I stopped listening to the calls
                   and requested calls from the Marshals Service that did not include
                   Cox’s phone number. Additionally, when I heard what I thought to
                   be Mr. Cox’s voice, I contacted Mr. Cox to alert him to this
                   possibility and informed him how he could seek to have his calls
                   not recorded at CCA.336

       However, Cox testified that Wamble never told him that he had obtained, inadvertently or

otherwise, recordings of Cox’s calls with Wood or that Wamble had possession of any attorney-

client recordings.337 Cox further testified that if he had known of Wamble’s actions, he would

have proactively protected the communication.338

       Wamble admitted in the Black hearing that he did not tell Cox that he actually possessed

the recordings.339 Wamble also admitted he did not know how CCA privatization worked.340

And he admitted that he never produced the calls during discovery to either Cox or Brannon,

Wood’s subsequent counsel.

        The facts ultimately demonstrated that (1) Wood’s calls to Cox had been recorded, with

at least 13 calls exceeding four minutes;341 (2) Wamble directly contacted CCA by email to



       335
             Doc. 670 at 895:5–23.
       336
             Ex. 571.
       337
             Ex. 570; Doc. 670 at 935:4–11.
       338
             Doc. 670 at 936:3–13.
       339
             Id. at 895:1–4.
       340
             Id. at 886:12–14.
       341
             Exs. 563, 573, 657.




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request Wood’s CCA calls, making no exception for attorney calls;342 and (3) Wamble did not

disclose his possession of the calls to either Cox or the FPD, but instead kept them for over three

years. After the FPD entered an appearance in March 2015, Wamble requested Wood’s calls

another four times, without making an exception for the FPD.343

       Wood was facing up to 78 months’ imprisonment, but after filing a motion to dismiss

based on Wamble’s procurement and possession of video and audio recording of attorney-client

communications, the Government agreed to reduce her sentence to time served, approximately

50 months.344

       United States v. Herrera-Zamora345

       Tomasic and AUSA David Zabel prosecuted Herrera-Zamora. Carlos Moran, an

attorney from Kentucky, represented Herrera-Zamora. After a contentious trial, Moran moved

on February 20, 2017, to discover whether the USAO had listened to his communications with

his client.346 Tomasic and Zabel were indignant, and pressured Moran into withdrawing his

motions.347 Moran described his reaction to later learning that the USAO had in fact obtained

and reviewed his communications:

                   I—I was pretty offended because I really believed that—when they
                   assured me that they wouldn’t. And, you know, to accuse another
                   member of the bar is not an easy thing or is not a very pleasant
                   thing to do. And then when I—when I learned that, in fact, they
                   did, I don’t know, it’s even worse.348



       342
             Exs. 607-15, 607-16.
       343
             Exs. 607-12, 607-17, 607-19, and 607-22; Doc. 670 at 885:1–23.
       344
             D. Kan. No. 14-20065-JAR-1, Docs. 222, 236, 237.
       345
             D. Kan. No. 14-cr-20049-CM-1.
       346
             Id., Doc. 135; see Ex. 576.
       347
             Ex. 580 at 2–3.
       348
             Doc. 672 at 1219:2–7.




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       Tomasic issued a subpoena requesting CCA to provide all detainee calls to Moran’s

specific phone number.349 Tomasic testified that Moran had advised the court that CCA

detainees whom he did not represent had been calling him, so she and Zabel were concerned that

Moran was speaking with detainees represented by other counsel. They obtained recordings of

all detainee calls to Moran, including calls from Herrera-Zamora to Moran, even though their

stated purpose in obtaining the calls did not justify their obtaining calls between Herrera-Zamora

and Moran.

       Before Tomasic subpoenaed the recordings of detainee calls to Moran, she sought advice

from Welch, who in turn sought advice from DOJ’s Professional Responsibility Advisory Office

(“PRAO”). Tomasic’s request for advice first assured Welch that her research had confirmed

that the detainees had waived their attorney-client privilege. The PRAO, which expressly does

not give advice, responded to Welch’s inquiry about Tomasic’s question, noting that if the

privilege was waived, as Tomasic represented her research conclusively established, then she

should employ a taint team to review the recordings.

       Tomasic asked Hunt to serve as a filter attorney, along with a Spanish-speaking DEA

agent, since the conversations between Herrera-Zamora and Moran were in Spanish.350 When

the DEA agent could not assist them, Tomasic, who speaks Spanish, decided to listen to the calls

herself but had difficulty understanding them. Sara Gardner, a contract interpreter, testified that

Tomasic asked her to listen to and translate the recordings.351 Gardner stated that Tomasic also

asked her to come to the USAO during trial to listen to and provide oral summaries of

conversations between Herrera-Zamora and Moran to learn defense strategy and so Tomasic and


       349
             Exs. 509, 537.
       350
             Ex. 581 at 1.
       351
             Ex. 546 at 1; Exs. 547, 554.




                                                97
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Zabel could impeach the defendant should he testify in his defense.352 Gardner was so alarmed

by this request that she informed AUSA Catania, who reported Gardner’s concerns to

Metzger.353

         On May 10, 2017, Tomasic informed Rask that she had listened to a call or calls between

Moran and his client.354 The USAO terminated Tomasic shortly thereafter. The USAO did not

bring Tomasic’s May 10, 2017 admission to the attention of the Court and parties in Black until

June 19, 2017, when it filed a Notion of Correction of Record.355 After Tomasic’s misconduct

came to light, the USAO agreed to recommend that the court vacate Herrera-Zamora’s 420-

month sentence and impose instead a sentence of time served.356

         United States v. Reulet357

         AUSA Tanya Treadway, who retired before the October 2018 hearing, was the USAO’s

Senior Litigation Counsel and served as a primary filter, or taint, attorney for the USAO.358 The

responsibility of the filter attorney position demanded adherence to the highest ethical

standards.359




         352
               Ex. 556.
         353
               Exs. 628, 670.
         354
               Ex. 585.
         355
            Doc. 276. Zabel denies any knowledge that Tomasic listened to Herrera-Zamora’s and Moran’s calls
before Tomasic’s admission on May 10, 2017. Zabel also claims he was unaware that Tomasic asked Gardner to
listen to and prepare oral summaries of the attorney-client conversations before trial. As lead counsel on the case, it
defies logic that Zabel did not know what Tomasic was up to, especially in light of Tomasic and Gardner’s contrary
testimony. The Court finds Zabel’s credibility lacking.
         356
               D. Kan. No. 14-20049-CM-1, Doc. 233.
         357
               D. Kan. 14-40005-DDC-3.
           358
               Doc. 669 at 602:14–15 and 646:15–18 ([Tomasic:] “before it came out that Tanya Treadway had been
listening to attorney calls, she met with me and everyone in the Black case because she was our filter attorney”);
Doc. 669 at 692:5–6; Doc. 675 at 2162:21–25 (Q: “Tanya Treadway, a senior litigation counsel, was often involved
in the filter—in filter teams in the District of Kansas; is that accurate? A. [Hunt:] Yes.”).
         359
               Doc. 669 at 2163:1–14.




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         Treadway prosecuted Reulet, who had attorney-client relationships with four attorneys

during the course of her prosecution: (1) Andino Reynal, her criminal defense attorney; (2)

Melanie Morgan, her second criminal defense attorney;360 (3) Mark Metzger, who represented

her in a pending DUI case in Texas; and (4) Richard Grimes, who represented her in a pending

child custody dispute between Reulet and her husband, who was a codefendant in the criminal

case in this district.

         Reulet appealed the magistrate judge’s decision to revoke her bond to District Judge

Daniel C. Crabtree, and appealed his decision affirming the magistrate judge to the Tenth Circuit

Court of Appeals.361 Issues pertaining to her pending DUI and her attempts to gain custody of

her child were raised in the litigation over the bond revocation.

         It is undisputed that Treadway listened to and took extensive notes of Reulet’s

conversations with Reynal, Metzger, and Grimes as they discussed the criminal case, the pending

bond revocation litigation, the DUI case, and the child custody case, all of which had

overlapping issues. Treadway’s notes of these conversations comprised 106 pages of a legal

pad.362 The notes include discussions about defense trial strategy, plea negotiations, risk-benefit

assessment of trial versus plea, and estimates of the sentence Reulet faced.

         Defense attorney Melanie Morgan testified in a compelling account of how Treadway

exploited the information she gained from these calls in negotiating a plea with Reulet.363

Morgan testified that Reulet was very motivated to gain custody of the child she shared with her



          360
              For some period of time, both Morgan and Reynal represented Reulet in her criminal case in this district.
At all times Reynal also represented Reulet in a pending civil forfeiture case in Texas that arose out the criminal
case.
         361
               United States v. Reulet, 658 F. App’x 910, 913 (10th Cir. 2016).
         362
               Ex. 592 (Bates stamped pages 592-001 through 592-107).
         363
               Doc. 652 at 146:22–148:25.




                                                            99
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co-defendant husband, and that Reulet was strongly opposed to her husband having custody of

the child. This is something Treadway learned from listening to Reulet’s conversations with

Grimes, who represented Reulet in the pending child custody proceeding. Morgan testified that

Treadway offered Reulet a binding plea agreement under Fed. R. Crim. P. 11(c)(1)(C), with the

assurance that if she was sentenced to the negotiated prison term, she would finish her sentence

before Reulet’s husband finished his sentence. Morgan testified that this plea offer was

attractive to Reulet, who wanted to ensure that she gained custody of her child before her

husband could. So Reulet and the USAO entered into the binding plea agreement proposed by

Treadway. Morgan further testified that perhaps as an act of retribution, after Reulet was

sentenced, Treadway struck a plea agreement with Reulet’s husband to a sentence of time-

served, thus allowing Reulet’s husband to seek custody of the child, as Reulet was still in

prison.364

         Treadway’s handwritten notes are conclusive evidence that she actually listened to

Reulet’s attorney-client calls. But Treadway lied about listening to the calls in a court

proceeding before Judge Daniel D. Crabtree.365 Answering defense counsel’s accusation that she

had listened to the calls, she emphatically denied doing so.366 Treadway’s misrepresentation was


         364
           Notably, although Reulet’s husband cooperated with the USAO, his only cooperation was to testify
against Reulet in her bond revocation hearing. Doc. 652 at 148:17–21.
         365
               D. Kan. 14-cr-40005-DDC-3.
         366
            Doc. 652 at 96:24–25–97:1–2 (“[Judge Crabtree] is asking me if I’ve listened to the calls between Ms.
Reulet and Mr. Grimes, and I said, ‘Except to identify them and identify who was present and that was it. Same
thing with Mr. Metzger.’”); Doc. 652 at 54:17–23 ([Morgan:] “The Court specifically asked her, ‘You’re telling me
as an officer of this court that you have not listened to the calls between Ms. Reulet and Mr. Grimes?’ And she
responded, ‘Except to identify them and identify who was present.’ And then [Judge Crabtree] asked the same thing
about her attorney, Mr. Metzger, and the response was the same.”); Doc. 652 at 63:18–25–64:1–6 (“Q. The degree
of content described in these calls, is that consistent with what Ms. Treadway represented to you and the Court about
how she had listened to the calls between Mr. Metzger, Mr. Grimes and Ms. Reulet? A. [Morgan:] Absolutely not.
Q. Were you ever told that someone had taken down this amount of content or listened to this amount of the calls
between Ms. Reulet and her attorneys? A. [Morgan:] No. The understanding that we had, which she said repeatedly
‘as an officer of the court’—I think ‘officer of the court’ was a term that was used multiple times in that hearing,
was that all she had done was listen to identify who the speaker was in that conversation.”).




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not discovered in the Reulet litigation; rather, it surfaced later during the Black investigation.

Days after Treadway’s testimony in Black, Judge Crabtree signed an agreed order vacating Ms.

Reulet’s sentence.367

                   5.      USAO’s Knowledge that CCA Audio Recordings Included Recordings
                           of Attorney-Client Phone Calls

       For years, prosecutors in the Kansas City division had received, or knew others had

received, attorney-client calls when they made a general request for all of a detainee’s calls from

CCA. The prosecutors’ exposure to attorney-client calls was neither infrequent nor uncommon.

The individual cases set forth above illustrate prosecutors’ knowledge that attorney-client calls

were available from CCA and instances where prosecutors listened to those calls. There was no

written policy in the USAO at the time that prevented or discouraged this practice.368

       There is also circumstantial evidence that prosecutors, both individually and collectively,

were aware or should have been aware that a general request for detainee calls at CCA might

well yield attorney-client calls. First, some of the Kansas City prosecutors repeatedly discussed

the issue of how to treat attorney-client calls obtained from CCA. Through these discussions,

they were aware that others had encountered such calls even if they personally had not. These

discussions were often prompted by Tomasic’s questions and concerns. Tomasic testified that

after she encountered the Birdsong attorney-client calls, she discussed the issue of how to handle

attorney-client phone calls with what she referred to as the “lunchroom group” in the Kansas

City USAO. She testified this group was comprised of five to eight prosecutors who would meet

in the lunchroom on occasion. Although she declined to specifically name members of the

group, Tomasic did not include Patton, Oakley, Krug, Wamble, or James Ward as members of


       367
             D. Kan. 14-cr-40005-DDC-3, Doc. 261.
       368
             Doc. 669 at 650:17–651:16.




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the lunchroom group. As detailed later in this opinion, Tomasic continued to raise her concerns

with the lunchroom group about attorney-client calls throughout her tenure at the USAO.

        The second type of circumstantial evidence is the sheer volume of jail calls the

prosecutors obtained over the years and the number of known attorney-client calls they received.

Procuring attorney-client calls happened with enough frequency that the USAO knew, or should

have known, that its practice resulted in possession of attorney-client communications.

        The FPD conducted an analysis of call data to identify CCA inmates whose attorney-

client calls were recorded, requested, accessed, or obtained by the Government. This analysis is

detailed in Exhibit 562, dated October 8, 2018. As AFPD Rich Federico testified, he was not

able to quantify these numbers but instead was only able to offer a sampling, for a variety of

reasons. First, despite Clymer’s proclamations that the Government was willing to resolve

pending Rule 41(g) motions by turning over audio recordings to the FPD, that did not begin until

January 2019. Federico did not have possession of the actual recordings at the time of the

hearing and could not do a quantitative analysis of the calls themselves. Instead, Federico

conducted a comprehensive and exhaustive review of Securus and CCA call data to identify

CCA detainees whose attorney-client telephone calls were recorded, requested, accessed, or

obtained by the USAO.369 The data he analyzed primarily derived from information acquired by

the Special Master, CCA (both directly and from the Special Master), Securus, court exhibits,

docket information, and the Bureau of Prisons.370 The analysis took several months and

hundreds of hours to complete. Federico reviewed information relating to over 1600 defendants.


        369
              Exs. 562, 562A.
        370
            See Ex. 562 at 4–11. The FPD’s primary methodology consisted of five steps: Step 1. Catalog all known
USAO requests to CCA to produce recorded detainee phone calls; Step 2. Narrow the Securus list of all CCA
detainees who had calls recorded and accessed; Step 3. Obtain Securus call access logs, which were produced on a
rolling basis of 40-50 names per “batch”; Step 4. Identify attorney-client phone calls that were accessed from the
Securus call access logs; and Step 5. Consolidate and analyze all call information. Id.




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         The data from Securus and CCA was incomplete. Harris, the forensic analyst for Digital

Strata, testified that based on his work to date as an expert retained in the related class action

lawsuit against Securus in the Western District of Missouri, it is clear that the Securus data

includes accessed calls not captured in the CCA data, and vice versa.371 Harris also testified that

the Special Master’s report on the number of recorded calls to attorney numbers is understated,

because Harris identified more known attorney numbers than the Special Master was able to

identify.372

         There were several limitations to Federico’s analysis that led to underreporting of the

USAO’s accessing of attorney-client communications. Because many of the USAO’s requests

were made orally—by phone calls to the USMS and/or CCA—and because the USAO failed to

preserve and produce electronic and paper records from its own repositories, it is certain that

Federico did not obtain all evidence or documentation of every USAO request for production of

a CCA detainee’s phone calls.373 Federico encountered an incomplete if not scant paper trail on

requests and fulfillments of requests for jail calls, which prevented any complete quantitative

analysis based on documentation of calls requested or received. Thus, Federico’s analysis was

limited to “known” requests.




         371
           See Ex. 561. For example, Harris testified that Securus data showed 18,759 recorded calls placed to 567
attorneys on the list of known attorney numbers compiled by the Special Master. CCA data shows that through June
2017, there were 197,757 recorded calls placed to 913 known attorney numbers compiled by the Special Master, of
which 398 numbers were in the CCA data only and 52 numbers were in the Securus data only. See Ex. 561 at ¶¶ 7–
9.
         372
             Harris testified that based on numbers identified in bar directories from the four-state area that CCA
services, rather than the Special Master’s compiled list of known attorney numbers from the same area, Harris
determined that based on CCA data, there were 38,243 calls to attorneys, of which 13,315 were calls to the 580
numbers not on the Special Master’s compiled list. See Ex. 561 at ¶¶ 11–12.
         373
           In fact, as of at least early 2019, the Government was still producing to the FPD hundreds of recorded
phone calls in response to production orders and for purposes of pending and potential § 2255 actions. See, e.g., Ex.
715B.




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         Second, Federico chose to limit his review to data for FPD clients in the District of

Kansas who were detained at CCA and still in custody at the time of his analysis in October

2018.374 The parameters of Federico’s analysis were thus confined to: (1) inmates previously in

custody at CCA; (2) charged with a federal criminal offense in the District of Kansas; (3) who

were still in custody; (4) whose recorded telephone calls were accessed on the Securus telephone

platform from January 1, 2010 through August 1, 2017; and (5) whose accessed calls contained

at least one attorney call.375 Federico used the call record data of CCA and Securus, which

identified calls accessed by the detainee PIN of the person placing the outgoing call, the phone

number of the person called, and the time, date, and duration of the call.376 Federico found that

there were 1,615 CCA detainees still in CCA custody whose calls were recorded and accessed

during the given time period, 723 of whom had cases pending in this district, 372 of whom

remained in custody on October 8, 2018, and 104 of whom had calls to their attorneys

accessed.377

         Despite the limitations in the data and analysis, Federico’s findings are significant. Every

time the USAO made a general request for all recorded calls, there was a 27.96% chance that the

calls would include attorney-client calls. This statistic—that prosecutors had a greater than one-

in-four chance of encountering attorney-client calls—is consistent with the USAO having

repeated discussions about attorney-client calls, albeit at the initiation of Tomasic. Moreover,

according to Federico’s analysis, if these numbers are extrapolated to all FPD clients during the

relevant time period, to include both those in custody and those no longer in custody, the USAO


         374
             The FPD chose to limit its analysis to detainees still in custody for purposes of prioritizing which
detainees’ § 2255 actions were the highest priority.
         375
               Ex. 562 at 1.
         376
               Id. at 1–4.
         377
               Id. at 1.




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accessed 1,429.21 attorney-client calls, of which 202.15 were FPD clients.378 Acquisition of

attorney-client calls was neither rare nor an anomaly.

        And the violations compound. Exhibits 600 through 609A prepared by the FPD are

critical on this point. Each is a partial compendium of known call requests by individual AUSA,

followed by a chart identifying known requests that resulted in collection of attorney-client

calls.379 Because this analysis of individual AUSAs is limited to known requests and District of

Kansas detainees still in custody in October 2018, the Court finds that the number of call

requests in the exhibits underrepresents instances of individual AUSAs accessing attorney-client

calls. Nonetheless, this partial analysis of incomplete data demonstrates that individual

prosecutors should have known they had obtained attorney-client calls and that a general request

for calls would yield attorney-client calls.

        For example, AUSA Morehead denied any awareness of attorney-client calls.380

Federico’s research revealed that between May 24, 2013 and September 27, 2016, Morehead

requested calls at least 33 times for 28 different defendants.381 In at least nine of those cases,

attorney-client calls were recorded.382 Yet Morehead never excluded any attorney numbers from

her requests.383 Likewise, AUSA Catania testified that she had never encountered any attorney-

client calls.384 Federico’s partial analysis showed that Catania received calls of 15 defendants



        378
            Id. Federico testified that as of August 2018 there were about 191,000 rows of Securus data that the FPD
was engaged in analyzing. Doc. 673 at 1511:23–1512:1.
        379
         See Exs. 600–608A (providing lists of call requests by Catania, Flannigan, Krug, Morehead, Oakley,
Rask, Tomasic, Wamble, and Zabel).
        380
              Doc. 674 at 2022:1–5.
        381
              Ex. 603.
        382
              Ex. 603A.
        383
              Doc. 674 at 2020:23–2021:1–25.
        384
              Doc. 673 at 1714:20–25.




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between the period of June 28, 2013 to July 17, 2015, including attorney-client calls in at least

six of those cases, without excluding any attorney numbers from her requests.385 And records

“voluntarily” produced by the USAO in January 2019 showed that Catania obtained 76 attorney-

client calls in the Phommaseng case.386

       In sum, the individual cases and the empirical data together support a finding that the

USAO prosecutors had both individual and collective knowledge that attorney-client calls were

available through a general request for detainee calls from CCA.

                    6.       DOJ Directives, Training, and USAO Management Advice

       A 2014 DOJ policy memorandum on “Electronic Surveillance Procedures within the

Federal Prison System” required that prosecutors obtain recorded phone calls of detainees only

by grand jury or trial subpoena, and with prior approval, “any such request must be in writing

and endorsed by a United States Attorney, or, in matters being handled by a Department

litigating section, the Section Chief.”387 This memo also cautioned that “[pr]isoner

communications with attorneys are not within the scope of this memorandum.”388 The memo

further refers to the earlier “Weld” memo, which provided that without prior judicial approval,

prison officials may monitor and use detainee telephone conversations except for calls between a

prisoner and his or her attorney.389 This memo put USAO prosecutors on notice that they could

obtain jail recordings under certain restrictions but could not obtain attorney-client recordings.

The client law enforcement agencies had similar proscriptions.390 There is no evidence that


       385
             Exs. 600, 600A.
       386
             Exs. 715B-020, 715B-032, 715B-035.
       387
             Ex. 1300.
       388
             Id. at 4 n.3.
       389
             Id.
       390
             See, e.g., Exs. 1134, 1135.




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prosecutors in the Black case obtained such prior approval before obtaining audio calls in

discovery.

       The DOJ’s PRAO office published a July 2008 Memo on “Filter Teams-Guidance on Use

of Filter Teams to Avoid Ethical Problems,” citing to a number of cases, and generally advising

that attorney-client privilege issues should be disclosed to defense and unless resolved, litigated

for a judicial determination.391 Notably, this memo stresses that filtering can be done by a filter

team, Special Master, or magistrate judge, and that the prosecution should seek court approval of

the filter procedures. There is no evidence in this case that the USAO sought court approval of

any filter procedures.

       USAO management consistently advised that prosecutors must disclose to the defense

that they had possession of attorney-client calls. Barnett testified that she considers calls

privileged until there is a judicial determination otherwise. Welch and Barnett testified that the

proper steps were to set up a filter team, then notify the defense if any attorney-client calls were

found; if the privilege issue could not be resolved between prosecution and defense, the matter

should then be submitted to the court for a judicial determination.392 Welch testified that as the

USAO PRO, prosecutors could have consulted with him about how to proceed on this type of

professional responsibility issue, but confirmed that there was no written policy in place at the

USAO at that time for how to proceed when a prosecutor encountered an attorney-client call.393

                   7.       USAO Internal Deliberation and Guidance on Audio Calls

       Without factual support or accurate legal analysis, and contrary to DOJ directives,

training, and USAO management advice, the Kansas City prosecutors, as well as Treadway,


       391
             Ex. 677 (under seal).
       392
             Doc. 672 at 1251:8–1253:4; Doc. 677 at 2196:11–2197:3.
       393
             Doc. 672 at 1236:12–1237:4.




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unilaterally determined that recorded attorney-client calls were available for review, without

approval from the court or notice to the defense. The prosecutors’ unilateral determination that

the preamble constitutes a waiver if the attorney decides to engage in conversation thereafter,

coupled with their lack of research and investigation about the CCA phone system, led to their

exploitation of vulnerabilities stemming from CCA’s flawed system of recording practices. The

USAO’s surreptitious practice of collecting and saving, but not disclosing, attorney-client calls

allowed the practice to perpetuate for years. It was only when the inexperienced and

unsupervised Tomasic disseminated a voluminous batch of phone calls in discovery in the Black

case that the USAO’s practices come to light.

                          a.       Failure to Investigate

        Despite knowing they were getting attorney-client calls when they obtained all audio

recordings of detainees housed at CCA, none of the Kansas City prosecutors knew how or under

what circumstances CCA recorded calls that detainees placed to attorneys. Without exception,

the Kansas City prosecutors testified that before the issue arose in the Black case, they had no

confirmed knowledge of how the system worked.394 They thought that CCA had a process to

block calls to attorneys, but they did not know what that process was. They did not know how a

detainee or attorney would request or receive privatization of their calls. They did not know

whether detainees received notice that they needed to request privatization, and they did not

know that CCA would not accept such requests from the detainees, but only from their attorneys.

They did not know that CCA affirmatively represented to the public that attorney-client calls




        394
          AUSAs Hunt, Zabel, Tomasic, Oakley, and Flannigan all testified that they did not know how the system
worked, how privatization worked, or whether defendants or attorneys knew about privatization, and if so, how they
knew.




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were treated as confidential.395 They did not know that CCA did not inform attorneys that they

must request privatization, nor what CCA’s process for requests entailed. They did not know

that many experienced defense counsel in the District of Kansas were utterly unaware that they

must request privatization.396 They did not know whether CCA’s system worked to privatize

calls after a request was made.397 They did not know that there was a delay in privatization after

a request; and that despite privatization requests, some calls were never privatized.398 They were

not certain what the preamble said, in English or Spanish, nor whether it was consistently the

same preamble.399 They did not know whether the preamble played on every call. They did not

know whether the preamble was played on calls that were privatized or when there had been an

attempt to privatize. They did not know the advice defense attorneys were giving their clients

concerning the legal effect of the preamble.

         In fact, only after these issues arose in the Black case did the USAO consider

investigating the facts. When Barnett appeared at the August 9 and August 16, 2016 hearings,

she could not answer the Court’s questions about how CCA recorded attorney-client calls. On

August 17, 2016, Flannigan emailed Barnett, Metzger, Beall, Rask, Tomasic, and Oakley

advising that they should contact CCA to find out how attorney calls are blocked.400 Before

then, none of them knew or tried to determine any of the salient facts. Indeed, the Special




         395
               Doc. 672 at 1182:24–25–1183:1–3.
         396
               Ex. 459.
         397
               See, e.g., Doc. 669 at 631:11–14.
         398
               See, e.g., Doc. 672 at 1187:4–23.
         399
           For example, AUSA Zabel testified “[i]t says this call is being recorded.” Id. at 1197:5–10. In fact, the
English preamble states “this call is subject to recording and monitoring.” Doc. 214 at 19–20.
         400
               Ex. 1020.




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Master determined the answers to these questions in Phase II of the investigation, speaking with

CCA and Securus employees, and obtaining certain records.401

                              b.      Unilateral Determination on Waiver

       Nor did the USAO research the law about waiver. Several prosecutors admitted in their

testimony that the issue of whether the attorney-client privilege has been waived is dependent on

salient facts. Zabel testified that these facts matter in the application of the privilege and that he

had no knowledge of the facts about the CCA recording practices discussed above.402 Hunt

testified that whether the privilege was been waived depends, as “[f]acts mean everything.”403

Wamble described it as an individual determination.404 Morehead testified that the waiver must

be knowing and intelligent, which is a factual determination.405 Yet the Kansas City prosecutors,

as well as Treadway in Topeka, took the position before and during the Black litigation that their

view of the law was that all CCA detainees waived their attorney-client privilege when they

placed calls to attorneys over the CCA phones because there is a preamble played on the calls

and signage around the phones that says calls are subject to monitoring. But the prosecutors who

testified were emphatic that they did not actually listen to these non-privileged calls. Indeed, at

the October 2018 evidentiary hearing, virtually all of the prosecutors similarly testified that even

though the calls were not privileged, they did not listen, repeating to the effect, “just because you

can doesn’t mean you should.”406




       401
             See Doc. 214 .
       402
             Doc. 672 at 1180:24–1188:12.
       403
             Doc. 675 at 2166:13–17.
       404
             Doc. 670 at 905:11–20.
       405
             Doc. 674 at 2032:18–2033:8.
       406
             See, e.g., Doc. 673 at 1651:8–11; Doc. 675 at 2157:9–16; Doc. 677 at 2270:1–3.




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       There were a few exceptions. Patton, the longest-serving prosecutor in the Kansas City

office, testified that attorney-client calls are generally privileged, and that prosecutors may not

listen to them, including calls placed from CCA.407 Krug likewise testified that when an agent

encountered a call in one of his cases, Krug understood that he should contact his supervisor and

PRAO because “I have ethical obligations.”408 And Welch advised Tomasic in the Rapp case

that

                   it would make me nervous to try to exploit these calls unless I’m
                   convinced there’s a waiver. One way to make sure is to notify
                   defense counsel and the Court that you have these calls, have not
                   listened to them, but you think you could given Hatcher and ask
                   the Court for a ruling. That gets the issue out of the way before
                   trial and will give you a firm answer.409

       But Tomasic testified that in her discussions with the Kansas City prosecutors, in

particular with the lunchroom group, the consensus was that the privilege was waived. Tomasic

testified that whenever she shared with the lunchroom group the advice she received from

Warner, Metzger, Welch, and the PRAO, the group roundly dismissed the advice as wrong,

telling her that calls placed by detainees at CCA to their attorneys were not privileged because

they were on notice that the call was recorded because of the recorded preamble. Tomasic

testified that in 2016, she discussed the calls in the Huff case with Oakley and Flannigan, who

advised her that the calls were not privileged. Tomasic further testified that Oakley told her

about his experience with attorney-client calls in Forbes, and she understood from that

discussion that such calls were “fair game.”410




       407
             Doc. 674 at 1869:14–17, 1870:1–11.
       408
             Doc. 675 at 2111:1–5.
       409
             Ex. 33; Doc. 672 at 1259:5–12.
       410
             Doc. 670 at 789:14–790:3.




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        Moreover, the Kansas City prosecutors repeatedly broadcasted to one another that

caselaw supported their position. The USAO was an echo chamber of sorts on the matter,

perpetuating the notion that they were on firm legal ground. Yet none of the AUSAs had ever

litigated this issue in the District of Kansas or the Tenth Circuit; and none of them was aware of

any District of Kansas or Tenth Circuit case supporting their position that CCA detainees had

waived their attorney-client privilege for calls.411 Zabel testified that the case law supported

their position, but he could not point to any specific cases.412 Flannigan testified that the Hatcher

case in the Eighth Circuit supported their position, but she did not know what position the USAO

had taken in that case.413 Hunt testified that a Tenth Circuit case supported this position, but he

could not name the case; he also referenced the Hatcher case in the Eighth Circuit, a First Circuit

case, and a case in the Western District of Missouri.414 Oakley testified that the case law was

“overwhelming,”415 though in 2012 he advised agents in the Forbes case that any conversation

between an attorney and client is subject to privilege, even if the person is not represented by the

attorney at that time.416 And at a hearing in Reulet in December 2016, Treadway argued to Judge

Crabtree that the law is clear that these jail calls are not privileged because of the preamble.417

        Thus, the Kansas City prosecutors operated under the theory that “the law is clear that

CCA’s preamble warning the call was being recorded made the call non-privileged[.]”418 Once


        411
           See, e.g., Doc. 672 at 1189: 25–1190:3 (Zabel’s testimony that he was unaware of any District of Kansas
or Tenth Circuit decision on the issue).
        412
              Doc. 672 at 1188:24–1189:5.
        413
              Doc. 677 at 2226:21–2227:16.
        414
              Doc. 675 at 2167:1–17.
        415
              Doc. 674 at 1940:4–12.
        416
              Ex. 40.
        417
              Ex. 592H at 17:2–22.
         418
             Doc. 672 at 1177:8–11; Doc. 675 at 2156:18–2157:23 (acknowledging that opinion that calls were not
privileged was widely shared in the USAO); Ex. 650.




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the Black investigation turned adversarial, both USAO management and rank alike took this

litigation posture, consistent with the position previously taken by most Kansas City prosecutors

before, that the attorney-client privilege is waived.419 As discussed infra in Section VI.B.2.a.ii,

however, this unilateral determination that the recorded calls were conditioned on a knowing

waiver of attorney-client confidentiality was made without factual support or accurate legal

analysis.

                            c.       Failure to Disclose to the Defense

       Prosecutors who made the unilateral determination that all CCA detainees waived their

attorney-client privilege intentionally avoided any judicial determination of this issue by not

disclosing to defendants that they had obtained their attorney-client calls. Numerous defense

counsel stated that they had never received an attorney-client call in discovery.420

       Historically, the AUSAs did not disclose that they had any jail calls, including non-

attorney-client calls. After Tomasic returned from the DOJ National Advocacy Center (“NAC”)

in early 2017, she told the lunchroom group that she had learned that jail calls must be turned

over to defendants in discovery, pursuant to Fed. R. Crim. P. 16.421 Tomasic testified that at

NAC “it was discussed at length that inmate calls are property of the government because we

contract with the jails or we directly supervise them and, therefore, they’re Rule 16 statements of




       419
             Ex. 1053; Doc. 133 at 29–31.
       420
             See, e.g., Ex. 459, Jenab, Calbi, Dodge, Vermillion, Rokusek, Johnson, and Joseph Affs.
       421
             Doc. 669 at 601:1–19. Rule 16(b) requires that
       Upon a defendant’s request, the government must disclose to the defendant . . .
       (i) any relevant written or recorded statement by the defendant if:
                           the statement is within the government’s possession, custody, or control; and
                           the attorney for the government knows—or through due diligence could know—that the
                            statement exists.




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the defendant and must be turned over.”422 Tomasic testified that Zabel, Rask, and others in the

lunchroom group rejected this position, and that Rask dismissed the DOJ trainer as not being

knowledgeable on this subject.

         Barnett testified that the Kansas City office engaged in the narrowest reading of Rule 16

possible. Flannigan testified that while Rule 16 requires disclosure of any recorded statement of

a defendant upon the defendant’s request, she disclaimed knowledge of whether the District of

Kansas’s standard pretrial order states that the defendant has been deemed to have requested his

or her recorded statements. The Court takes judicial notice that the pretrial order does require

that.423 The Court further finds that by taking the position that they need not disclose detainee

phone calls in the regular course of Rule 16 discovery, the USAO’s acquisition and access to

attorney-client calls was easier to hide.424

         Even if they disclosed that they had CCA calls, most prosecutors did not disclose that

they had attorney-client calls, ensuring that there would be no judicial determination on the issue

in any given case. There were exceptions; but in those rare instances when a prosecutor

disclosed that they had an attorney-client call, the evidence shows that the prosecutor described it

as inadvertent, or in some way conveyed that their possession of an attorney-client call was rare

or exceptional, in a manner designed to alleviate defense concerns.425




         422
          Doc. 669 at 465:16–20; see Tr. Aug. 9, 2016 Hr’g, Doc. 104 at 55:17–22 (CCA employee Michelle
Jensen-Schubert testifying that because CCA contracts with the USMS, the recordings are USMS property).
         423
            Pretrial and Criminal Case Management Order, http://www.ksd.uscourts.gov/index-
php/forms/?open=CriminalForms. This is the same pretrial order that Barnett and Tomasic acknowledged was
roundly criticized by some prosecutors in the Kansas City office. Barnett testified that those prosecutors were
extremely resistant to the pretrial order’s encouragement of early disclosure and discovery.
         424
            The Court need not determine at this time whether the Government violated Rule 16 by failing to
disclose detainee phone calls.
         425
               See Ex. 10.




                                                        114
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        But the USAO’s regular practice was to not disclose to defense counsel that they had

acquired and/or accessed attorney-client calls. Tomasic testified that Oakley advised her that he

had heard an attorney-client call but did not disclose because of “litigation risk” and “hassle.”426

Tomasic further testified that the lunchroom group repeatedly said that if defense attorneys were

“stupid enough” to talk to their clients over the phone, they had no obligation to tell them that

their calls were recorded.427 This is consistent with Warner’s testimony that the culture in the

Kansas City office was to treat the defense bar as the enemy,428 and Barnett’s testimony that as

Criminal Chief, she repeatedly received complaints from the defense bar about abusive treatment

by the Kansas City prosecutors.429 This practice also failed to follow the advice of the DOJ’s

PRAO as well as advice from USAO management.430

        The prosecutors’ position was that if they did not “use” the attorney-client calls—

meaning use as evidence at trial—they were under no obligation to disclose the calls to the

defendant, even if they or their agents heard the calls.431 Prosecutors unilaterally determined that

they had not “used” the calls; they did not disclose their possession of the calls to the defendant

so that defendant could evaluate the content of the calls and/or seek a judicial determination of

prejudice. One only need read Treadway’s copious handwritten notes of the attorney-client

phone calls in Reulet to see that a prosecutor gleans information from the content of attorney-




        426
              Doc. 669 at 471:13–20.
        427
              Id. at 470:16–25.
        428
              Doc. 652 at 20:23–21:3.
        429
              Doc. 677 at 2341:19–2342:10, 2383:2–2384:1.
        430
              Ex. 677 (under seal).
        431
            See Doc. 182 at 12–13 (discussing the USAO’s argument that since they were not going to “use” the
video recordings as evidence at trial, there was no need to review the video to determine if their content was
attorney-client protected communications).




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client calls that has utility to the prosecutor, whether or not the calls are going to be evidence at

trial.

         And that is certainly the pitch Zabel made in his email to Rask and others on March 6,

2017, arguing that they did not need to disclose the defendant’s calls to Moran in Herrera-

Zamora because they had not used the calls to prove guilt or for sentencing purposes, the calls

were not relevant as inculpatory or exculpatory evidence, and the calls were not discoverable

under Rule 16 unless the defendant requested them.432 Zabel strived hard not to disclose in

Herrera-Zamora, despite the pendency of Black and being on clear notice that detainees and

attorneys lacked knowledge of the recordings. Zabel’s reluctance to disclose is consistent with

Tomasic’s testimony that on several occasions in Herrera-Zamora, Zabel told her they did not

have to disclose calls if they were not going to use them, and that Zabel rejected her suggestion

that they follow the advice she received in national training that the recordings must be disclosed

under Rule 16.433 Tomasic further testified that Zabel told her not to tell Rask, who by then was

the Kansas City Criminal Coordinator, that Zabel had told Tomasic not to disclose or that she

had Gardner listen to calls.434 Zabel denied Tomasic’s allegations.435

         In fact, this narrow definition of “use” governed prosecutors’ disclosure of other types of

discovery, including Brady and Giglio materials.436 Tomasic testified that the lunchroom group

took the position that while they must disclose Brady and Giglio information, they did not



         432
               Ex. 494.
         433
               Doc. 669 at 600:5–601:25.
         434
               Doc. 270 (under seal).
         435
               Doc. 672 at 1178:22–1179:17; see Doc. 670 at 791:1–24.
         436
            Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972) govern the
Government’s discovery disclosure obligations under the Due Process Clause regarding exculpatory evidence,
including evidence relevant to impeachment. See, e.g., United States v. Gonzalez-Montoya, 534 F.3d 643, 649 (10th
Cir. 1998).




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believe in disclosing this information early, or even before negotiating plea agreements. Barnett

and Tomasic testified that this group of prosecutors was vehemently opposed to the Court’s new

pretrial order, which established a general rule of early disclosure of this and other types of

discovery. Warner testified that during his tenure, some of the Kansas City prosecutors engaged

in heavy-handed, unfair prosecutorial practices, including discovery practices such as late

disclosure of Brady and Giglio information and evidence relevant to sentencing issues,437 and

were “extremely oppositional” to management’s attempts to adopt standard discovery policies in

Kansas City that were consistent with how discovery was handled in the Topeka and Wichita

offices.438 Warner identified Morehead, Rask, Catania, Flannigan, and Zabel as most resistant to

management’s attempts to adopt policies addressing abusive prosecutorial practices in discovery,

retaliatory use of § 851 sentencing enhancements, abusive charging practices in drug cases, and

“bait and switch” § 5K1.1 agreements, all of which Warner testified “reeked of ambush

prosecution.”439 Barnett echoed how resistant some Kansas City prosecutors were to

management’s efforts to bring the Kansas City office’s practices into conformity with the other

two offices.




         437
             See United States v. Orozco, 916 F.3d 919, 924–26 (10th Cir. 2019) (affirming finding of violation of
Sixth Amendment right to present a defense but remanding for reconsideration to tailor remedy imposed). The
Court takes judicial notice that in the underlying proceedings, the Court found that Morehead had turned over Brady
information shortly before trial and steadfastly refused to admit that it was Brady information, arguing that she did
not know what the defense was so she could not ascertain whether the evidence was potentially exculpatory. See
United States v. Orozco, D. Kan. No. 15-20074-JAR, Doc. 121 at 2–3.
         438
            Warner testified that it was widely known that these problems resided in the Kansas City office, and he
referenced Judge John Lungstrum remarking during a sentencing hearing in a Topeka case that the prosecution
practices in the Kansas City office were markedly different. Doc. 652 at 10:12–20.
         439
               Id. at 18:1–10.




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                             d.    No Reasonable Measures to Exclude or Filter Attorney-Client
                                   Calls

        Federico’s data demonstrates that individual AUSAs repeatedly requested phone calls

without taking any precautions to avoid attorney-client calls. This was true even when

individual AUSAs who had obtained attorney-client recordings in one case would subsequently

request recordings in other cases.440 And this was true even when the AUSA collected attorney-

client calls in a case and subsequently requested more calls in that same case, thus knowing that

attorney-client calls had been captured once before.441

        There are several precautionary measures the USAO could have taken to avoid obtaining

or accessing attorney-client calls, including asking CCA if phone numbers for a particular

attorney had been privatized, reviewing Securus Call Detail Reports to identify attorney numbers

before reviewing calls, or notifying defense counsel and the Court if they discovered those calls.

Several prosecutors made efforts to exclude known attorney numbers, which is evidence that

they knew that a request for calls could yield attorney-client calls. After the Black case

commenced, Jared Maag, a prosecutor in the Topeka office, asked CCA in writing to exclude

from a call request calls to two attorney phone numbers.442 Treadway did the same in the Reulet

case, asking specifically that certain numbers assigned to defense counsel Morgan be

excluded.443 And Wamble, upon receiving recordings in Wood that included her calls to attorney




        440
            Despite the language on the USMS request form that a request for calls excluded attorney-client calls,
prosecutors should have known from these repeated requests that CCA did not exclude such calls from production.
Sometimes USMS emails also included language that attempted to exclude attorney-client calls from the request.
See e.g,. Ex. 715B-048 (USMS Troy Schuster email to CCA, ending with “AS ALWAYS EXCLUDING ANY
PRISONER ATTORNEY CALLS”).
        441
              See Exs. 606, 607.
        442
              Ex. 720.
         443
             Ex. 721. Of course, Treadway did not exclude the numbers of Reulet’s other three attorneys, and she
extensively listened to those many attorney-client calls.




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Cox, sent an email to the USMS, specifically asking that CCA send him recordings that excluded

calls to Cox. Other than these exceptions, there is no real dispute the Kansas City prosecutors

took no steps to exclude calls by providing the attorneys’ number(s) to the USMS or CCA.

         Another precautionary measure available to the USAO was the use of a taint team.444 As

noted, the DOJ had issued specific guidelines on the use of taint teams. USAO management was

aware that they could utilize taint attorneys or taint teams to review privileged materials. USAO

managers and Hunt testified that the selected taint attorney must be someone who adheres to

ethical requirements and acts with integrity.445 They designated Treadway to serve as taint

attorney in the Black case.

         Further, despite Rask’s protestations to Barnett in August 2016 that prosecutors should be

able to proceed with reviewing audio recordings because they had a taint team in place, there is

no evidence that the USAO routinely used taint teams for CCA recordings or sought court

approval of any filter procedures.446 In Herrera-Zamora, Tomasic proceeded to listen to some of

Moran’s calls herself despite the designation of Hunt to serve as taint attorney in that case.447

And in the Black case, Tomasic clearly understood the importance of assembling a taint team to

review materials seized from detainees’ cells during execution of the search warrant, as well as

to review law library computers that detainees could access to draft letters to their attorneys. But

she took no steps to have a taint team review the audio recordings, even though she knew from

past experience that these thousands of recordings likely would include attorney-client calls.




         444
             The Court acknowledges the FPD’s position that the use of taint teams or taint attorneys is not a legally
sufficient way to treat potentially privileged materials and does not rule on that issue at this time.
         445
               See Ex. 1204.
         446
               Ex. 1054.
         447
               Ex. 583.




                                                         119
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       Notably, Beall issued a comprehensive policy in May 2017 that is largely curative of

many of the issues that came to light in the Black case.448 The USAO procedure includes a

requirement that prosecutors make their requests for CCA calls in writing on request forms and

provides for a filter team procedure. On May 26, 2017, Beall emailed to everyone in the USAO

the “Revised Procedure for Requesting and Using Recorded Detainee Phone Calls.” 449 The

cover email states that this policy should be implemented immediately and that the policy is

consistent with the DOJ’s 2014 Memorandum regarding Electronic Surveillance Procedures

within the Federal Prison System. Beall testified that this revised procedure was mandatory. Yet

in their testimony during the October 2018 hearing, both Flannigan and Oakley testified that they

knew of no policy on attorney-client calls.

                            e.        Internal Dysfunction

       The record illustrates how deeply the Kansas City prosecutors distrusted current and past

management, to the point of insubordination. Warner described the Kansas City division as

essentially an “inmates-run-the-jail” type office.450 There was also evidence that some

prosecutors blamed or finger-pointed at others. Tomasic testified that it was a “Lord of the

Flies” environment, with prosecutors recording their conversations with others from the office

and keeping files and notes at home. Catania, for example, recorded her side of the conversation

when she called Metzger to report Gardner’s statements that Zabel and Tomasic wanted her to

give oral summaries of attorney-client calls during the Herrera-Zamora trial.

       While this internal dysfunction is largely irrelevant to the matters before this Court, the

Court notes these findings for several reasons. First, to the extent that prosecutors have


       448
             Ex. 1181 (under seal).
       449
             Exs. 695 and 1198 (attachment admitted under seal).
       450
             Doc. 652 at 25:15–20.




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contradicted one another in their accounts of certain events, the Court has endeavored to look to

other corroborating evidence before finding one account true and the other not true.

       Second, the USAO argued that Tomasic was a lone rogue prosecutor. The USAO’s

strategy necessarily changed to a theme of two rogue prosecutors during the October 2018

hearing after the FPD admitted Treadway’s handwritten notes into evidence. But the Court does

not discredit all of Tomasic’s testimony as the Government urges. In fact, as detailed throughout

these findings of fact, the Court credits most of Tomasic’s testimony because it is corroborated

by other credible evidence, including emails, documents, and the testimony of Warner, Barnett,

and others that the Court finds to be credible on the particular facts in issue. Notably, Warner

testified that early in Tomasic’s tenure, she was earnest and endeavored to do the right thing,

seeking his advice on attorney-client calls and other issues. Over time, however, Warner

perceived that she succumbed to the peer pressure of the AUSAs in the Kansas City Division

whom he believed to be bad influences. Indeed, Warner and Tomasic testified that Warner

specifically directed Tomasic not to seek advice or counsel from Catania, Morehead, Rask, or

Flannigan, whom Warner believed engaged in heavy-handed prosecutorial practices. But,

Warner testified, in time Tomasic started aligning herself with some of those prosecutors and

“we lost her.”451

       Third, this evidence of dysfunction and strife illustrates that USAO management, or at

least Beall, Metzger, Barnett, and Warner, repeatedly sought to address discovery abuses and

other abusive prosecutorial practices. This dysfunction resulted in Kansas City prosecutors

either (1) failing to disclose to management that they had recordings of attorney-client

communications, or (2) in most cases where they did disclose to management, failing to follow


       451
             Id. at 25:1–11.




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management’s advice not to listen to calls, engage a taint team, to inform the defense, or inform

the Court if there were issues to litigate.

         Finally, this evidence is relevant to findings the Court previously made about USAO

management’s failures to preserve evidence, as well as USAO management and then Clymer’s

failures to search and produce documents identified through the Special Master’s search terms.

Management was well aware that there was a serious problem in the Kansas City office, yet

management decided to delay and obstruct the Special Master’s investigation and ultimately the

Court’s efforts to have the parties proceed with discovery and an evidentiary hearing on the Sixth

Amendment issues. Management refused to search and produce any repositories other than those

of Tomasic and Treadway. Management knew it had a problem with at least some of the

prosecutors in the Kansas City office, yet delayed search and production of any active AUSA’s

repositories until Clymer took over. Then, under his direction, management defied the Court’s

orders and directives, continued to fail to preserve such that years of documents were potentially

lost, and then only produced what they chose to produce.

                  8.       Retention of Attorney-Client Recordings

         Both the FPD and individual defendants filed Rule 41(g) motions in this case and

numerous other pending criminal cases in this district, seeking return of both video and audio

recordings. The individual defendants’ motions were either denied without prejudice or

terminated after the respective defendant was sentenced. The Government has only recently

confirmed that dating back to 2011, the USAO kept recorded calls from CCA, including

attorney-client calls, during the duration of the case rather than returning or destroying them.452



         452
           See Doc. 711 (FPD’s Motion to Admit Exhibit (Ex. 715)) (the Government’s written inventory of CCA
phone calls and derivative evidence from thirty-two individual cases in its possession and surrendered to the Court
on January 7 and 11, 2019).




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By January 2019, the USAO was still in possession of recordings of attorney-client phone calls.

To date, the USAO has turned over recordings for over 100 defendants to the Court and FPD,

and production is ongoing.453

V.      Conclusions of Law: Cooperation

        The FPD’s Motion to Show Cause, as supplemented, asks the Court to require the

Government to show cause why it should not be held in contempt for failing to cooperate with

the Special Master’s investigation based on the following conduct: (1) spoliation of evidence; (2)

defiance of Court orders, including orders directing the USAO to preserve evidence; (3) delay in

providing statements by key USAO employees to the Special Master; (3) failure to act with

candor and transparency with the Court and the Special Master; (4) recalcitrance in failing to

timely correct the record in Black with the information about Tomasic’s conduct in United States

v. Herrera-Zamora; and (5) changing course in September 2017 when Clymer was appointed in

this matter, by asserting that privilege justified the Government withholding information it had

previously agreed to provide to the Special Master. The FPD also seeks fees and costs as a

sanction for contempt, and for unreasonably and vexatiously multiplying the proceedings under

28 U.S.C. § 1927.454

        The Government maintains: (1) neither the spoliation doctrine nor Fed. R. Civ. P. 37

apply here because this is a criminal case; (2) there is no legal duty requiring it to justify the

documents it withheld from production during the investigation, or in advance of the hearing,



        453
          See Ex. 715; Doc. 726. See Section III.B.4 supra for a discussion of the Government’s 2019 production
of CCA telephone recordings.
        454
            On October 26, 2018, after the October evidentiary hearing, the FPD supplemented its Motion for Order
to Show Cause, asking the Court to consider five additional grounds for sanctions based on facts that developed
since the time of its original filing. See Doc. 668. The Court confines its analysis to the general allegations for
which the Government was on notice to show cause at the October hearing: preservation, spoliation, and failure to
produce documents and witnesses.




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because it had no duty to produce documents in the first place; (3) the USAO had no obligation

to impose a litigation hold or otherwise preserve documents not subject to the Court’s clawback

orders prior to August 2018; (4) mere negligence is insufficient to demonstrate spoliation; and

(5) the USAO did not violate any of the Court’s discovery orders nor otherwise fail to cooperate

in the Special Master’s investigation. The Court first addresses why civil standards apply to the

imposition of sanctions associated with the Government’s conduct during the Special Master’s

investigation. Next, the Court addresses the issue of spoliation of the AVPC and information

subject to preservation directives. Then, the Court addresses grounds for non-spoliation

sanctions.

       A.      Civil Standards

       The Court finds that the investigation into wide-ranging Sixth Amendment violations

within this criminal case was civil in nature, and thus civil discovery standards guide the remedy

for the Government’s failure to cooperate with discovery and abide by court orders during the

course of the investigation. The triggering event for the August and September 2016 hearings

regarding the Government’s possession of attorney-client recorded communications was the

FPD’s Motion for Return of Property under Fed. R. Crim. P. 41(g), filed on August 5, 2016. The

FPD filed an amended motion on August 7, 2016, after learning that phone calls between

detainees and their attorneys were being recorded. The FPD did not and does not represent the

Defendants named in the Black Indictment; it filed these motions as an intervening party on

behalf of its many clients whose calls and meetings with their attorneys were potentially

recorded and/or possibly produced to Defendants named in the Black investigation. And under

the Court’s Standing Order 18-3, the FPD is appointed to represent all petitioners alleging Sixth




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Amendment violations based on evidence uncovered during this investigation under 28 U.S.C. §

2255.455

        The Court appointed the Special Master to investigate the Sixth Amendment allegations

made in the FPD’s Rule 41(g) motions. The Tenth Circuit has held that for purposes of Fed. R.

App. P. 4, a motion brought under Fed. R. Crim. P. 41(g) is civil in nature, triggering the notice

of appeal filing period for civil cases.456 It is the “essential nature of the action, not the

underlying proceeding it arose from, that determines whether it is civil or criminal.”457 The

Tenth Circuit held that Rule 41(g) motions are civil in nature because they “represent a means by

which a criminal defendant can determine her rights in property, and not a part of the trial and

punishment process that is criminal law.”458 Here, the Rule 41(g) motions were filed by

intervening parties on behalf of detainees whose property was swept up by the Government

during its investigation in Black. It is collateral to the underlying criminal case.

        Moreover, the Court appointed the Special Master under Fed. R. Civ. P. 53 and its

inherent authority. Rule 53(a)(1)(A) states that the court may appoint a Special Master to

“perform duties consented to by the parties.” In addition, under Rule 53(a)(1)(C), the court may

appoint a Special Master to “address pretrial and posttrial matters that cannot be effectively and

timely addressed by an available district judge or magistrate judge of the district.” Phase I of the

Special Master’s investigation was consented to by the parties and involved a feasibility analysis.

Phase II involved pretrial matters—the scope of potential attorney-client recordings captured

during the Black investigation—that could not be effectively addressed by the undersigned in


        455
            Standing Order 18-3 (July 17, 2018), http:/www.ksd.uscourts.gov/wp-content /uploads /2018/07/
Standing-Order-18-3-Appointing-FPD.pdf.
        456
              In re Special Grand Jury 89-2, 450 F.3d 1159, 1169 (10th Cir. 2006)
        457
              Id. at 1167 (citing United States v. Holland, 214 F.3d 523, 526 (4th Cir. 2000)).
        458
              Id. (quoting United States v. Madden, 95 F.3d 38, 39 n.1 (10th Cir. 1996)).




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individual cases. It is not uncommon for special masters to be employed by federal district

courts in criminal cases under this rule to help determine privilege issues during discovery where

the likelihood is high that the discovery contains communications protected by the Sixth

Amendment.459

         Before the Court appointed the Special Master, the Court and parties recognized the

potential scope of Sixth Amendment violations at stake based on the allegations made in the

Rule 41(g) motions and the evidence presented at those early hearings.460 At that point, dozens

of defendants in other cases had also filed motions for return of property on the basis that they

were detained at CCA during the period that the Government obtained video recordings as part

of the Black investigation, or because they had reason to believe phone calls between themselves

and their attorneys had been recorded. The Government was on notice that these issues would be

raised in the context of 28 U.S.C. § 2255 litigation well before May 2018, when the parties

announced their intention to negotiate a resolution in this matter that would include both

prospective relief and “some possible additional retrospective relief.”461 Indeed, the basis for the

DOJ’s decision not to support the parties’ settlement proposal was its position that each motion

under § 2255 must be evaluated separately. As of this date, the FPD has filed 110 § 2255




         459
            See, e.g., In re Grand Jury Subpoenas, 454 F.3d 511, 524 (6th Cir. 2006) (reversing district court’s
decision to employ government taint team to conduct a privilege review of documents seized pursuant to a grand
jury subpoena; mandating district court utilize a special master to perform an initial segregation of documents);
United States v. Abbell, 914 F. Supp. 519, 520–21 (S.D. Fla. 1995) (appointing special master to review materials
seized during execution of search warrants at law offices); United States v. Gallego, No. CR-18-01537-001-TUC-
RM (BPV), 2018 WL 4257967, at *3 (D. Ariz. Sept. 6, 2018) (same; explaining exceptional circumstances present
where Sixth Amendment rights are at stake); United States v. Stewart, No. 02 CR 396 JGK, 2002 WL 1300059, at
*6–7 (S.D.N.Y. June 11, 2002) (collecting cases articulating relative advantages of using special masters instead of
government taint teams to review documents seized from law offices).
         460
               See, e.g., Tr. Aug. 16, 2016 Hr’g, Doc. 118 at 64:21–65:3.
         461
               Doc. 483-1 at 325:18–20.




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petitions and represents that “more are coming.”462 Of course, any discovery granted in these

habeas cases will be governed by the Federal Rules of Civil Procedure.463

       The Government insists that it was only bound by the Fifth Amendment’s Due Process

clause in preserving evidence in this criminal case.464 The Due Process clause governs the

spoliation inquiry in criminal cases—it is the criminal defendant’s burden to demonstrate

materiality, and in the absence of materiality, that potentially useful evidence was destroyed in

bad faith.465 But only Defendant Carter remains in this criminal case, and the Government does

not oppose his dismissal.

       Other than Defendant Carter, the Special Master’s investigation pertains to potentially

hundreds of CCA detainees not charged in the Black case. While perhaps those detainees would

be required to submit to a Due Process analysis in their individual criminal cases in the context

of a motion to dismiss the charges against them, that is not the posture in which the Sixth

Amendment issues are presented here. One purpose of the Special Master’s investigation was to

determine how to return each detainee’s confidential communications to the extent they exist.

Some of those detainees have sought return of their recordings directly through Rule 41(g)

motions in their underlying cases, through motions to intervene in this case, and through post-

conviction petitions for relief under 28 U.S.C. § 2255. The evidence these litigants require to

move forward with their direct challenges either is impounded by the Court in this case, has been

destroyed, or is controlled by the Government. Except for Defendant Carter, the evidence

obtained through the Special Master’s investigation is entirely ancillary to the Black case. As



       462
             Doc. 747 at 100; see also infra Section VI.C.1.
       463
             R. 6(a) Governing § 2255 Proceedings.
       464
             See California v. Trombetta, 467 U.S. 479, 488–89 (1984).
       465
             Id.; Arizona v. Youngblood, 488 U.S. 51, 58 (1988).




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such, the Court finds that this matter is civil in nature and proceeds to apply civil standards to

questions of spoliation and compliance with preservation duties and orders that were issued as

part of the Special Master’s investigation.466

         B.          Spoliation

         The seminal case of Zubulake v. UBS Warburg LLC defines spoliation as “the destruction

or significant alteration of evidence, or the failure to preserve property for another’s use as

evidence in pending or reasonably foreseeable litigation.”467 Spoliation sanctions are appropriate

where there is a duty to preserve, and “the adverse party was prejudiced by the destruction of the

evidence.”468 There must be a showing of actual, not theoretical, prejudice.469 “[I]f the

aggrieved party seeks an adverse inference to remedy the spoliation, it must also prove bad

faith.”470 “Bad faith involves dishonest conduct and implies wrongdoing or some motive of

selfinterest. . . . However, mere negligence in losing or destroying records is not enough because

‘it does not support an inference of consciousness of a weak case.’”471

         In the case of electronically stored information, or “ESI,” Rule 37(e) governs and

provides two tracks for spoliation sanctions:

                     (e) If electronically stored information that should have been
                     preserved in the anticipation or conduct of litigation is lost because
                     a party failed to take reasonable steps to preserve it, and it cannot
                     be restored or replaced through additional discovery, the court:


         466
            Cf. United States v. Hood, 615 F.3d 1293, 1301 (10th Cir. 2010) (finding no plain error in district court’s
failure to apply civil discovery doctrine in the criminal context where issue was not raised by defendant below).
         467
           229 F.R.D. 422, 430 (S.D.N.Y. 2004) (quoting West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779
(2d Cir. 1999)).
         468
             E.E.O.C. v. JetStream Ground Servs., Inc., 878 F.3d 960, 964 (10th Cir. 2017) (quoting Turner v. Pub.
Serv. Co. of Colo., 563 F.3d 1136, 1149 (10th Cir. 2009)).
         469
               Turner, 563 F.3d at 1150.
         470
               Id. at 1149.
         471
             F.T.C. v. Affiliate Strategies, Inc., No. 09-4104-JAR, 2011 WL 2084147, at *6 (D. Kan. May 24, 2011)
(quoting Aramburu v. Boeing Co., 112 F.3d 1398, 1407 (10th Cir. 1997)).




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                   (1) upon finding prejudice to another party from loss of the
                   information, may order measures no greater than necessary to cure
                   the prejudice; or

                   (2) only upon finding that the party acted with the intent to deprive
                   another party of the information’s use in the litigation may:

                   (A) presume that the lost information was unfavorable to the party;

                   (B) instruct the jury that it may or must presume the information
                   was unfavorable to the party; or

                   (C) dismiss the action or enter a default judgment.472

To impose sanctions under either subsection of Rule 37(e), the Court must find that three

prerequisites are met: “(1) the ESI should have been preserved, (2) a party failed to take

‘reasonable steps’ to preserve it, and (3) it cannot be restored or replaced.”473 Once these three

requirements are met, the Court must determine whether there has been a showing of intent to

deprive the opposing party of information for use in the litigation, which could trigger the severe

sanctions provided under Rule 37(e)(2), including a presumption of prejudice.474 If the moving

party is unable to demonstrate intent, but does demonstrate prejudice, then lesser sanctions may

be imposed no greater than necessary to cure that prejudice.475

                   1.       AVPC

       As described in the Court’s findings, the AVPC was the only computer on which USAO

staff could view the video recordings obtained from CCA. With the exceptions of Boyd and

Stokes, all Government witnesses denied watching the videos. Boyd testified that although she

drafted a “cheat sheet” to help attorneys operate the PELCO player on the AVPC, the attorneys


       472
             Fed. R. Civ. P. 37(e) (effective Dec. 1, 2015).
       473
             Stovall v. Brykan Legends, LLC, No. 17-2412-JWL-JPO, 2019 WL 480559, at *2 (D. Kan. Feb. 7, 2019).
       474
             Id.
       475
             Id.




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required her help to load and view the videos and no other attorneys asked for her assistance.

This testimony is corroborated by Rokusek’s testimony that she needed to coordinate with

Boyd’s schedule in order to find a time to watch the video of her meeting with Dertinger on

August 5, 2016. It is also corroborated by this Court’s experience—the Court required Boyd’s

assistance in order to perform an in camera review of the Dertinger video in June 2017.

        The Special Master hoped that the AVPC’s metadata would conclusively demonstrate

when the videos were accessed and by whom, but he learned soon after his appointment in late

October 2016, that the AVPC’s hard drives had been reformatted and the computer “refreshed in

place” during the USAO’s cyclical upgrade on September 6, 2016, despite the USAO’s repeated

representations that it had “locked down” the office’s computer hard drives. After it was

reformatted and the new operating system loaded, Boyd continued to use the AVPC until

November 7, 2016, at which point the hard drives were removed and eventually placed in the

USAO vault.

        In a past order, this Court referred to the USAO’s failure to preserve the AVPC hard

drives as “troubling,” and cited it as one of the many reasons to proceed with the Phase III

investigation. Now, the FPD asks the Court to sanction the Government for its failure to

preserve the AVPC. To the extent the FPD seeks spoliation sanctions, the inquiry is governed by

Rule 37(e) because the alleged metadata constitutes ESI.

        Although the Court easily concludes that the USAO had a duty to preserve the AVPC

hard drives based on the August 2016 Rule 41(g) motions and Brannon’s August 30, 2016

email,476 there was insufficient evidence presented at the evidentiary hearing to support a finding


        476
           In the Tenth Circuit, a party has a common law duty to preserve evidence if the party “knew, or should
have known, that litigation was imminent.” E.E.O.C. v. JetStream Ground Servs., Inc., 878 F.3d 960, 964 (10th Cir.
2017) (quoting Turner v. Pub. Serv. Co. of Colo., 563 F.3d 1136, 1149 (10th Cir. 2008)). A party need not
understand “the precise nature of the specific litigation at issue” in order for a duty to preserve to be triggered.



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that the logging data on the AVPC cannot be restored, to the extent it existed in the first place.

“This factor does not require that [the FPD] pursue every possible avenue for replacing or

restoring the ESI, but it must show that it made some good-faith attempt to explore its

alternatives before pursuing spoliation sanctions.”477

         At the evidentiary hearing, the Court heard from Steeby and Loehrs on this issue.

Counsel for the Special Master asked Steeby if there was “any way to get back the data that was

on that AVPC on September 5th, 2016,” to which Steeby responded, “I’m not a forensic expert;

however, I would be interested in—in looking at the unallocated space on that hard drive if I

were asked to try to get the data back.”478 Loehrs, who is a computer forensics expert, further

explained the concept of unallocated space on the hard drive and opined that data on a hard drive

that has been reformatted is not necessarily unrecoverable.479 When asked if “it [is] common to

recover either partial or entirely intact files from unallocated space,” Loehrs replied, “[d]o it

every day.”480

         There is no evidence that establishes whether metadata resided on the AVPC hard drive

showing information about users’ access to the PELCO player other than Boyd. And there is no

record that any party asked Loehrs to conduct a forensic analysis of the AVPC to determine



Zbylski v. Douglas Cty. Sch. Dist., 154 F. Supp. 3d 1146, 1160 (D. Colo. 2015). The Court looks to “facts such as
the likelihood that a certain kind of incident will result in litigation; the knowledge of certain employees about
threatened litigation based on their participation in the dispute; or notification received from a potential adversary.”
Id. at 1163 (citing Stevenson v. Union Pac. R.R. Co., 354 F.3d 739, 748 (8th Cir. 2004)). An internal investigation
can trigger the duty to preserve, for example. Id. (citing Marcum v. Scioto Cty., Ohio, No. 1:10–cv–790, 2013 WL
9557844, at *7 (S.D. Ohio. Nov. 21, 2013)).
         477
            Steve & Sons, Inc. v. JELD-WEN, Inc., 327 F.R.D. 96, 109 (E.D. Va. 2018); see also Stovall, 2019 WL
480559, at *3 (“[T]o the court’s knowledge, neither party has engaged a computer specialist for the purpose of
locating the video on defendant’s computer hard drive or back-up system. In the end, the court concludes plaintiff
has not proven the video cannot be replaced or restored.”).
         478
               Doc. 672 at 1106:3–8.
         479
               Doc. 674 at 1836:9–14; 1837:3–23.
         480
               Id. at 1853:6–8.




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whether the logging data, if it exists, sought by the Special Master and the FPD could be

restored. And even if some of the data was overwritten during the period that the AVPC

continued to be used before being taken out of service by the USAO, Loehrs testified that some

of the data may be recoverable.481 Loehrs testified that she would charge “5 to $10,000 tops” to

search for the missing data on the AVPC. The Court does not discount the high cost of

conducting a forensic analysis, but no party retained Loehrs to conduct this evaluation, and no

party sought a court order to require the Government to conduct this analysis either.482 Under

these circumstances, the Court cannot make a finding that metadata or logging information, to

the extent it existed in the first place, cannot be restored. Thus, spoliation sanctions are not

available under Rule 37(e) for the destruction of information on the AVPC on this record.

                    2.       ESI Lost Under Normal Retention Policies

        As already explained, the Government had a duty to preserve evidence surrounding the

USAO’s practice of requesting and obtaining audio and video recordings of meetings between

federal detainees and their attorneys in early August 2016. When the FPD filed its Rule 41(g)

motions, and certainly when Brannon sent the August 30, 2016 email demanding that the USAO

hold onto computers and hard drives that would otherwise be replaced during the cyclical

refresh, USAO management knew that the allegations raised in the FPD’s motions would result

in imminent litigation. The Court’s August 18, 2016 audio clawback order also included a

broadly-worded preservation directive that many prosecutors understood went beyond evidence



        481
              Id. at 1854:4–22.
        482
             See Jenkins v. Woody, No. 3:15cv355, 2017 WL 362475, at *16 (E.D. Va. Jan. 1, 2017) (finding the data
could not be restored where “the Court allowed the Plaintiff to ‘attempt to copy or mirror image the hard drive’ of
the video surveillance cameras in the RCJC because [Defendant] had been unable to recover the Video Data. . . .
Plaintiff’s attempt failed.”); E.I. Du Pont De Nemours & Co. v. Kolon Indus., Inc., 803 F. Supp. 2d 469, 478 (E.D.
Va. 2011) (describing expert testimony summarizing deleted files that were overwritten, and thus inaccessible, on
hard drives).




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discovered in the Black case. USAO management decided not to seek clarification of that order,

but instead insisted on a narrow interpretation of the USAO’s duties and affirmatively disclaimed

any obligation to issue a litigation hold. Certainly, by the time of the Special Master’s discovery

orders in October and November 2016, there could be no doubt about the Government’s

obligation to preserve evidence that might be relevant to a potential Phase III investigation.

        The Court also can easily find that the USAO did not take reasonable steps to preserve at

the time the duty arose. “[W]hether a party has honored its obligation to preserve evidence turns

on reasonableness, which must be considered in the context of whether ‘what was done—or not

done—was proportional to that case and consistent with clearly established applicable

standards.’”483 Generally, “when a company or organization has a document retention or

destruction policy, it ‘is obligated to suspend’ that policy and ‘implement a “litigation hold” to

ensure the preservation of relevant documents’ once the preservation duty has been triggered.”484

The purpose of the litigation hold is “to avoid the loss of evidence through intentional or

negligent actions, or even through routine document management.”485 An organization is not

required to preserve “every shred of paper, every e-mail or electronic document, and every

backup tape.”486 Instead, a party must preserve “any documents or tangible things (as defined by




        483
           Zblyski v. Douglas Cty. Sch. Dist., 154 F. Supp. 3d 1146, 1164 (D. Colo. 2015) (quoting Rimkus
Consulting Grp., Inc. v. Cammarata, 688 F. Supp. 2d 598, 613 (S.D. Tex. 2010)) (emphasis in original); see also
Victor Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D. 497, 522–23 (D. Md. 2010) (describing reasonableness and
proportionality standards).
        484
          Victor Stanley, Inc., 269 F.R.D. at 526 (quoting Goodman v. Praxair Servs., Inc., 632 F. Supp. 2d 494,
511 (D. Md. 2009)); Browder v. City of Albuquerque, 187 F. Supp. 3d 1288, 1295 (D.N.M. 2016).
        485
              Heiget v. City of Hays, No. 13-2228-KHV-KGG, 2014 WL 1308893, at *3 (D. Kan. Mar. 31, 2014).
        486
           N.M. Oncology & Hematology Consultants, Ltd. v. Presbyterian Heathcare Servs., No. 1:12-cv-00526
MV/GBW, 2017 WL 3535293, at *3 (D.N.M. Aug. 16, 2017) (quoting Zubulake v. UBS Warburg LLC, 220 F.R.D.
212, 217 (S.D.N.Y. 2003)).




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Rule 34(a)) made by individuals likely to have discoverable information that the disclosing party

may use to support its claims or defenses.”487

        It is not enough to simply put in place a litigation hold to ensure preservation:

                    the litigant must also oversee compliance with the hold by
                    monitoring the litigant’s “efforts to retain and produce the relevant
                    documents.” Counsel must communicate with the litigant to ensure
                    “(1) that all sources of relevant information [are] discovered, (2)
                    that relevant information is retained on a continuing basis; and (3)
                    that relevant non-privileged material is produced to the opposing
                    party.”488

As documented in the Court’s findings of fact, the USAO: (1) delayed issuing a litigation hold

email to USAO staff until December 19, 2016, four months after the duty arose; (2) failed to

enforce the December 19, 2016 litigation hold email; (3) delayed issuing a formal litigation hold

that suspended normal document retention policies; and (4) delayed and obfuscated compliance

with the Court’s August 2018 preservation order.

         As the Court noted in its findings of fact, the Government’s misrepresentations, delays,

and lack of transparency about the state of its preservation efforts in this matter make it

impossible to conclude with certainty what information has been lost and cannot be restored.

However, the Court can draw the following conclusions from this record that may be relevant to

discovery in the upcoming § 2255 litigation: (1) there is ample evidence that prosecutors in the

District of Kansas routinely maintain case files in both hard-copy and electronic format that may

be relevant to the Sixth Amendment issues in a given criminal case, including handwritten notes,

recorded phone calls, and potentially formal or informal requests to a detention facility for




        487
              Id.
        488
           F.T.C. v. Affiliate Strategies, Inc., No. 09-4104-JAR, 2011 WL 2084147, at *2 (D. Kan. May 24, 2011)
(quoting School–Link Techs., Inc. v. Applied Res., Inc., No. 05–2088–JWL, 2007 WL 677647, at *5 (D. Kan. Feb.
28, 2007)) (footnotes omitted); see also Browder, 187 F. Supp. 3d at 1295.




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detainee phone recordings; (2) there is no assurance on this record that all prosecutors preserved

relevant information within the scope of the Special Master’s October 2016 preservation

directive or Metzger’s December 2016 email; (3) prior to November 6, 2018, there is no clear

record that a central litigation hold was in place for ESI, which means that ordinary retention

policies applied to ESI prior to that date—in the email context that means that any email from

before January 1, 2016, may have been deleted; (4) although Steeby testified that he transmitted

litigation hold tickets for some users in the summer of 2017, which would have stopped ordinary

retention for certain categories of information for those users, at best those litigation hold tickets

would have preserved emails dating back to May 2014 only for those unspecified users; and (5)

aside from Metzger, Tomasic, Treadway, and Krug, there is no evidence that prosecutors in the

USAO preserved hard-copy documents.

         The Court also concludes that the Government acted with intent to deprive the Special

Master and the FPD of evidence in this investigation. The Court found that the USAO willfully

misconstrued the Court’s early preservation orders to avoid impounding and preserving evidence

outside of the discovery and defendants at issue in the Black case. Despite several prosecutors’

recognition that the Court’s orders went beyond evidence in the underlying Black case, USAO

management decided not to seek clarification from the Court, and proceeded with a narrow

construction of the orders.489 The Court also found that the USAO purposefully delayed issuing

a formal litigation hold until May 2017, and withheld all information about the formal litigation

hold from the Special Master and the Court until the November 2018 hearing in this matter.

There is direct evidence that Metzger, as the Litigation Hold Coordinator, made these decisions




        489
            It is true that Barnett told Tomasic by email that she could seek court guidance, but Barnett did not direct
Tomasic to file a motion. By this point, Barnett was in charge of the case and had largely shut out Tomasic.




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with full knowledge that she was “losing some stuff in the interim.”490 To the extent a litigant

can show that information relevant to his or her case was lost during the course of these various

litigation hold delays and cannot be restored, this record supports an argument that Fed. R. Civ.

P. 37(e)(2) should be invoked, potentially triggering sanctions that may include adverse

inferences.491

        C.          Non-Spoliation Sanctions

        The FPD’s show cause motions also seek sanctions based on the Government’s violations

of preservation and production orders issued by the Court and the Special Master. The

Government reiterates a previously-made argument that it was not required to comply with the

Special Master’s orders or his SDT, because they are unlawful under Fed. R. Civ. P. 53 and the

separation of powers doctrine. The Court discussed and rejected these arguments in its January

25, 2019 Memorandum and Order denying the Government’s Motion to Reconsider the Court’s

Final Production Order, and in its January 12, 2018 Memorandum and Order denying the

Government’s motion to terminate Phase III of the investigation and quash subpoenas. The

Court declines to revisit its previous rulings and incorporates them here by reference.492

        Civil remedies for failure to comply with court orders on discovery are governed by Fed.

R. Civ. P. 37(b). Rule 37(b) lists several permissible sanctions for such violations, including

dismissal and contempt. Civil contempt sanctions may be appropriate “to compel future

compliance with a court order,” or to compensate an opposing party for failure to comply.493


        490
              Ex. 1214.
        491
           Under Fed. R. Civ. P. 37(e)(2), if the moving party can show intent, there is no requirement to show
prejudice. See Rule 37(e) advisory committee notes.
        492
              Docs. 713 at 42–49; 372 at 14–16.
        493
           Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 827–29 (1994). In contrast, criminal
contempt sanctions are designed to “punish defiance of a court’s judicial authority.” Dartez v. Peters, 759 F. App’x
684, 690 (10th Cir. 2018).




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Both the criminal and civil subpoena rules provide that civil contempt may be the remedy for a

witness who disobeys a subpoena without just cause.494 To prove civil contempt, the FPD must

show by clear and convincing evidence that: (1) a valid court order existed; (2) the Government

had knowledge of the order; and (3) the Government disobeyed the order.495

        Additionally, the Court has inherent authority to “fashion an appropriate sanction for

conduct which abuses the judicial process.”496 “Because of their very potency, inherent powers

must be exercised with restraint and discretion.”497 Although the Court’s discretion includes the

ability to dismiss as a sanction for severe cases of misconduct, the lesser sanction of attorneys’

fees against counsel may be imposed for actions taken “in bad faith, vexatiously, wantonly, or

for oppressive reasons.”498 An award of attorneys’ fees is permissible if the moving party

“shows bad faith by delaying or disrupting the litigation or by hampering enforcement of a court

order.”499

        The Court discusses below the various ways the Government knowingly violated the

Court’s and Special Master’s orders in this matter. It then discusses the appropriate sanction for

these violations.




        494
              Fed. R. Crim. P. 17(g); Fed. R. Civ. P. 45(g).
        495
           See, e.g., Phone Directories Co. v. Clark, 209 F. App’x 808, 813 (10th Cir. 2006); FTC v. Kuykendall,
371 F.3d 745, 756–57 (10th Cir. 2004).
        496
            Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017) (citing Chambers v. NASCO, Inc.,
501 U.S. 32, 44–45 (1991)).
        497
              Chambers, 501 U.S. at 44 (citing Roadway Express, Inc. v. Piper, 447 U.S. 752, 764 (1980)).
        498
          Id. at 45–46 (quoting Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 258 (1975)); Sun
River Energy, Inc. v. Nelson, 800 F.3d 1219, 1228 (10th Cir. 2015).
        499
              Chambers, 501 U.S. at 46 (footnote omitted) (quoting Hutto v. Finney, 437 U.S. 678, 689 n.14 (1978)).




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                   1.          Preservation and Impoundment

       As described in its findings of fact, soon after the Court learned about the existence of

video and audio recordings possessed by the USAO and its agents, it entered a series of orders:

(1) an oral clawback order of the DVRs containing the CCA video recordings on August 9,

2016;500 (2) a written clawback and cease and desist order on August 10, 2016, addressing video

recordings;501 (3) written preservation and clawback orders for both audio and video recordings

on August 18, 2016;502 (3) the Special Master’s Appointment Order on October 11, 2016,

requiring “full cooperation”;503 and (4) the Special Master’s October 25, 2016 Discovery

Conference Order, as supplemented by his November preservation order, which included his

order to suspend routine destruction of information.504 Later, due to new evidence suggesting

that the USAO continued to possess attorney-client telephone recordings for detainees not

involved in the Black litigation, the Court entered yet another preservation order on August 15,

2018.505 Finally, the Court included a preservation directive in its November 21, 2018 Final

Production Order.506

       The Government violated these preservation orders repeatedly. Two examples are most

notable. First, as the Court has documented, the USAO unilaterally decided to narrowly construe

the Court’s August 18, 2016 orders as pertaining only to information directly related to the Black

litigation, despite the presentation of evidence at these early hearings that recordings were also



       500
             See Tr. Aug. 9, 2016 Hr’g, Doc. 104 at 114:19–115:14.
       501
             Doc. 102.
       502
             Docs. 113, 114.
       503
             Doc. 146 at 13.
       504
             Doc. 155; Doc. 180 at 2 n.1.
       505
             Doc. 569.
       506
             Doc. 690.




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obtained of detainees in other cases. While the record shows that the USAO internally decided

to misconstrue the Court’s orders, prosecutors represented to the Court that they were fully

aware of their preservation duties and had taken the appropriate steps to preserve. Notably,

Barnett told the Court on October 28, 2016 that her office had “put a lockdown” on information

and records, and that she understood that the obligation to preserve went beyond the bounds of

the Black case given the many Rule 41(g) motions pending in other cases. Second, in violation

of the Court’s second written video clawback order, the USAO maintained copies of the video

recordings even after turning over the original CCA DVRs to the Court in August 2016. The

USAO maintained a copy on Boyd’s AVPC, and Stokes maintained a copy on his laptop

computer.

       Even assuming that the Court’s August 2016 Orders were ambiguous, the Special

Master’s preservation orders were not. He made clear the categories of information that he

expected would be preserved, which were based in part on the possibility that the Court would

expand his mandate into a Phase III investigation. Metzger knew that the preservation orders

extended beyond Black yet delayed sending a preservation directive to USAO staff until

December 19, 2016. And by early December, USAO management knew that the Special Master

expected the litigation hold email to be sent “yesterday.” Yet, the office delayed for another

three weeks. Metzger could have sent out a more generic email in August 2016, or at the latest

October 2016, directing a litigation hold. Had she done that and immediately utilized DOJ’s

standard litigation hold process, USAO staff would have been guided to consider and identify all

the possible repositories where they might have responsive material. Instead, Metzger’s dilatory

email merely directed USAO staff to preserve, but not to identify to her what responsive material

they might have, nor did she provide them with a deadline to take action. This evidence suggests




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that the Government decided to engage in a minimal, superficial attempt at preservation of

materials, with full knowledge that information could be lost.

       The Government’s argument that the Special Master expressed satisfaction with the

December 2016 litigation hold email ignores the obvious: Metzger misled and lulled the Special

Master into believing that she had implemented a full preservation hold on all repositories of

information. He testified that he believed his October 2016 preservation order had been

immediately implemented and that the December 19, 2016 email was intended to be a more

specific and detailed directive. He did not know about the DOJ litigation hold process because

no one in the USAO educated him that a central litigation hold would be required. That

information was never provided to the Special Master, despite the Court’s clear mandate in its

Appointment Order that the USAO cooperate with him in the investigation. In sum, the evidence

clearly and convincingly shows that the USAO willfully failed to cooperate with the Special

Master in achieving preservation of information in this matter, and violated myriad preservation

orders in the process.

        Additionally, the Government delayed compliance with the August and November 2018

preservation orders. As documented in the Court’s findings, the Court learned in March 2019

that the Government did not meet with EOUSA to fully implement a litigation hold until October

2018—around the time of the final evidentiary hearing. The Government did not inform the

Court or the Special Master about this meeting, despite the many colloquies with the Court

during the hearing about the Government’s preservation and production duties. Finally, on

November 6, EOUSA was able to extract and preserve email archives dating back to January 1,

2016. These developments were not shared with the Court at the October or November

evidentiary hearing sessions. Indeed, according to the Government’s March 21, 2019 status




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report, the Government continued to meet with EOUSA to fully implement the Court’s

preservation order in mid-December 2018, despite representing to the Court in an earlier filing

that it had fully complied.

               2.      Production of Witnesses

       The Court’s Appointment Order required the parties to fully cooperate with the Special

Master. As described in the Court’s findings of fact, the USAO impeded the Special Master’s

ability to meet with key Government witnesses Boyd, Flannigan, and Tomasic. As the Court

found, the Government directed that Flannigan and Tomasic not speak with the Special Master

and failed to inform them that he had repeatedly asked to meet with them. The Special Master

never was able to interview Flannigan, other than through cross-examination at the Dertinger

hearing. Tomasic finally met with the Special Master after her termination. Additionally, it took

repeated requests for the Special Master to meet with Boyd, and this meeting was not

accomplished until February 2017. This conduct constitutes a clear violation of the Court’s

order to cooperate.

               3.      Production of Documents

       Finally, the Court finds that the Government failed to cooperate with the Special Master

by delaying and avoiding document production. As the Court set forth in a previous order, the

record demonstrates several failures by the USAO to meet its production obligations during the

Special Master’s investigation over a two-year period-of-time. Notably, (1) individuals that

allegedly engaged in wrongdoing culled their own documents instead of a neutral reviewer; (2)

despite the year-long process of developing agreed search terms with the Special Master, the

USAO’s production in the fall of 2018 did not utilize those search terms; and (3) the Government




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refused to create and provide a log for materials withheld on the basis of privilege, Touhy, and

the Privacy Act.507

         Moreover, the production that the USAO finally made in response to the August 2018

SDT can only be characterized as an incomplete “document dump.”508 After further motions

practice in which the Government asserted it had no duty to produce and informed the Court it

would not comply with any further production directives, the Court concluded that in light of the

protracted history of these proceedings, and in order to avoid further delay and waste of judicial

resources, it would decline to compel further production and closed the record. The Court

warned the Government that this did not mean the Government would not have to produce these

documents. Instead, the Government would be required to further produce discoverable material

in the context of each § 2255 case—an avenue the Government has argued on many occasions is

the “appropriate mechanism” for determining whether individual Sixth Amendment violations

occurred.509 To the extent those documents no longer exist, or have been withheld due to a claim

of privilege, the Government would be subject to the federal rules governing spoliation and

privilege.

         For substantially the same reasons discussed in the Court’s January 25, 2019 order

denying the Government’s motion to reconsider the Court’s Final Production Order, the Court

rejects the Government’s challenges to the Special Master’s authority to compel production.

Moreover, the Government never moved to quash the most recent SDTs issued before the



         507
            See Fed. R. Civ. P. 45(e)(2) (requiring a privilege log); Fed. R. Crim. P. 17(c)(2) (requiring witness to
move to modify or quash a subpoena if compliance would be unreasonable or oppressive); Doc. 694 at 2793:2–25
(Clymer advising the Court that the Government withheld documents on the basis of deliberative process, attorney-
client, and work product privileges).
         508
               Doc. 694 at 2798:3–2800:20.
         509
               Docs. 336 at 18, 554 at 7, 697 at 41–42.




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October 2018 hearing. It has thus waived the ability to argue that those SDTs are unreasonable

or oppressive. In sum, the Government lacks a valid basis for delaying and providing incomplete

production to the FPD and the Special Master in this matter. In the end, these Government

tactics fit into a pattern revealed throughout this record to frustrate the efforts of the Special

Master, the Court, and the FPD to discover the extent and scope of any Sixth Amendment

violations committed by the USAO. Although any order to further produce has been left for

another day, the Government’s tactics, when viewed in the context of this entire record, are also

relevant to issues of the credibility of USAO prosecutors that are squarely before the Court.

                    4.    Non-Spoliation Sanctions for Violations of Court Orders

        The elements necessary for a finding of contempt are clearly met. Sanctions for civil

contempt may be used for two purposes: “(1) to compel or coerce obedience to a court order . . . ;

and (2) to compensate the contemnor’s adversary for injuries resulting from the contemnor’s

noncompliance[.]”510 The USAO had knowledge of the Court’s preservation and cooperation

orders yet disobeyed them. The Court cannot compel compliance at this point. The preservation

directives that were violated cannot be undone—it is unlikely that documents destroyed by the

failure to preserve can be recovered. And given that the Special Master has been excused, future

compliance with witness and document production is moot.

         The FPD requests a compensatory award in its supplemental motion to show cause, and

the Special Master suggested compensation is warranted in his final report.511 Indeed, the Court

warned the Government in its May 17, 2017 Phase III Order that if it failed to cooperate, the




        510
            O’Connor v. Midwest Pipe Fabrications, Inc., 972 F.2d 1204, 1211 (10th Cir. 1992) (alteration in
original) (quoting Shuffler v. Heritage Bank, 720 F.2d 1141, 1147 (9th Cir. 1983)).
        511
              Doc. 585.




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Court would reevaluate its decision to relieve the Government from bearing the cost of the

investigation.512

        The Court agrees that a compensatory award is in order, either as a remedy for contempt

or for abuse of the judicial process under the Court’s inherent authority. In order to impose a

contempt fine, “the amount of the fine must be based upon the complainant’s actual losses

sustained as a result of the contumacy.”513 Likewise, to impose a sanction of fees and costs

under the Court’s inherent authority, there must be a “but-for” causal link between the litigant’s

bad conduct and the legal fees incurred by the opposing party:

                    That means, pretty much by definition, that the court can shift only
                    those attorney’s fees incurred because of the misconduct at issue.
                    Compensation for a wrong, after all, tracks the loss resulting from
                    that wrong. So as we have previously noted, a sanction counts as
                    compensatory only if it is “calibrate[d] to [the] damages caused
                    by” the bad-faith acts on which it is based. A fee award is so
                    calibrated if it covers the legal bills that the litigation abuse
                    occasioned. But if an award extends further than that—to fees that
                    would have been incurred without the misconduct—then it crosses
                    the boundary from compensation to punishment. Hence the need
                    for a court, when using its inherent sanctioning authority (and civil
                    procedures), to establish a causal link—between the litigant's
                    misbehavior and legal fees paid by the opposing party.514

Any award of fees and costs must be calibrated to the contumacy involved here—failure to

preserve and failure to cooperate with witness and document production.

        The FPD’s motion for fees and costs focuses on different conduct; namely, it identifies

fees and costs associated with the failed settlement negotiated in the summer of 2018. Although

the Court is cognizant of the needless delay associated with the fruitless settlement attempt last


        512
              Doc. 253 at 48 n.60.
        513
           O’Connor, 972 F.2d at 1211 (quoting Perfect Fit Indus., Inc. v. Acme Quilting Co., 646 F.2d 800, 810
(2d Cir. 1981)).
        514
            Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017) (quoting Mine Workers v.
Bagwell, 512 U.S. 821, 834 (1994)) (footnote omitted).




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year, its findings in this order do not address violations tied to that conduct. Because the FPD

did not address the causation showing required for misconduct tied to the Government’s

preservation and production obligations, the Court cannot determine from this record the scope

of any fees and costs award that should be awarded.515

          Instead, under its inherent authority, the Court will award fees and costs borne by the

FPD in line with the causation requirements of Haeger. Because this issue was not fully briefed

by the parties, the Court directs the FPD to submit an application for attorneys’ fees and costs,

addressing both its entitlement to fees and costs and the amount, by September 24, 2019. The

Government may respond by October 15, 2019. The parties’ briefs shall not exceed 40 pages in

length.

VI.       Conclusions of Law: Sixth Amendment

          The FPD’s Rule 41(g) motions allege Sixth Amendment violations related to the video

and audio recordings at issue on behalf of its many clients currently or formerly detained at

CCA.516 The parties vigorously dispute what is required to establish a violation of the Sixth

Amendment. The FPD contends that Tenth Circuit law in Shillinger v. Haworth517 compels the

Court to find a per se Sixth Amendment violation based on the Government’s collection and

retention of both video and audio recordings that it knew would, or were likely to, include

attorney-client communications, without a showing of prejudice. The FPD seeks global relief for

any defendant whose attorney-client communications at CCA were obtained by the Government,


          515
           The Court certainly cannot find that the entire evidentiary hearing in October 2018 would not have
occurred but for the Government’s misconduct.
          516
              Defendant Carter also moves to dismiss the Superseding Indictment due to the Government’s unlawful
recording and monitoring of privileged calls and video recordings between Carter and his attorneys in violation of
his Sixth Amendment rights. Doc. 333. Although it does not concede a Sixth Amendment violation occurred in his
case, the Government has indicated it does not oppose Carter’s motion. Accordingly, the Court does not reach this
issue with respect to Carter and will grant his motion as unopposed.
          517
                70 F.3d at 1132 (10th Cir. 1995).




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regardless of whether the Government looked at, listened to, or used those communications. The

FPD seeks dismissal with prejudice as the appropriate remedy for the Government’s widespread

“purposeful, systematic, and surreptitious” misconduct. Alternatively, the FPD seeks a 50%

reduction of sentences for all affected clients who remain in custody.

       The Government maintains that this Court should confine its authority to individual cases

and that the inquiry should focus on whether there was a Sixth Amendment violation with

respect to an individual detainee by an individual AUSA. The Government argues that: (1) there

is no evidence that any particularized video or phone call contains privileged information; (2) the

evidence is insufficient to determine whether any particular detainee waived the attorney-client

privilege with respect to outgoing recorded calls to counsel; (3) there is no evidence to determine

that any particular detainee was prejudiced by the USAO’s possession of the recordings at issue;

and (4) Shillinger has no application here because there is no evidence that any AUSA or agent

watched or listened to any recording of an attorney-client communication involving any claimant

in this case and the Government had a legitimate purpose for obtaining the calls and videos.

       The Court first addresses Supreme Court governing law applicable to the Sixth

Amendment and the attorney-client privilege and the Tenth Circuit approach in Shillinger. Next,

the Court addresses application of those standards to the issues before the Court and explains

which issues must be determined on an individualized basis and which are common to all

detainees and recordings stemming from the Special Master’s investigation. Finally, the Court

addresses the procedure for moving forward in the pending individual § 2255 cases.

       A.      Governing Law

               1.     Supreme Court Standards on the Sixth Amendment and the
                      Attorney-Client Privilege

       The attorney-client privilege is “the oldest of the privileges for confidential




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communications known to the common law.”518 Courts view its “central concern as one ‘to

encourage full and frank communication between attorneys and their clients and thereby promote

broader public interests in the observance of law and administration of justice.’”519 “A party

claiming the attorney-client privilege must prove its applicability, which is narrowly

construed.”520 “In order to be covered by the attorney-client privilege, a communication between

a lawyer and client must relate to legal advice or strategy sought by the client.”521 Under federal

common law, the attorney-client privilege applies

                     (1) where legal advice is sought (2) from a professional legal
                     advisor in his capacity as such, (3) communications made related
                     to that purpose, (4) made in confidence (5) by the client, (6) are
                     permanently protected (7) from disclosures by the client or the
                     legal advisor (8) unless the privilege is waived.522

         The Sixth Amendment guarantees an accused the right to assistance of counsel for his or

her defense.523 “The Sixth Amendment right to counsel is personal to the defendant . . . .”524

There are three general components to the right to counsel: (1) the absolute right to be



         518
          United States v. Zolin, 491 U.S. 554, 562 (1986) (quoting Upjohn Co. v. United States, 449 U.S. 383,
389 (1981)).
         519
               Id. (quoting Upjohn Co., 449 U.S. at 389).
         520
           United States v. Merida, 828 F.3d 1203, 1209 (10th Cir. 2016) (quoting Foster v. Hill, 188 F.3d 1259,
1264 (10th Cir. 1999)).
         521
               Id. (quoting United States v. Johnston, 146 F.3d 785, 794 (10th Cir. 1998)) (emphasis omitted).
         522
           Violetta v. Steven Bros. Sports Mgmt., LLC, No. 16-1193-JTM-GEB, 2017 WL 3675090, at *11 (D. Kan.
Aug. 24, 2017) (citing Fed. R. Evid. 501; Leftwich v. City of Pittsburg, Kan., No. 16-2112-JWL-GLR, 2017 WL
1338838, at *1 (D. Kan. Apr. 12, 2017)); 8 WIGMORE ON EVIDENCE § 2292 (McNaughton rev. 1961).
         523
            United States v. Morrison, 449 U.S. 361, 364 (1981). The Sixth Amendment right to counsel has
attached to persons detained at CCA who have either been charged with or convicted of a federal offense and are
held pending critical proceedings in their case, such as trial, sentencing, revocation, or appeal. See, e.g., Jae Lee v.
United States, 137 S. Ct. 1958, 1964 (2017) (holding that Sixth Amendment guarantees counsel at critical stages of
criminal proceeding, including when defendant enters a guilty plea); Brewer v. Williams, 430 U.S. 387, 398 (1977)
(holding that Sixth Amendment counsel rights attach when “judicial proceedings have been initiated . . . ‘whether by
way of formal charge, preliminary hearing, indictment, information, or arraignment.’” (quoting Kirby v. Illinois, 406
U.S. 682, 689 (1922))).
         524
             Texas v. Cobb, 532 U.S. 162, 171 n.2 (2001); United States v. Jones, 44 F.3d 860, 873 (10th Cir. 1995)
(explaining the Sixth Amendment right to counsel is a personal right).




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represented by counsel in a criminal proceeding that could result in imprisonment; (2) the

qualified right to counsel of one’s choice; and (3) the right to effective assistance of counsel.525

The Sixth Amendment right to effective assistance of counsel includes the ability to speak

candidly and confidentially with counsel free from unreasonable government interference.526 A

violation of the right to effective assistance of counsel “generally requires a defendant to

establish prejudice.”527 Without “at least a realistic probability of injury to [the defendant] or

benefit to the State, there can be no Sixth Amendment violation.”528

        While courts have not recognized the attorney-client privilege as a right guaranteed by

the Sixth Amendment, the government violates the Sixth Amendment right to effective counsel if

it deliberately interferes with the confidential relationship and that interference prejudices the

defendant.529 In the seminal case of Weatherford v. Bursey,530 the Supreme Court recognized

that under some circumstances, a defendant’s Sixth Amendment rights may be violated by the

state’s intrusion into the attorney-client relationship. In that case, Weatherford, who was an

undercover law-enforcement agent, along with Bursey and two others, vandalized a local office

of the Selective Service.531 In order to maintain his undercover status, Weatherford was arrested

and charged along with Bursey.532 Prior to trial, Weatherford met with Bursey and his attorneys




        525
              United States v. Nichols, 841 F.2d 1485, 1496 n.7 (10th Cir. 1988) (citations omitted).
         526
             See Weatherford v. Bursey, 429 U.S. 545, 554 n.4 (1977) (“One threat to the effective assistance of
counsel posed by government interception of attorney-client communications lies in the inhibition of free exchanges
between defendant and counsel because of the fear of being overheard.”).
        527
              United States v. Gonzalez-Lopez, 548 U.S. 140, 147 (2006) (citations omitted).
        528
              Weatherford, 429 U.S. at 549.
        529
              Morrison, 449 U.S. at 365; see Weatherford, 429 U.S. at 557–58.
        530
              429 U.S. 545 (1977).
        531
              Id. at 547.
        532
              Id.




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to discuss Bursey’s defense.533 At no time did Weatherford discuss with his superiors or the

prosecutor any details or information he obtained from the meetings.534 Weatherford testified at

Bursey’s trial and, following his conviction, Bursey filed a civil-rights action alleging that

Weatherford had communicated confidential defense information to his superiors and the

prosecutor, depriving him of his Sixth Amendment right to the assistance of counsel.535

        The Supreme Court rejected the Fourth Circuit’s per se rule that “whenever conversations

with counsel are overheard the Sixth Amendment is violated and a new trial must be had” as

more restrictive than necessary to vindicate the Sixth Amendment interests at stake.536 The

Court explained that, “[u]nless [the agent] communicated the substance of the [attorney-client]

conversations and thereby created at least a realistic possibility of injury [to defendant], or

benefit to the State, there can be no Sixth Amendment violation.”537 Accordingly, “[a]s long as

the information possessed by Weatherford remained uncommunicated, he posed no substantial

threat to Bursey’s Sixth Amendment rights.”538 Given the district court’s finding that

Weatherford had not communicated anything about the defense meetings to anyone, there was no

“realistic possibility of injury to Bursey or benefit to the State.”539

        But the Court identified four factors that are relevant in determining whether a Sixth

Amendment violation has been established: (1) whether the government purposely intruded into

the attorney-client relationship; (2) whether any evidence offered at trial was obtained directly or



        533
              Id. at 547–48.
        534
              Id. at 548.
        535
              Id. at 549.
        536
              Id. 550–51.
        537
              Id. at 558.
        538
              Id. at 556.
        539
              Id. at 558.




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indirectly from the intrusion; (3) whether the prosecutor obtained any details of the defendant’s

trial preparation or defense strategy; and (4) whether the overheard conversations were used in

any other way to the substantial detriment of the defendant.540 In Weatherford, the government

did not violate the defendant’s Sixth Amendment rights because “[n]one of these elements

[were] present.”541

       Notably, the Court also emphasized both the absence of purposefulness in the

prosecutor’s intrusion and the legitimate investigative justification—“the necessity of undercover

work and the value it often is to effective law enforcement.”542 The Court did not consider,

however, whether a per se Sixth Amendment violation can be established where an intentional

prosecutorial intrusion lacks any legitimate law-enforcement justification.

       In United States v. Morrison,543 the Supreme Court addressed the appropriate remedy for

such a Sixth Amendment violation, where the government’s deliberate intrusion into the

attorney-client relationship clearly lacks any legitimate justification. In that case, DEA agents

met with the defendant without defense counsel’s knowledge or permission and, while seeking

her cooperation, disparaged her retained attorney and threatened her with more severe penalties

if she did not cooperate.544 Defendant did not cooperate or provide the agents with any

incriminating information and maintained her relationship with her counsel.545 The Third Circuit

held that the defendant’s right to counsel was violated irrespective of any allegation or proof of

prejudice to her case, and that the only appropriate remedy was dismissal of her case with


       540
             Id. at 552–57.
       541
             Id. at 555–56.
       542
             Id. at 557 (citations omitted).
       543
             449 U.S. 361, 363–64 (1981).
       544
             Id. at 362–63.
       545
             Id.




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prejudice.546 The Supreme Court reversed, but declined to address the government’s argument

that the Sixth Amendment violation could not be established without “some [defense] showing

of prejudice.” 547 Instead, the Court assumed the government had violated the Sixth Amendment,

but the remedy imposed below was incorrect because it was not “tailored to the injury

suffered.”548 The Court stated that the “premise of our prior cases is that the constitutional

infringement identified has had or threatens some adverse effect upon the effectiveness of

counsel’s representation or has produced some other prejudice to the defense,” and that “[a]bsent

such impact on the criminal proceeding, however, there is no basis for imposing a remedy in that

proceeding.”549

         Significantly, Morrison “left open the question of whether intentional and unjustified

intrusions upon the attorney-client relationship may violate the Sixth Amendment even absent

proof of prejudice.”550 The federal appellate courts are divided on the issue in cases where the

prosecution intentionally obtained, without any legitimate justification, confidential attorney-

client information.551 The Second,552 Sixth,553 and Eighth554 Circuits place the burden on the


         546
               Id. at 363.
         547
               Id. at 364.
         548
               Id. at 364–65.
         549
               Id.
         550
               Shillinger v. Haworth, 70 F.3d 1132, 1140 (10th Cir. 1995).
         551
           See Cutillo v. Cinelli, 485 U.S. 1037 (1988), cert. denied (White, J., dissenting; joined by Rehnquist, C.J,
O’Connor, J.) (noting conflicting approaches within the Circuits in cases where the Sixth Amendment violation
involves the transmission of confidential defense strategy information).
         552
               United States v. Ginsberg, 758 F.2d 823, 833 (2d Cir. 1985).
         553
            United States. v. Steele, 727 F.2d 580, 586 (6th Cir. 1984) (“Even where there is an intentional intrusion
by the government into the attorney-client relationship, prejudice to the defendant must be shown before any remedy
is granted.” (citing Morrison, 449 U.S. 365–66))).
         554
           United States v. Johnson, 47 F.3d 272, 275 (8th Cir. 1995) (holding that dismissal was improper because
even assuming the government intentionally violated the defendant’s Sixth Amendment rights, he had failed to
“demonstrate a nexus between the intrusion and any benefit derived by the prosecution” (citing United States v.
Davis, 646 F.2d 1298, 1303 (8th Cir. 1981)); Clark v. Wood, 823 F.2d 1241, 1249–50 (8th Cir. 1987).




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defendant to establish prejudice, even where the government intentionally intrudes in the

attorney-client relationship. The Third,555 Tenth,556 and District of Columbia557 Circuits have

found the intentional intrusion into the defendant’s attorney-client relationship producing

privileged communications constitutes a per se Sixth Amendment violation, with no need to

demonstrate that the defendant has suffered prejudice as a result of the intrusion. And the

First558 and Ninth559 Circuits have taken a middle position, holding that once the defendant has

shown that confidential defense strategy was transmitted to the prosecution, the burden shifts to

the government to show there was no prejudice to the defendant from the disclosure.




         555
             United States v. Costanzo, 740 F.2d 251, 254–55 (3d Cir. 1984) (holding Sixth Amendment violation
follows from finding of prejudice); United States v. Levy, 577 F.2d 200, 209–10 (3d Cir. 1978) (holding that “the
inquiry into prejudice must stop” where defense strategy material is actually disclosed to the prosecution or the
government intentionally sought such confidential information).
          556
              Shillinger v. Haworth, 70 F.3d 1132, 1141–42 (10th Cir. 1995) (holding that an intentional intrusion into
the attorney-client relationship “must constitute a per se violation of the Sixth Amendment,” and that if the
government “lacks a legitimate justification for doing so, a prejudicial effect on the reliability of the trial process
must be presumed”).
         557
             Briggs v. Goodwin, 698 F.2d 486, 494–95 (D.C. Cir. 1983), vacated on other grounds, 712 F.2d 1444
(D.C. Cir. 1983) (holding when the privileged communication contains details of the defendant’s trial strategy, the
defendant is not required to prove he was prejudiced by the governmental intrusion, but prejudice may be
presumed).
          558
              United States v. Mastroianni, 749 F.2d 900, 907–08 (1st Cir. 1984) (noting that “[l]ike the District of
Columbia and Third Circuits, we believe that placing the entire burden on the defendant to prove both disclosure and
use of confidential information is unreasonable,” but “[l]ike the Ninth Circuit, however, we believe that there are
certain circumstances in which the revelation of confidential communications by the informant is harmless”); United
States v. DeCologero, 530 F.3d 36, 64 (1st Cir. 2008) (“‘[T]he government’s intrusion into the attorney-client
relationship’ is not a per se Sixth Amendment violation; there must also be some demonstration of resulting
prejudice. Because such intrusions pose a serious risk to defendants’ constitutional rights, and because it would be
unreasonably difficult for most defendants to prove prejudice, we only require defendants to make a prima facie
showing of prejudice by ‘prov[ing] that confidential communications were conveyed as a result’ of the government
intrusion into the attorney-client relationship. The burden then shifts to the government to show that the defendant
was not prejudiced; that burden is a demanding one.” (quoting Mastroianni, 749 F.2d at 907–08)).
          559
              United States v. Danielson, 325 F.3d 1054, 1071 (9th Cir. 2003) (rejecting a per se rule of prejudice;
rather the defendant bears the initial burden of making “a prima facie showing of prejudice” by demonstrating the
government “acted affirmatively to intrude into the attorney-client relationship and thereby to obtain the privileged
information;” once a prima facie showing has been made, the burden shifts to the government to show there has
been no prejudice to the defendant as a result of these communications).




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         Under Morrison, the remedy for a Sixth Amendment violation must be “tailored to the

injury suffered” by the defendant and should not “unnecessarily infringe on competing

interests.”560 Those competing interests are: (1) the constitutional right to the assistance of

counsel, “fundamental to our system of justice to assure fairness in the adversary criminal

process,” and (2) society’s interest in the administration of criminal justice.561 Thus, the

Supreme Court emphasized in Morrison that its preferred approach “has thus been to identify

and then neutralize the taint by tailoring relief appropriate in the circumstances to assure the

defendant the effective assistance of counsel and a fair trial.”562

         Morrison further held that dismissal of the indictment is a “drastic” form of relief.563

Other cases suggest that dismissal of the indictment is appropriate only where the injury is

irreparable.564 And the Tenth Circuit recently counseled that Morrison requires that courts rule

out “more narrowly tailored remedies” before resorting to the “extraordinary remedy” of

dismissing an indictment.565 Notably, the Morrison Court suggested that a more severe remedy

might be appropriate even in cases where the harm is not irreparable, but where there is a

“pattern of recurring violations” by the government.566




         560
               449 U.S. 361, 364 (1981); Shillinger, 70 F.3d at 1142–43.
         561
               Morrison, 449 U.S. at 364 (citations omitted).
         562
               Id. at 365.
         563
               Id.
         564
               See State v. Robinson, 209 A.3d 25, 55–57 (Del. 2019) (collecting cases).
         565
               United States v. Orozco, 916 F.3d 919, 925 (10th Cir. 2019).
         566
            Morrison, 449 U.S. at 365 n.2 (noting the record did “not reveal a pattern of recurring violations by
investigative officers that might warrant the imposition of a more extreme remedy in order to deter further
lawlessness”); see also Brecht v. Abrahamson, 507 U.S. 619, 638 n.9 (1993) (while “not presented with such a
situation here[,] . . . [o]ur holding does not foreclose the possibility that in an unusual case, a deliberate and
especially egregious error of the trial type, or one that is combined with a pattern of prosecutorial misconduct, might
so infect the integrity of the proceeding as to warrant the grant of habeas relief, even if it did not substantially
influence the jury’s verdict”); Robinson, 209 A.3d at 57–59 (discussing Morrison).




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                    2.          Tenth Circuit Approach in Shillinger

        Under Tenth Circuit law, the government’s purposeful intrusion into the attorney-client

relationship with no legitimate law enforcement justification constitutes a per se violation of the

Sixth Amendment, with no affirmative showing of prejudice necessary. In Shillinger, the

defendant’s attorney arranged to hold preparatory sessions in the courtroom, but because the

defendant was incarcerated, a deputy sheriff was present at all times.567 During trial, it was

revealed that the deputy had been relaying privileged information he was privy to from trial

preparation sessions to the prosecutor.568 The Tenth Circuit concluded that the prosecutor

violated the defendant’s Sixth Amendment rights and remanded the case to the district court for

consideration of the appropriate remedy.569 The court held,

                    [b]ecause we believe that a prosecutor’s intentional intrusion into
                    the attorney-client relationship constitutes a direct interference
                    with the Sixth Amendment rights of a defendant, and because a fair
                    adversary proceeding is a fundamental right secured by the Sixth
                    and Fourteenth Amendments, we believe that absent a
                    countervailing state interest, such an intrusion must constitute a per
                    se violation of the Sixth Amendment.570

        The court further explained that “when the state becomes privy to confidential

communications because of its purposeful intrusion into the attorney-client relationship and lacks

a legitimate justification for doing so, a prejudicial effect on the reliability of the trial process

must be presumed.”571 The court reasoned that “no other standard can adequately deter this sort

of misconduct,” and that “prejudice in these circumstances is so likely that case-by-case inquiry




        567
              70 F.3d 1132, 1132–34 (10th Cir. 1995).
        568
              Id. at 1134–35.
        569
              Id. at 1143.
        570
              Id. at 1142.
        571
              Id.




                                                        154
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into prejudice is not worth the cost.”572 The court explained that its holding “subsumes the

state’s argument that harmless error analysis should apply to this sort of Sixth Amendment

violation because our per se rule recognizes that such intentional and groundless prosecutorial

intrusions are never harmless because they ‘necessarily render a trial fundamentally unfair.’”573

The court observed that “dismissal of the indictment could, in extreme circumstances, be

appropriate.”574 The court clarified, however, that this per se rule “in no way affects the analysis

to be undertaken in cases in which the state has a legitimate law enforcement purpose for its

intrusion.”575 Such cases would require proof of prejudice, or “‘a realistic possibility of injury to

[the defendant] or benefit to the State in order to constitute a violation of a defendant’s Sixth

Amendment rights.”576

         As the Shillinger court recognized, prejudice under these circumstances is difficult to

prove.577 Demonstrating that a governmental intrusion into the attorney-client relationship is

prejudicial can be problematic, as the information needed to so demonstrate often rests within the

exclusive control of the prosecution and is not necessarily apparent to the defendant or reviewing

court:

                     In cases where wrongful intrusion results in the prosecution
                     obtaining the defendant’s trial strategy, the question of prejudice is
                     more subtle. In such cases, it will often be unclear whether, and
                     how, the prosecution’s improperly obtained information about the
                     defendant’s trial strategy may have been used, and whether there
                     was prejudice. More important, in such cases the government and
                     the defendant will have unequal access to knowledge. The
                     prosecution team knows what it did and why. The defendant can

         572
               Id. (quoting Strickland v. Washington, 466 U.S. 668, 692 (1984)).
         573
               Id. (quoting Rose v. Clark, 478 U.S. 570, 577 (1986)).
         574
               Shillinger, 70 F.3d at 1143 (citations omitted).
         575
               Id. (citing Weatherford v. Bursey, 429 U.S. 545, 557 (1977)).
         576
               Id. (quoting Weatherford, 429 U.S. at 558).
         577
               Id. at 1142.




                                                             155
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                    only guess.578

“The prosecution makes a host of discretionary and judgmental decisions in preparing its case. It

would be virtually impossible for an appellant or a court to sort out how any particular piece of

information in the possession of the prosecution was consciously or subconsciously factored into

each of those decisions.”579

        In a footnote, the Government questions whether Shillinger is good law in light of the

Supreme Court’s view in Weatherford and Morrison that prejudice must be demonstrated to

substantiate a Sixth Amendment violation of the kind alleged here, and a presumption falls short

of this demonstration.580 But the Tenth Circuit analyzed and distinguished Weatherford, noting

that the Supreme Court “emphasized both the absence of purposefulness in the prosecutor’s

intrusion and the legitimate law enforcement interests at stake.”581 The Shillinger court

concluded, unlike in Weatherford, that “the intrusion here was not only intentional, but also

lacked a legitimate law enforcement purpose.”582 The court also explained that Morrison “left

open the question of whether intentional and unjustified intrusions upon the attorney-client

relationship may violate the Sixth Amendment even absent proof of prejudice.”583 As previously

discussed, Morrison never reached the prejudice question, “holding only that even if the




        578
            United States v. Danielson, 325 F.3d 1054, 1070 (9th Cir. 2003) (adopting burden-shifting analysis for
Sixth Amendment claims alleging governmental interference with attorney-client relationship; defendant must make
prima facie showing of prejudice that government affirmatively intruded to obtain privileged information about trial
strategy; burden then shifts to government to show there has been no prejudice to defendant as a result of these
communications).
        579
           Id. at 1071 (quoting Briggs v. Goodwin, 698 F.2d 486, 494–95 (D.C. Cir. 1983), vacated on other
grounds, 712 F.2d 1144 (D.C. Cir. 1983)).
        580
              See Doc. 745 at 133 n.97.
        581
              Shillinger, 70 F.3d at 1138–39.
        582
              Id. at 1139.
        583
              Id. at 1140.




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defendant’s Sixth Amendment rights were violated, dismissal of the indictment was an

inappropriate remedy in that case.”584

       The Tenth Circuit has since reaffirmed Shillinger. In United States v. Singleton, the court

rejected a Sixth Amendment claim in defendant’s § 2255 proceeding, even though the

prosecution had obtained attorney-client privileged communication, because the prosecutors had

not seen the privileged communications and had implemented a taint team.585 The defendant in

that case claimed that a pretrial search of his jail cell and removal of all correspondence made

him unwilling to communicate with his attorney in writing and he was thus prejudiced by the

government’s conduct.586 Citing Shillinger, the court did not decide whether a per se Sixth

Amendment violation occurred because it was undisputed that the trial team of prosecutors was

shielded from access to any privileged information obtained through the use of a taint team to

review all the items seized.587 Notably, a magistrate judge acting as a special master reviewed

the seized documents and conducted an evidentiary hearing, and found that the taint team

shielded any privileged information from the USAO.588 The court concluded,

                    even assuming that the government intruded into Mr. Singleton’s
                    attorney-client relationship without legitimate justification, thereby
                    giving rise to a per se Sixth Amendment violation, the appropriate
                    remedy was provided by the use of a separate government [taint]
                    team to review the documents and the special master’s hearing to
                    assure that the trial prosecution team had been shielded from any
                    privileged information seized. Absent any showing by Mr.
                    Singleton that despite these measures the government’s conduct
                    intruded into his relationship with his counsel and affected either
                    his subsequent decision to plead guilty or his later sentencing


       584
             Id.
       585
             52 F. App’x 456, 458–59 (10th Cir. 2002).
       586
             Id. at 459.
       587
             Id.
       588
             Id. at 459–60.




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                     proceeding, there is no basis for imposing a remedy at this time.589

        District court cases decided subsequent to Shillinger are few but informative. For

example, in United States v. Zajac, the defendant argued that the government improperly

intruded on the attorney-client relationship and violated his Sixth Amendment rights by

reviewing recorded conversations between the defendant and his counsel.590 In that case,

prisoners housed at the Weber County Jail were required to make long-distance telephone calls

collect; the jail did not allow an attorney to call his client directly.591 Thus, if a prisoner wanted

to call his attorney, he was required to make a collect call.592 Jail policy also required that collect

calls from the jail be recorded, including legal calls, with the exception of calls made to the

FPD’s office.593 At the beginning of each collect telephone call, a pre-recorded statement told

the caller that the call may be monitored or recorded.594 The defendant claimed that the recorded

phone calls in his case included conversations with his defense attorneys that directly pertained

to his defense, i.e., “his representation and concerns in the case and information concerning the

development of the defense of the case.”595

        At the outset of the case, the government subpoenaed the defendant’s jail calls because

“it had reason to believe that Defendant had made incriminating statements to the press and

family members.”596 “As a matter of business practice,” the jail did not and could not separate



        589
          Id. at 460; see Reali v. Abbott, 90 F. App’x 319, 322–23 (10th Cir. 2004) (acknowledging “in certain
Sixth Amendment contexts, courts will presume a party suffered prejudice (citing Shillinger, 70 F.3d at 1139–42)).
        590
              No. 2:06CR811DAK, 2008 WL 1808701, at *3 (D. Utah Apr. 21, 2008).
        591
              Id.
        592
              Id.
        593
              Id.
        594
              Id.
        595
              Id. at *4.
        596
              Id.




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telephone calls and provided the government with a list that contained only telephone

numbers.597 ATF agents and the USAO in the District of Utah identified those calls made to

telephone numbers of the defendant’s counsel and “purposefully did not review or listen to the

telephone phone calls made to attorneys because they could have contained attorney-client

communications.”598 Further, “to fully comply with discovery rules, the government provided

the incriminating calls as well as the other calls made by the defendant” to the defendant’s

counsel—the entire record that was provided by the jail.599 “While the government took care not

to review any privileged material, it did not exclude those potentially privileged conversations

from defense counsel when it provided discovery.”600 Although the discovery included material

that referenced telephone call records, it did not provide any summary of the conversations.601

The government represented that “both it and [the ATF Special Agent] made every effort not to

review any telephone recordings which appeared to have any type of attorney-client

conversations even though Defendant’s representation changed repeatedly during the pretrial

process.”602

       Citing Shillinger, the defendant asserted a presumption of prejudice in his case.603 The

defendant argued that, like Shillinger, he had no alternative to confidentially communicate with

counsel and the information from the calls was passed on to the prosecutor.604 The court rejected




       597
             Id.
       598
             Id.
       599
             Id.
       600
             Id.
       601
             Id.
       602
             Id.
       603
             Id. at *5.
       604
             Id.




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this argument because it “fails to recognize that defense counsel in this district routinely visit

their clients in jail and have face-to-face meetings with respect to privileged matters.”605 The

court found that, unlike in Shillinger, where the prosecutor proceeded for the purpose of

determining the substance of defendant’s conversations with his attorney and the

communications were actually disclosed, the prosecutors had a legitimate investigatory reason

for subpoenaing the defendant’s telephone records from the jail.606 “When the jail was unable to

separate which calls were to attorneys, the government then employed means for identifying

which telephone numbers belonged to Defendant’s counsel and protecting any of the telephone

calls that were made to those attorneys.”607 The court further found that the defendant failed to

provide any specific communication, transcript, or documentation that demonstrated that the

government obtained any evidence or content from these conversations or listened to the

conversations.608 The court concluded that the defendant “provides conclusory and speculative

accusations that the government engaged in egregious and outrageous illegal conduct,” and that

there was no basis for presuming prejudice.609

       In United States v. Johnson, the prosecution obtained attorney-client material through

Pre-Sentence Report (“PSR”) disclosures in a separate case where the defendant was granted

statutory-use immunity with the understanding that the USAO in the District of Utah would not

have access to the material.610 The court found that the prosecution implemented a taint team,




       605
             Id.
       606
             Id.
       607
             Id.
       608
             Id.
       609
             Id.
       610
             No. 2:11-cr-00501-DN-PMW, 2016 WL 297451, at *1 (D. Utah Jan. 22, 2016).




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and none of the assigned prosecutors viewed any privileged communications.611 The court

further found that “the PSR materials were obtained for the sole purpose of turning them over as

part of the prosecution’s discovery obligations,” which constitutes a “legitimate justification” for

obtaining the privileged materials.612 The court stressed that “more importantly, the substance of

the materials was never disclosed to the prosecutors,” except for one AUSA who “ceased review

once she was aware it might be attorney-client privileged communication and she did not review

any further documents.”613 Thus, the Shillinger test was not met and the court declined to

dismiss the indictment.

         These post-Shillinger cases suggest that “purposeful intrusion” into the attorney-client

relationship does not occur “merely by the prosecution obtaining the privileged materials; rather,

it is what the prosecution does with the materials after obtaining them that determines whether

there has been a Sixth Amendment violation.”614 In each of these cases, the government took

precautions to shield the protected information, by use of a taint team or similar mechanism, and

disclosed the protected communications to defense counsel in discovery. In each of these cases,

there was no dispute that prosecutors had not seen or listened to the privileged

communications.615




         611
               Id. at *5.
         612
               Id.
         613
               Id. (emphasis in original).
         614
           Id. (emphasis in original) (citing United States v. Singleton, 52 F. App’x 456, 458–59 (10th Cir. 2002);
United States v. Zajac, No. 06CR811DAK, 2008 WL 1808701, at *5 (D. Utah Apr. 21, 2008)).
         615
               Id.




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       B.          Application

                   1.       Need for Particularized Findings

       The FPD urges that Shillinger compels the Court to conclude that the Government’s

purposeful intrusion into CCA detainees’ attorney-client relationships by collecting and saving

recorded communications that it knew would, or were likely to, include attorney-client

communications constitutes a per se violation of the Sixth Amendment, and thus prejudice must

be presumed. The FPD asserts: (1) the USAO knew it would obtain video recordings of

attorney-client communications as a result of the grand jury subpoena and its failure to target or

limit its collection is evidence of purpose; and (2) the USAO’s systematic collection of all

recorded telephone calls, with no exception for attorney-client calls or other cautionary

measures, was a purposeful and massive invasion of attorney-client communications. The

Government argues that the Court cannot make such generalized Sixth Amendment findings in

the context of the Rule 41(g) motions before it, but instead must make particularized findings in

the individual § 2255 proceedings. The Court reluctantly agrees.

       Under Shillinger, a per se Sixth Amendment violation occurs when: (1) there is a

protected attorney-client communication; (2) the government purposefully intruded into the

attorney-client relationship; (3) the government becomes “privy to” the attorney-client

communication because of its intrusion; and (4) the intrusion was not justified by any legitimate

law enforcement interest.616 Once these elements are established, prejudice is presumed.617

       The attorney-client privilege is not recognized as a right guaranteed by the Sixth

Amendment. A Sixth Amendment claim arising from the alleged government intrusion into the



       616
             Shillinger v. Haworth, 70 F.3d 1132, 1142 (10th Cir. 1995).
       617
             Id.




                                                         162
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recordings at issue will not lie unless the communications in the videos or calls are privileged or

confidential.618 Thus, a finding of purposeful intrusion into the attorney-client relationship

necessarily requires a threshold showing that the recordings were protected attorney-client

communications. Once a claimant has shown the privilege is applicable, the Court must

determine whether the government became privy to those attorney-client communications

because of its purposeful intrusion into the claimant’s attorney-client relationship. Such

individualized determinations cannot be made on the record before the Court.619 Because both

the attorney-client privilege and the Sixth Amendment are personal to the defendant, any

generalized application of the limited record before the Court to establish blanket Sixth

Amendment violations would be both inappropriate and premature.620

                  2.       Issues Common to all Claims

         The parties dispute the governing law on common issues that overlap in the individual

Sixth Amendment claims. Although the Court cannot apply the governing law to Sixth

Amendment claims in this case, it provides the following analysis on issues common to all

affected § 2255 litigants to be applied going forward. These rulings are not conclusions of law

on the merits of petitioners’ individual claims.

                           a.       Privileged Attorney-Client Communications

         The FPD argues that the weight of the evidence favors the conclusion that each video of a

documented attorney-client meeting contained protected attorney-client communication, without



         618
         Id. (describing Sixth Amendment violation as occurring when “the state becomes privy to confidential
communications because of its purposeful intrusion into the attorney-client relationship”).
         619
             As discussed infra in Section VII, the § 2255 litigants must also defeat collateral waiver and procedural-
default challenges raised by the Government prior to a determination on the merits of the Sixth Amendment claims.
         620
           See, e.g., U.S. Nat. Bank of Ore. v. Indep. Ins. Agents of Am., Inc., 508 U.S. 439, 446 (1993) (“[A]
federal court [lacks] the power to render advisory opinions.” (quoting Preiser v. Newkirk, 422 U.S. 395, 401
(1975))).




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review of individual detainee recordings. Likewise, it argues that the content of the phone calls

was constitutionally protected communication because the purpose of the phone calls was to

discuss matters pertaining to legal representation and the calls were necessary to ensure adequate

representation. But a party claiming the attorney-client privilege has the burden to show its

applicability. “[T]he mere fact that an attorney was involved in a communication does not

automatically render the communication subject to the attorney-client privilege.”621 Rather, the

“communication between a lawyer and client must relate to legal advice or strategy sought by the

client.”622

        Thus, particularized findings must be made with respect to each claimant asserting the

attorney-client privilege, which requires review of the recordings and a minimal threshold

showing by the § 2255 litigants on the applicability of the privilege to their individual case. As

detailed below, this showing will vary for video and audio recordings.

                                              Soundless Video Recordings

        The Government continues to challenge the third element of the privilege, arguing that

the soundless communication in the videos is “too rudimentary for an observer to discern

whether it involves legal advice or strategy or to disclose the content of any accompanying

verbal communications.”623 This Court has previously concluded, however, that both verbal and

non-verbal communication “falls within the ambit of privileged, confidential attorney-client

communications.”624 Non-aural communication can be valuable to the observer, as evidenced by

this Court’s in camera review of the video recording between Dertinger and Rokusek in one of


        621
              Motley v. Marathon Oil Co., 71 F.3d 1547, 1550–51 (10th Cir. 1995).
        622
          United States v. Johnston, 146 F.3d 785, 794 (10th Cir. 1998) (citing Motley, 71 F.3d at 1550–51); see In
re Grand Jury Proceedings, 616 F.3d 1172, 1182 (10th Cir. 2010).
        623
              Doc.745 at 115.
        624
              Doc. 253 at 25.




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the attorney visitation rooms at CCA.625 In that case, the prosecution valued knowing whether

there was a document exchange between Dertinger and Rokusek, which would be reflected on

the video recording. Other detainees whose meetings were recorded may have been preparing

for release hearings, evaluating evidence, negotiating a plea, or deciding whether to go to trial.

The value of knowing a defendant is angry, reviewing documents, speaking to counsel without

an interpreter, or even refusing to talk or review documents may not have apparent value to an

outside observer, but as demonstrated in these proceedings, can grant a tactical advantage to a

prosecutor. The Court adopts its previous findings that soundless video can constitute privileged

attorney-client communication.

       The Court agrees that given the subjective nature of the content of the videos, its value or

significance would not necessarily be apparent to the Court or an outside viewer. Nevertheless, a

threshold showing that the privilege applies must be made before concluding that each video

recording contains protected attorney-client communication. The FPD has attempted to identify

potential clients who fall under Standing Order 18-3 by cross-comparing CCA calendars and

visitation logs.626 This initial evaluation can be further verified by review of the individual

detainee recordings to determine: (1) that the video of the attorney-client meeting exists, and (2)

that the quality of the non-verbal communication is sufficient to confirm communication

between the detainee and counsel. The Court will grant the FPD’s Rule 41(g) motion and turn

over the six DVRs impounded by the Court to the FPD for review. Any further review of the

video recordings will be facilitated according to a court-ordered process in the pending § 2255




       625
             Id. at 24.
       626
             Ex. 585.




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proceedings and the parties will be given the opportunity to weigh in on the procedure for

review, e.g., determination by the Court in camera or review by a neutral Government party.

        Further, while there was testimony from various defense counsel in these proceedings

regarding the nature of the meetings with their clients at CCA, an affidavit from defense counsel

in each individual case is necessary to confirm that the nature and purpose of the meeting(s) were

within the ambit of protected communication, including but not limited to defense preparation,

plea negotiations, or review of discovery. This threshold showing does not require the petitioner

to reveal the substance of the conversation. Review of the videos and/or the submission of this

affidavit will not constitute a waiver of any individual defendant’s privilege under Fed. R. Evid.

502.

                                      Audio Recordings and Waiver

       Likewise, threshold showings must also be made on the audio recording claims that: (1)

telephone recordings exist, and (2) a given call contains protected attorney-client

communication, i.e., communication that relates to legal advice or strategy sought by the client.

These requirements will be verified by the FPD’s review of the individual detainee recordings to

determine the nature of the calls. As with the videos, this threshold showing does not require the

petitioner to reveal the substance of the conversation. Rather, an affidavit from defense counsel

in each individual case is sufficient to confirm the nature and purpose of the call(s) were within

the ambit of protected communication, including but not limited to defense preparation, plea

negotiations, or review of discovery. Any further review of these calls will be facilitated in the

pending § 2255 proceedings and the parties will weigh in on the appropriate procedure for

review, e.g., determination by the Court in camera or review by a neutral Government party.




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Submission of the affidavit and/or review of the substance of the calls will not constitute a

waiver of any individual defendant’s privilege under Fed. R. Evid. 502.

       Although not a threshold showing requirement, attorney-client privilege determinations

with respect to recorded calls will also necessarily establish whether the detainee knowingly and

intelligently waived the right to confidential attorney-client communications. The FPD urges the

Court to conclude as a matter of law that neither the preamble warning at the beginning of CCA-

recorded phone calls, nor the signage near the Securus phones at CCA, were sufficient to allow

for a knowing waiver of any CCA detainee’s Sixth Amendment right to confidential

communications with counsel. The FPD also urges the Court to conclude that it was

unreasonable for the Government to internally and unilaterally determine that it need not disclose

these phone calls to defense counsel, or otherwise take measures to protect them, based on the

view that the detainees waived their right to confidential communications by engaging in a

conversation with counsel on CCA telephones. The Government argues that the Court cannot

determine on this record whether the Sixth Amendment right to confidential communications

with counsel was waived because such a showing must turn on the particularized facts of each

recording. Ironically, the Government also contends that USAO prosecutors reasonably believed

that if detainees spoke to their attorneys on a CCA phone they waived the attorney-client

privilege, and thus, they need not take measures to safeguard phone recordings of CCA detainees

and their attorneys. In other words, according to the Government, prosecutors reasonably

believed that there was a blanket waiver of the attorney-client privilege by detainees at CCA

when they used CCA telephones, but the Court should not reach a blanket waiver determination

in this matter because the analysis requires a particularized inquiry.




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        “A waiver of the Sixth Amendment right to counsel is valid only when it reflects ‘an

intentional relinquishment or abandonment of a known right or privilege.’”627 The criminal

defendant must ‘“kno[w] what he is doing’ so that ‘his choice is made with eyes open.’”628

Confidentiality of an attorney-client communication “will be ‘lost if the client discloses the

substance of an otherwise privileged communication to a third party.’”629 “Where disclosure to a

third party is voluntary, the privilege is waived.”630 But under Fed. R. Evid. 502(b), an

inadvertent disclosure to a third party does not operate as a waiver if “the holder of the

privilege . . . took reasonable steps to prevent disclosure[] and [] the holder promptly took

reasonable steps to rectify the error.”631

        The Government contends that at least some detainees at CCA waived their attorney-

client privilege because calls were made from an institutional phone at CCA, which played a

preamble warning that the call was subject to recording and monitoring, and which was

surrounded by signage warning that the call may be recorded. The Government argues that

waiver may apply to vitiate an individual detainee’s privilege claim if it is shown that: (1) the

detainee was provided with the Inmate Handbook; (2) the detainee was not “mistakenly advised

that their conversations with counsel were private by defense lawyers who relied on faulty CCA-

Leavenworth representations”; and/or (3) if a the Government has a “colorable fact-based




        627
              Patterson v. Illinois, 487 U.S. 285, 292 (1988) (quoting Johnson v. Zerbst, 304 U.S. 458, 464 (1938)).
        628
              Id. (alteration in original) (quoting Adams v. United States ex rel. McCann, 317 U.S. 269, 279 (1942)).
        629
           United States v. Ary, 518 F.3d 775, 782 (10th Cir. 2008) (quoting In re Quest Commc’ns Int’l Inc., 450
F.3d 1179, 1185 (10th Cir. 2006)).
        630
              Id. (citing In re Quest, 450 F.3d at 1185).
        631
           To the extent the Government continues to rely on the case of United States v. Lentz, 419 F. Supp. 2d
820 (E.D. Va. 2005), a district court decision holding that the inadvertent disclosure of an attorney-client
communication can result in waiver, that case was abrogated by Rule 502(b), which was amended in 2007.




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argument that” case law finding waiver applies.632 The Government suggests that because these

facts turn on the circumstances of each individual call, the Court cannot rule on the issue of

waiver in this context.

       While the ultimate conclusion about whether a particular detainee waived the attorney-

client privilege must be decided on a case-by-case basis, the record in this case allows the Court

to make findings on several common issues. The Court previously found that: (1) detainees

cannot place unmonitored calls unless their attorney’s number is privatized;633 (2) CCA failed to

advise attorneys about the existence and particulars of the privatization process before August

2016;634 and (3) the privatization process was ineffective, as even privatized numbers were

sometimes recorded.635 The Court has made additional findings on this record, and reaches the

following conclusions based on those findings.

       Many if not all CCA detainees lacked the information and means to knowingly and

intelligently waive their attorney-client privilege when they called their attorneys on institutional

phones at CCA. CCA failed to adequately inform detainees that their calls to attorneys would be

recorded unless they used the privatization process. First, the signage near the phones generally

warned that the calls were subject to being recorded but did not specifically inform detainees that

attorney-client calls were also subject to being recorded. Moreover, due to CCA’s failure to

properly administer the privatization protocol, detainees were often misled to believe that their

calls to attorneys were not subject to recording and monitoring, despite these signs.




       632
             Doc. 745 at 128–29.
       633
             Doc. 253 at 17.
       634
             Id. at 20.
       635
             Id.




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       Second, the Intake Booking Packet did not sufficiently inform detainees about how to

ensure confidential communications with their attorneys through the privatization process. The

booking packet advised that “[a] properly placed phone call to an attorney is not monitored. You

must contact your unit team to request an unmonitored attorney call.”636 But this language fails

to explain how to accomplish a “properly placed phone call to an attorney.” And there was no

way for a detainee to place an unmonitored call to an attorney absent the privatization procedure;

calls placed in the Unit Team Office were monitored because the Unit Team manager remained

in the office during the phone call.

       Third, the Inmate Handbook also failed to adequately or effectively inform detainees of

their right to private calls with their attorneys and how to accomplish such. No one reviewed the

handbook with detainees, nor advised the detainees that because the phones were monitored or

recorded, prosecutors could hear or receive recordings of their attorney-client conversations.

The handbook included information about registering an attorney phone number to avoid

recording, but detainees could not initiate the privatization process until October 2016. Rather,

they were required to instruct their attorney to accomplish this, and apparently had to provide

this directive through a monitored phone call, either by placing a nonprivate call to the attorney

or by using the unit team office. And information about call recording was buried in this lengthy

handbook, which also included information about numerous subjects of pressing interest to

someone who had just been taken into custody—rules on behavior, food, recreation, and

visitation, for example.637




       636
             Ex. 1.
       637
             Ex. 2.




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       Importantly, detainees routinely were not provided with the Inmate Handbook. Unit

Manager Leslie West testified that it was common that detainees did not receive a handbook and

that twice during her tenure, management could not get access to the handbook at all because

they had been pulled from the facility for revision. West further testified that even when the

handbook was available, it was sometimes three to six days after intake before a detainee

received it—a critical time for attorney-client communications. Even if the detainee received a

handbook at the time he or she arrived at CCA, this was typically before he or she had consulted

with an attorney. There is no evidence that any defense attorney had an opportunity to review

the handbook with his or her client.

       Fourth, if the detainee heard the preamble when he or she placed an outgoing call to a

non-private attorney phone number, that preamble provided no meaningful notice that the call

would be recorded. Both the English and Spanish versions of the preamble were equivocal; they

stated that the call may be recorded and was subject to monitoring, not that the call would be

recorded. Furthermore, a detainee could not distinguish which calls were subject to recording

and which were not based on the preamble. As the Court has found, the privatization protocol

did not work as designed at CCA because the incorrect site level was routinely selected by CCA

staff when an attorney number was privatized. Thus, the preamble may or may not play for calls

to the same attorneys depending on the detainee’s subpopulation and which subpopulation CCA

staff affirmatively input into the system when privatizing the attorney number. The site-level

distinction was neither advertised nor explained to detainees or attorneys. Compounding that

grave error, some attorneys testified or averred that they assured their clients that their phone

conversations were private and protected, and that if a call was inadvertently encountered, no one

would listen. And West testified that sometimes detainees approached her because they thought




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their attorneys had accomplished privatization, yet the detainees still heard the preamble. In

those instances, West either referred the detainees to the handbook or, on a couple of occasions,

emailed defense counsel and asked them to make sure they had “blocked” their numbers.638 All

of these facts counsel against a blanket finding that a CCA detainee waived the right to

confidential communications with his or her attorney with “eyes wide open.” Instead, detainees

and defense attorneys were provided with incorrect, misleading, and inconsistent information

about how to accomplish a confidential phone call at CCA.

        The Government relies on four cases addressing government access to recorded phone

calls made by incarcerated individuals to support its claim that at least some CCA detainees

waived their attorney-client privilege. These cases are all distinguishable. Two of the

Government’s cases found waiver where there was sufficient evidence that the clients knew their

conversations were being recorded. In United States v. Hatcher,639 the Eighth Circuit reversed a

district court’s decision that recordings of detained co-conspirators and their attorneys were

protected by the attorney-client the privilege, and thus not discoverable.640 “Because inmates

and their lawyers were aware that their conversations were being recorded, they could not

reasonably expect that their conversations would remain private. The presence of the recording

device was the functional equivalent of the presence of a third party.”641




        638
              Doc. 482 at 36:19–37:19.
        639
              323 F.3d 666 (8th Cir. 2003).
        640
              Id. at 674.
        641
           Id. In a concurring opinion, Judge Bye disagreed with the majority’s waiver ruling, finding insufficient
evidence about whether the facility had a policy that excepted attorney-client calls from the recording policy, and
whether the co-conspirators knew about that policy. Id. at 675 (Bye, J., concurring).




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         Similarly, in United States v. Mejia,642 the Second Circuit relied in part on Hatcher in

finding that the defendant’s knowledge that a phone conversation with his sister was being

recorded constituted a waiver of the attorney-client privilege.643 There, it was undisputed that

the defendant was aware that his calls were recorded when he discussed his desire to plead guilty

with his sister.644 The court also determined that Bureau of Prisons regulations allowed the

defendant to place an unmonitored call to an attorney.645 The court thus found no clear error in

the district court’s decision that there was no reasonable expectation of confidentiality given the

defendant’s knowledge of the recording, in addition to the absence of evidence that “he could not

have contacted his attorney directly without being monitored.”646

         Scores of defense counsel who testified or submitted affidavits in this case stated that

they were unaware that their conversations with CCA detainees were being recorded. Moreover,

the evidence shows that detainees regularly did not have reason to believe their conversations

with attorneys were being recorded given evidence that the handbook was routinely unavailable,

that the privatization protocol was not reviewed with detainees at orientation, and that detainees

could not initiate the privatization procedure prior to October 2016. Unlike in Meija, there was

no option for a detainee at CCA to “request an unmonitored call with an attorney,” as the

orientation materials misleadingly suggested. The only way to invoke the privatization protocol



         642
               655 F.3d 126 (2d Cir. 2011).
         643
               Id. at 133.
         644
               Id.
         645
               Id.
         646
            Id. at 134. Likewise, in United States v. Eye, both the inmate and the attorney knew that calls were being
recorded. No. 05-00344-01-CRW-ODS, 2008 WL 1701089, at *12 (W.D. Mo. Apr. 9, 2008). The record in that
case established that every inmate at the CCA facility received a copy of the Inmate Handbook, and that the CCA
facility had a privatization procedure whereby calls to a privatized number were not recorded. Id. at *3. Notably,
the FBI’s subpoena of telephone calls in that case excepted out the defense counsel’s phone number “or any other
phone number deemed to be an attorney-client call.” Id. at *4.




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prior to October 2016 was for the attorney to submit information to the facility. Yet, there was

no method by which CCA allowed a detainee to make that request unmonitored—even

requesting a phone call on a non-Securus phone required the presence of a guard who would

monitor the phone conversation.

         Unlike Hatcher and Meija, this Court has before it a robust record demonstrating that

CCA affirmatively misrepresented to defense attorneys that attorney-client calls were exempt

from CCA’s recording policy. With few exceptions, defense counsel were not made aware of

the privatization protocol before the events giving rise to the Special Master’s investigation in

this case. Moreover, even those attorneys who followed the privatization protocol were often

recorded because CCA routinely failed to properly input into its system the names of attorneys

who did avail themselves of the privatization protocol, including the FPD.647

         The Government also relies on two cases that deal with inmate phone call recordings that

do not include attorney-client communications and do not consider waiver of the attorney-client

privilege. In United States v. Faulkner,648 the Tenth Circuit considered whether calls recorded

by CCA and admitted as evidence at trial violated the Federal Wiretap Act given the signage,

preamble language that telephone calls “may be monitored and/or recorded for security reasons,”

and inmate handbook language.649 The question in that case was one of statutory construction—

how broadly to construe the consent exception to the Wiretap Act’s prohibition of intentional




         647
            Cf. United States v. Novak, 531 F.3d 99, 103 (1st Cir. 2008) (finding consent to monitoring phone
recordings under the Fourth Amendment where the attorney’s number was erroneously excluded from the prison
privatization list, but noting that although “[t]he monitoring of these calls, made between an attorney and a client
who is seeking legal advice, is troubling . . . we do not decide whether, or to what extent, calls between attorneys
and clients made from prison can be monitored consistently with the requirements of the Sixth Amendment.”).
         648
               439 F.3d 1221 (10th Cir. 2006).
         649
               Id. at 1222–23.




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interception of wire communications, including telephone calls.650 The court joined several other

circuit courts in broadly construing the statute’s consent exception, and found that CCA

detainees impliedly consented to the recording of their phone conversations by choosing to use a

monitored phone after receiving numerous warnings that the calls may be recorded.651 In United

States v. Verdin-Garcia, 652 the Tenth Circuit reiterated that the Wiretap Act’s consent exception

can be satisfied absent express consent and that consent can be inferred from the circumstances.

          Again, the Government’s cases are inapposite. Obviously, these cases apply the Wiretap

Act, rather than deciding any question under the Sixth Amendment or the attorney-client

privilege. And even if these cases had any bearing on the legal questions before the Court, they

are factually distinguishable. First, they do not address attorney-client communications; the calls

at issue in those cases were placed by detainees to non-attorneys with undoubtedly non-private

phone numbers.653 The preamble thus played for each call, and the generic warnings about non-

attorney phone calls clearly applied. Thus, the Tenth Circuit’s conclusion in both cases that the

defendants impliedly consented to recording by knowingly using a telephone that is monitored

does not apply to attorney-client calls implicating the privatization process at issue on this

record.

          In sum, while the Government may be able to demonstrate facts in individual cases that a

detainee knowingly and intelligently waived the right to confidential attorney-client

communications, the record developed after the Special Master’s two-year investigation in this



          650
                Id. at 1224.
          651
                Id. at 1225.
          652
                516 F.3d 884, 594–95 (10th Cir. 2008).
          653
            The Government represented to the Court during the evidentiary hearing that these cases involved
attorney-client calls. The Government conceded this error in its Proposed Findings of Fact and Conclusions of Law
but continues to assert that they apply here.




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case calls into doubt the Government’s ability to establish waiver based on the orientation

packet, inmate handbook, preamble, and signage, particularly in the face of evidence that defense

attorneys advised their clients that their calls would not be recorded. Shillinger itself stands for

the proposition that it takes more than the mere presence of a third party for a person to waive

their Sixth Amendment right to confidential attorney-client communications. There, the

presence of the deputy did not vitiate the privilege. Similarly, the mere fact that CCA warned

detainees in various ways that their calls would be subject to recording and monitoring is not

enough, standing alone, to waive the privilege given the many other facts in the record that

detainees and their attorneys were led to believe these warnings did not apply to them.

                            b.       Purposeful Intrusion and Legitimate Justification

                                              Purposeful Intrusion

       The FPD argues that the USAO purposefully intruded into attorney-client relationships

by collecting and saving recordings that it knew or should have known included protected

communications. The Government argues that a “purposeful intrusion” under Shillinger requires

evidence that an AUSA or agent actually listened to or viewed the recordings.

       The Tenth Circuit explained that prejudice must be presumed when the government

becomes “privy to” protected communications because of its purposeful intrusion.654 “Privy to”

is an idiom used to describe being knowledgeable about something secret or private.655 As

previously discussed, post-Shillinger cases suggest purposeful intrusion requires more than mere

possession of privileged attorney-client communication. The FPD appears to argue that

disclosure is not necessary as it would be subsumed by a presumption of prejudice. But this



       654
             Shillinger v. Haworth, 70 F.3d 1132, 1142 (10th Cir. 1995).
       655
             Merriam-Webster, https://www.merriam-webster.com/dictionary/privy%20to?src=search-dict-box




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argument conflates purposeful intrusion with prejudice, which requires injury to the defendant or

benefit to the government from the improperly obtained information—such injury or benefit

means the recordings necessarily would have had to be disclosed.

        Not surprisingly, the AUSAs and their agents deny watching or listening to the

recordings. The record shows the USAO had access to both the video and audio recordings,

under circumstances where they knew or should have known the material would include

attorney-client communications, with no precautions to exclude or avoid learning the content of

these recordings or use of a filter or taint team. The record also shows the USAO kept

recordings of telephone calls between detainees and their attorneys for years without disclosing

them to defense counsel. But determining whether the USAO became “privy to” particular

recordings is not possible on this record. Ultimately, in the context of individual § 2255 actions,

the Court will consider the USAO’s explanation or assessment of the circumstances surrounding

its access to and review of the particular recordings. The Court will also consider the findings in

this record, including: widespread production and cooperation issues; lack of transparency with

respect to the video recordings; and surreptitious practices with respect to audio recordings. This

circumstantial evidence raises serious questions about the Government’s credibility on the

extent of its access to and disclosure of the recordings. Whether the USAO became privy to

protected communications because of its purposeful intrusion in a particular detainee’s case will

be decided in each § 2255 action.

                                      Legitimate Law Enforcement Justification

       The Court is able to make findings on this record that there was no legitimate law-

enforcement purpose in the USAO’s acquisition of video recordings of attorney visitation rooms.

The USAO’s intent in obtaining the video recordings was, in part, to investigate contraband




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trafficking at CCA.656 The Government contends that Tomasic and Oakley drafted the grand

jury subpoena to obtain all of the CCA video evidence included in the 22-month time frame

“because of concern that the video would be periodically overwritten and thus lost, and they

were uncertain about what video would later become relevant to their investigation and

prosecution.”657 It further asserts that Tomasic promptly notified defense counsel that the video

was available for discovery, disclosed to the Court and defense counsel at a hearing that there

were cameras in the attorney visitation rooms, and arranged for a filter team to safeguard any

privileged materials found during a search of the CCA law library, “suggesting her fidelity to the

privilege.”658

       While a targeted request for video or the crime fraud exception would be examples of

legitimate law-enforcement activity, the Court finds that the USAO’s large-scale non-specific

collection in this case cannot be justified. Any legitimate concern by the prosecutors that the

video might be overwritten and lost was negated by Tomasic’s prior knowledge that such a broad

subpoena would capture attorney visitation rooms, with no steps to target or limit access to such

privileged communications. Contrary to the Government’s position, Tomasic’s use of a filter

team for the search of the law library illustrates that she was well aware of the proper procedure

to employ to avoid accessing these privileged materials; any so-called “fidelity” to the attorney-

client privilege clearly did not extend to the video recordings of the attorney visitation rooms.

       The Court finds the Government’s broad justification for obtaining recordings of

detainees’ attorney-client calls similarly lacking. The Government contends the calls were

acquired as a result of attorney-client calls being “commingled” with recordings of the inmates’


       656
             Doc. 482 at 62:2–4.
       657
             Doc. 745 at 140.
       658
             Id.




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other outgoing telephone calls.659 Contrary to the facts in Shillinger, the Government argues,

there was no evidence of a deliberate effort to obtain privileged information. But again, any

general legitimate justification by the prosecutors that all of a detainees’ calls were needed is

negated by the individual and collective prior knowledge of the USAO that such a broad

subpoena would or was likely to capture attorney-client calls, with no steps to target or limit

access to such privileged communications. Although the Court rejects this general commingling

justification as legitimate, it withholds ruling on whether there was any other legitimate law-

enforcement purpose with respect to particular litigants.

VII.   Roadmap for § 2255 Litigation

       This Court noted the likelihood of habeas litigation at the first hearing in this case on

August 16, 2016, and more recently assessed the record this way:

                    I understood from the very beginning that there were going to be
                    people that filed 2255s and claim prosecutorial misconduct.
                    Rightly or wrongly, that litigation was going to happen. There was
                    never any question about it.

                    So I viewed this Special Master investigation in this case as a
                    way—as a way of developing a record, not only with respect to the
                    people indicted in this case but with respect to the investigation
                    that was this case that went far beyond just the few people that
                    were indicted.

                    And so I don’t view that every 2255 is going to have its own
                    unique and separate record. To be sure . . . it’s going to be
                    particularized in the 2255 litigation to what recordings, if any, did
                    the government obtain with respect to this particular defendant.

                    But all of the circumstances leading up to obtaining that and how
                    they were used and—and if they were and—and why that, you
                    know, mattered and whether there was prejudice, all of those
                    questions I think are going to be related to, you know, the wider-
                    scale Phase III investigation and the record that’s developed as a
                    consequence of that.


       659
             Id. at 141.




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                    So this is not something that can be sliced and diced into little bitty
                    2255s that are all unrelated. They’re all related in that sense.
                    There’s a strong evidentiary connection between all of these
                    cases.660

Thus, while the Court directed a broad investigation and record development on issues common

to all detainees and recordings, it always anticipated individual relief for particular defendants.

        Phase III of the Special Master investigation was meant to streamline discovery in the

individual § 2255 proceedings. But as the first half of this Order details, that is not what

happened here. Almost immediately after the Court authorized Phase III, the Government turned

recalcitrant and adversarial, ironically resulting in a considerable record for the litigants to utilize

in the § 2255 litigation. The extensive record on the USAO’s retention, preservation, and

production of materials related to the Black investigation—its failure to cooperate with the

Special Master to preserve and produce this material—may lead to discoverable issues on the

individual § 2255 petitioners’ Sixth Amendment claims, given that the USAO obtained some of

those recordings through its investigation in Black.661

        Likewise, the extensive evidentiary record will inform the individualized determinations

in the § 2255 litigation. There is specific evidence regarding the USAO’s knowledge, access,

use, and mishandling of the video recordings and AVPC. General evidence regarding phone call

recordings that came to light in the Black case may support an individual Sixth Amendment

claim depending on how the claimant’s recordings were handled. Despite the USAO’s attempts

to portray Tomasic as a lone rogue prosecutor, later modified to include Treadway, the record is

replete with evidence of the USAO’s systematic practice of purposeful collection, retention, and

exploitation of calls from CCA detainees to their attorneys. It was only through the wide-lens


        660
              Tr. Aug. 16, 2018 Hr’g, Doc. 570 at 39:20–40:22.
        661
              Exs. 585, 715A.




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view of the Black investigation that the extent of the Government’s conduct came into focus.

Findings and conclusions regarding the USAO’s routine and systematic collection of all recorded

phone calls from CCA with no exception for attorney-client calls or any other precautionary

measures—as evidence of a pattern of purposeful and large-scale intrusion into attorney-client

relationships—are directly relevant to § 2255 petitioners’ claims that similar misconduct

occurred in their cases. The USAO’s repeated conduct is relevant to witness credibility on a host

of issues, including the extent of its access to and exploitation of the recordings. And in tailoring

any individual relief, both prejudice and a pattern of recurring violations by the Government are

relevant to the Court’s determination of an appropriate remedy.

         The DOJ and the USAO have repeatedly urged that the “appropriate mechanism” for

investigation of any Sixth Amendment violations is through § 2255 litigation. This Court

foreshadowed that in taking that position, and in refusing to cooperate with the Special Master

and with the Court’s final production order in this case, the Government would be required to

produce outstanding documents and information in habeas proceedings. That time has come.

         A.       Posture of the § 2255 Litigation

         The FPD began filing § 2255 petitions on August 13, 2018, as authorized by Standing

Order 18-3. The Court takes judicial notice of the 110 petitions filed to date seeking relief based

on the Sixth Amendment violations and prosecutorial misconduct discovered in the Black

case.662 The first cases were filed on August 13, 2018, in the wake of the settlement collapse; the

most recent was filed July 23, 2019.




         662
             Fed. R. Evid. 201; see Hansen v. Harper Excavating, Inc., 641 F.3d 1216, 1219 n.2 (10th Cir. 2011)
(holding a court may take judicial notice of other courts’ files and records from the Electronic Court Filing system).




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        The majority of the cases filed to date involve video recordings. The latest cases set forth

more specific allegations in support of the individual litigants’ Sixth Amendment claims,

detailing the number of visits with counsel and the date the visits took place, including that the

attorney-client meeting took place on the same the day that Tomasic instructed Special Agent

Stokes to locate and review recordings of the attorney visitation rooms.663 The FPD and

§ 2255 litigants did not have access to these recordings until today, as set forth in this opinion.

        In addition, the Government has only recently produced audio recordings of CCA calls

dating back to 2011.664 To date, the FPD has filed 21 habeas actions based on the 2019

production of phone calls, with more expected. Thus, unlike the video recordings, there is no

established universe of potential defendants impacted by the conduct of the USAO with respect

to audio recordings. These petitioners allege that the Government intentionally obtained,

accessed, and possessed specific phone calls between petitioners and counsel placed while

petitioners were confined at CCA.665

        Notably, several petitioners characterized by the USAO in the Black case as examples of

“inadvertent” review of attorney-client calls now allege that the USAO made further broad

production requests and received more attorney-client calls were after it reviewed attorney-client

communications.666 Other recent filings involve allegations against AUSAs who testified at the

Black evidentiary hearing that they had never encountered attorney-client calls.667 And several



        663
              See, e.g., United States v. Orduno-Ramirez, D. Kan. No. 14-20096-JAR-7.
        664
              Ex. 715A.
        665
          See, e.g., United States v. Phommaseng, D. Kan. No. 15-20020-JAR-5, Doc. 583 (76 calls); United States
v. Matthew Spaeth, D. Kan. No. 14-20068-CM-6, Doc. 486 (8 calls).
        666
          See, e.g., United States v. Birdsong, D. Kan. No. 15-20045-JAR, Doc. 39; United States v. Rapp, D. Kan.
14-20067-CM-1, Doc. 690.
        667
            See, e.g., United States v. Dixon, D. Kan. No. 14-20130-JAR, Doc. 259; United States v. Phommaseng,
D. Kan. No. 15-20050-JAR-5, Doc. 584.




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petitioners submit affidavits from defense counsel regarding their understanding of call recording

practices at CCA and stating that they informed their clients that the calls made to and from CCA

to counsel were confidential.668 One such petitioner, Petsamai Phommaseng, has moved for leave

to conduct discovery, which the Government opposes.669

        The Government has raised the defenses of collateral waiver and procedural default in

every response filed, asking the Court to dismiss on procedural grounds rather than reach the

merits of whether each litigant has a valid claim under the Sixth Amendment.670 The

Government also continues to argue that the recordings are not privileged attorney-client

communications, that Shillinger is inapplicable, that the record is devoid of any evidence

showing a violation, and that petitioners must show prejudice. The Government has not

responded to all of the § 2255s and has obtained extensions of time pending this Court’s ruling in

Black. To date, the FPD has not replied to any of the Government’s responses, pending a ruling

from this Court in the Black case.

        B.          Reassignment and Consolidation for Discovery

        The numerous § 2255 petitions filed to date incorporate the record and evidence from the

Black investigation and have many issues common to all litigants. Accordingly, in the interest of

judicial economy, and to avoid further unnecessary cost and delay, the Court reassigns the

pending § 2255 habeas cases filed by the FPD pursuant to Standing Order 18-3 to the

undersigned, to the extent they are not already pending before this Court, for determination of

the merits of petitioners’ Sixth Amendment claims and the Government’s defenses consistent


        668
              See, e.g., United States v. Clark, D. Kan. No. 14-20130-JAR-2, Doc. 256-1.
        669
            United States v. Phommaseng, D. Kan. No. 15-20020-JAR-5, Doc. 584. The Court will issue a separate
order on this motion, which also addresses collateral waiver and procedural bar defenses raised by the Government,
concurrently with this opinion.
        670
              See, e.g., id. Doc. 593; United States v. Cloyd, D. Kan. No. 14-20118-JAR, Doc. 125.




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with this opinion.671 Pursuant to Fed. R. Civ. P. 42(a), the cases will be consolidated for

discovery to be overseen by Chief Magistrate Judge James O’Hara. Once reassigned, the Court

will hear from the parties on how to triage the cases and determine how to efficiently decide

common issues, including but not limited to: (1) collateral waiver and procedural default; (2)

threshold privilege determinations, including a procedure for review of recordings; (3) waiver of

audio recordings; and (4) good cause for discovery under Rule 6 of the Rules Governing Rule

§ 2255 Proceedings.

VIII. Conclusion

        In adopting its per se rule, the Shillinger court found compelling the dissent in the

underlying Wyoming state court opinion:

                 Competent prosecution is faced by perhaps one or, at the most, two
                 acquittals with at least every hundred criminal charges where nine
                 out of ten are resolved by plea and the remaining trials favor
                 conviction. Within these few cases, fairness, honesty and morality
                 are not an undue burden on accomplished justice.672

The FPD is correct—there is no template for this case, where the fairness of the adversary

system is called into question by systemic prosecutorial misconduct of the type alleged here.

The allegations of surreptitious incursion into attorney-client communications that triggered the

Special Master’s investigation in this case have far reaching implications in scores of pending

§ 2255 cases. Yet the Government responded by minimizing the seriousness of its conduct and

delayed and obfuscated that investigation.




        671
            See Rules Governing Section 2255 Proceedings, Rule 4(a) (outlining procedure for assigning motion to a
specific judge).
        672
            Shillinger v. Haworth, 70 F.3d 1132, 1142 (10th Cir. 1995) (quoting Haworth v. State, 840 P.2d 912, 919
(Wyo. 1992) (Urbigkit, J., dissenting)).




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        The Government has steadfastly denied any misconduct with respect to the USAO’s

practice of obtaining and accessing attorney-client communications. As evidence of a pattern of

misconduct emerged in the Black case, the Government continued to argue that any misconduct

was limited to two errant prosecutors and that the issues surrounding its conduct were beyond

this Court’s remit. At the same time, it forestalled any finding of Sixth Amendment violations

by approving reduced sentences for defendants in other cases who had pending Rule 41(g)

motions or where it had listened to, procured, or used video and audio recordings of attorney-

client communications.673 And while urging discrete litigation in individual § 2255 litigation, it

continues its attempt to forestall any finding on the merits by arguing individual petitioners’

Sixth Amendment prosecutorial misconduct claims are waived or procedurally defaulted, despite

the fact that the recordings have yet to or only recently been made available to the FPD.

        Although the Court does not make particularized findings of Sixth Amendment violations

on this record, it bears noting the FPD’s request for a global remedy. The FPD urges the Court

to hold the Government accountable for the USAO’s systematic practice of surreptitiously

collecting and saving protected attorney-client communications and attempts to thwart the

inquiry of the Special Master and this Court. The FPD asks the Court to consider the outcome of


        673
            See, e.g., United States v. Herrera-Zamora, D. Kan. No. 14-20049-CM-1, Doc. 233 (after SAUSA
Tomasic’s misconduct came to light, Government agreed to recommend the district court vacate defendant’s 420-
month sentence and impose instead a sentence of time served); United States v. Dertinger, D. Kan. No. 14-20067-
JAR-6, Docs. 396, 558 (after evidence revealed that Government procured, viewed, and used video of defendant
communicating with his counsel, the government made a time-served offer to defendant contingent on him
withdrawing his Rule 41(g) and other motions); United States v. Uriarte, D. Kan. No. 15-20043-JAR-1, Docs. 156,
153 (after filing Rule 41(g) motion and seeking to join that motion with all similarly related motions and
proceedings pending in Black, defendant pled to one count of misprision of a felony and sentenced to time served);
United States v. Huff, D. Kan. No. 14-20067-CM-9, Doc. 481 (after defendant filed Rule 41(g) motion, Government
agreed to functionally time-served 36-month sentence on condition that defendant withdraw her pending motions);
United States v. Wood, D. Kan. No. 14-20065-JAR-1, Docs. 236, 237 (defendant was facing up to 78 months’
imprisonment, but after filing motion for relief based on Government’s procurement and possession of video or
audio recordings of attorney-client communications, Government agreed to reduce defendant’s sentence to time
served (approximately 50 months); United States v. Reulet, D. Kan. No. 14-40005-DDC-3, Doc. 1262 (defendant
was originally sentenced to 60 months’ imprisonment, but after AUSA Treadway’s testimony at the October 2018
hearing in Black, Government agreed to reduce defendant’s sentence to time served).




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defendants like Reulet, where AUSA Treadway’s misconduct was only discovered as part of the

Black inquiry; once the misconduct came to light, it was quickly remedied without any

admission of a Sixth Amendment violation. It cites the USAO’s attempted global resolution as

well as other examples of global settlements for systematic governmental misconduct for the

Court to draw on. In many of these cases, however, the government acknowledged the impact of

the systemic problems and fully cooperated with establishing eligible defendants; a global

settlement or remedy was typically not implemented until logistical or evidentiary hurdles made

it impossible for the multiple defendants impacted by the government’s misconduct to proceed

on an individual basis.674 That is not yet the case here, where individual § 2255 litigants still

have a path to relief through Shillinger and the anticipated unresolved discovery and production

issues.

          The Black investigation will soon reach the three-year mark. Over 100 § 2255 litigants

continue to serve their sentence without the opportunity to present their Sixth Amendment

claims, due in large part to the Government’s tactics and delay. While the Court cannot make a

broad Sixth Amendment violation determination nor grant the sweeping remedy the FPD seeks

on this record, it has endeavored in this opinion to create a comprehensive record and establish

legal standards and threshold procedures that will give individual § 2255 litigants the opportunity

to finally obtain efficient, fair, and consistent relief without further delay.




          674
            See, e.g., Comm. for Pub. Counsel Servs. v. Attorney Gen., 108 N.E.3d 966, 987–89 (Mass. 2018)
(misconduct of lab technicians called into question testing results for tens of thousands of criminal cases, coupled
with state’s attorney’s withholding exculpatory evidence, prompted the court to adopt global remedy for all eligible
defendants; district attorneys’ offices cooperated with identifying eligible defendants, but opposed scope of relief);
Bridgeman v. Dist. Attorney for Suffolk Dist., 30 N.E.3d 806, 811 (Mass. 2015) (in lab technician misconduct case,
court declined to impose global remedy and instead adopted protocol through which eligible defendants would be
appointed counsel and could seek to vacate their convictions; defendants not granted a presumption that egregious
government misconduct occurred, but bore the burden of proving prejudice in attempt to withdraw plea agreements).




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        IT IS THEREFORE ORDERED BY THE COURT that:

        (1)     The FPD’s Motion to Admit Exhibit Out of Time (Doc. 749) is granted;

        (2)     The FPD’s Motion for Discovery (Doc. 573) is denied without prejudice;

        (3)     The Government’s Motion to Exclude Improper Expert Testimony About Law

and Legal Conclusions (Doc. 639) is moot;

        (4)     The FPD’s Motion for Order to Show Cause (Doc. 301), Supplemental Motion for

Order to Show Cause (Doc. 585), and Second Supplemental Motion for Order to Show Cause

(Doc. 668) are granted in part and denied in part;

        (5)     The FPD’s Motions for Return of Property under Fed. R. Crim. P. 41(g) (Docs.

82, 85) are granted; and

        (6)     Defendant Karl Carter’s Motion to Dismiss Indictment (Doc. 333) is granted as

unopposed. Defendant Carter is hereby dismissed with prejudice.

        IT IS FURTHER ORDERED BY THE COURT that the FPD shall submit an

application for attorneys’ fees and costs, addressing both its entitlement to fees and the amount,

by September 24, 2019. The Government may respond by October 15, 2019. Each party’s brief

shall not exceed 40 pages.

        IT IS FURTHER ORDERED BY THE COURT that within ten (10) days of the date

of this Order, the parties shall jointly submit a list of pending § 2255 cases filed pursuant to

Standing Rule 18-3 or otherwise raising Sixth Amendment claims related to the Black case; upon

filing of the list, the Clerk is directed to reassign the cases to the undersigned, to the extent they

are not already pending before this Court, and Chief Magistrate Judge James P. O’Hara, at which

time they will be consolidated for discovery pursuant to Fed. R. Civ. P. 42(a).




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IT IS SO ORDERED.

Dated: August 13, 2019
                                 s/ Julie A. Robinson
                                 JULIE A. ROBINSON
                                 CHIEF UNITED STATES DISTRICT JUDGE




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